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                              1   LAWRENCE BORYS (SBN 60625)
                                  ANNA NOVRUZYAN (SBN 278427)
                              2   ROPERS MAJESKI PC
                                  445 South Figueroa St, 30th Floor
                              3   Los Angeles, CA 90071
                                  Telephone: 213.312.2000
                              4   Facsimile: 213.312.2001
                                  Email:      lawrence.borys@ropers.com
                              5               anna.novruzyan@ropers.com
                              6   Attorneys for Non-Debtor Defendants and
                                  Movants DARIUSH ADLI, DREW
                              7   SHERMAN, JOSHUA EICHENSTEIN, and
                                  JONATHAN LANDIS
                              8

                              9                        UNITED STATES BANKRUPTCY COURT
A Professional Corporation




                             10          CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
                             11
       Los Angeles




                             12   In re: ADLI LAW GROUP, P.C.,                  Case No. 2:21-bk-18572-BB
                             13   Debtor.                                       NON-DEBTOR DEFENDANTS’
                                                                                NOTICE OF MOTION AND
                             14                                                 MOTION TO EXTEND THE
                                                                                BANKRUPTCY STAY, OR
                             15                                                 ALTERNATIVELY, FIND
                                                                                CONTINUING LITIGATION AS
                             16                                                 VIOLATION OF THE STAY
                             17
                                                                                Date: February 15, 2022
                             18                                                 Time: 10:00 a.m.
                                                                                Courtroom: 1539
                             19

                             20            NOTICE IS HEREBY GIVEN THAT Movants Dariush Adli, Drew
                             21   Sherman, Joshua Eichenstein, and Jonathan Landis (“Non-Debtor Defendants”)
                             22   hereby submit this Motion for entry of an order, pursuant to Section 105(a) of Title
                             23   11 of the United States Code (“the Bankruptcy Code”) extending the automatic stay
                             24   under Bankruptcy Code Section 362 to stay the following actions against Non-
                             25   Debtor Defendants:
                             26            1. WBS, Inc. v. Adli Law Group, P.C. et al., Los Angeles County Superior
                             27   Court Case No. 20STCV34381, filed on September 9, 2020.
                             28             2. Gary Topolewski v. Adli Law Group, P.C. et al., Los Angeles County

                                  4861-4924-6983.5
                                  MOTION FOR ORDER EXTENDING THE AUTOMATIC STAY TO CERTAIN LITIGATION AGAINST NON-
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                              1   Superior Court Case No. 20STCV32929, filed on August 27, 2020.
                              2            3. Gary Topolewski v. Adli Law Group, P.C. et al., Signature Resolution
                              3   Arbitration Case ID YRZKG.
                              4            4. Steven Hellings v. Andrea Ruth Bird, et al., San Diego County Superior
                              5   Court Case No. 37-2020-00044516-CU-BT-CTL, filed on December 4, 2020.
                              6            5. Jonathan Betuel v. Dariush Ghaffar Adli, et al., Los Angeles Superior
                              7   Court Case No. 21STCH02730, filed on January 22, 2021.
                              8            Alternatively, Non-Debtor Defendants seek an order finding the continuation
                              9   of these actions against the Non-Debtor Defendants as an indirect violation of the
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                             10   existing automatic stay. This Motion will be heard on February 15, 2022, at 10:00
                             11   a.m. in Courtroom 1539 at 255 East Temple Street, Los Angeles, CA 90012.
       Los Angeles




                             12            This motion is being heard on regular notice pursuant to LBR 9013-1. If you
                             13   wish to oppose this motion, you must file a written and serve a written response to
                             14   this motion no less than 14 days before the above hearing and appear at the hearing
                             15   of this motion. If you fail to timely file and serve a written response to the motion,
                             16   or fail to appear at the hearing, the court may deem such failure as consent to
                             17   granting of the motion.
                             18

                             19
                                  Dated: January 24, 2022                      ROPERS MAJESKI PC
                             20

                             21
                                                                               By: /s/ Anna Novruzyan
                             22                                                    LAWRENCE BORYS
                                                                                   ANNA NOVRUZYAN
                             23                                                Attorneys for Non-Debtor Defendants
                                                                               and Movants DARIUSH ADLI, DREW
                             24                                                SHERMAN, JOSHUA EICHENSTEIN,
                                                                               and JONATHAN LANDIS
                             25

                             26

                             27

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                              1                      MEMORANDUM OF POINTS AND AUTHORITIES
                              2   I.       INTRODUCTION
                              3            On November 10, 2021 (the “Petition Date”), Debtor Adli Law Group P.C.
                              4   (the “Debtor”) filed its Chapter 11 Petition with this Court. Pursuant to 11 U.S.C.
                              5   Section 105(a) (the “Bankruptcy Code”), this Motion seeks an order imposing a
                              6   stay under Bankruptcy Code Section 105, effectively extending the automatic stay
                              7   under 11 U.S.C. Section 362, in order to stay four state court cases and one
                              8   arbitration (“Litigation”), currently automatically stayed as to the Debtor, as to the
                              9   non-debtor defendants specified below (the “Non-Debtor Defendants”). Each of
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                             10   the complaints in the Litigation matters, are attached as Exhibits 1-5 inclusive, to
                             11   the concurrently filed Declaration of Anna Novruzyan. Each of the Non-Debtor
       Los Angeles




                             12   Defendants were former and/or current lawyers employed by the Debtor law firm.
                             13   They are named solely due to their roles as employees of the Debtor. All of them
                             14   claim they are entitled to indemnification from the Debtor.
                             15            The Litigation matters relate to activities of the Debtor and Non-Debtor
                             16   Defendants, and events that occurred prior to the Petition Date. In each of the
                             17   matters, the Debtor, a law firm, and the certain individuals, are alleged to have
                             18   committed legal malpractice. Each of the Non-Debtor Defendants deny the
                             19   allegations and claim they are entitled to indemnification by the Debtor.
                             20            The Debtor has insurance policies that provide coverage for both the Debtor
                             21   and the Non-Debtor Defendants. The insurance policies are assets of the Debtor.
                             22   However, under the terms of these policies, both the Debtor and their employees,
                             23   are entitled to use the proceeds of the insurance policies to satisfy defense costs,
                             24   settlements, and judgments for claims covered by the policies.
                             25            Permitting the Litigation to proceed against the Non-Debtor Defendants will
                             26   cause the Debtor to suffer irreparable harm because (a) each Litigation is in
                             27   essence, an action against the Debtor itself, due to the Debtor’s indemnification
                             28   requirements to the Non-Debtor Defendants. In addition, the Non-Debtor
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                              1   Defendants, because of vicarious liability and respondeat superior, are entitled to
                              2   payment of their legal expenses in connection with defending the Litigation, as well
                              3   as indemnification from the Debtor for certain losses as a result of the Litigation;
                              4   (b) to the extent insurance is used to fund the defense costs of the individual
                              5   employees or there is a judgement against the employees and proceeds from
                              6   insurance are recovered, the insurance otherwise available to the Debtor would be
                              7   depleted; (c) there is a risk of collateral estoppel as to the Debtor, following an
                              8   adverse ruling in each or any of the Litigation against the Non-Debtor Defendants
                              9   while the Litigation is stayed as to the Debtor; and (d) the Debtor, rather than the
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                             10   Non-Debtor Defendants, would be burdened with any discovery that would need to
                             11   be produced.
       Los Angeles




                             12             In truth, the allegations against the Non-Debtor Defendants acting as agents
                             13   of the Debtor, make a continuation of the Litigation against the Non-Debtor
                             14   Defendants an indirect violation of Section 362’s automatic stay. Therefore,
                             15   alternatively, the Motion seeks to recognize that the plaintiffs in the Litigation are
                             16   violating the automatic stay by continuing litigation against the Non-Debtor
                             17   Defendants. This is a point that this Motion seeks to have the Court clarify so that
                             18   the Litigation against the Debtor, through its employees/agents, ceases.
                             19            Therefore, a stay should be extended to the Non-Debtor Defendants, or
                             20   alternatively the Court should view the continuation of the Litigation against the
                             21   agents of the Debtor (and its insurance asset) as an indirect violation of the existing
                             22   automatic stay.
                             23   II.      BACKGROUND
                             24            The Chapter 11 was filed on November 10, 2021 as to the Debtor only. The
                             25   Non-Debtor Defendants are not themselves in bankruptcy.
                             26            There are five actions involved in the Litigation as against the Debtor and the
                             27   specified Non-Debtor Defendants:
                             28            The Litigation for which the Debtor seeks an extension of the Automatic Stay
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                              1   are:
                              2            1. WBS, Inc. v. Adli Law Group, P.C. et al., Los Angeles County Superior
                              3   Court Case No. 20STCV34381, filed on September 9, 2020. Plaintiffs WBS, Inc.
                              4   and Robert Blotzer seek to impose joint and several liability for alleged
                              5   professional negligence and breach of fiduciary duty against Debtor and Drew
                              6   Sherman, a former employee of Debtor.
                              7             2. Gary Topolewski v. Adli Law Group, P.C. et al., Los Angeles County
                              8   Superior Court Case No. 20STCV32929, filed on August 27, 2020. Plaintiff in this
                              9   action alleges one cause of action for legal malpractice against Debtor, Dariush
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                             10   Adli, the President and Chief Executive Officer of the Debtor, Joshua Eichenstein, a
                             11   former employee of Debtor, and Drew Sherman.
       Los Angeles




                             12            3. Gary Topolewski v. Adli Law Group, P.C. et al., Signature Resolution
                             13   Arbitration Case ID YRZKG. This is the arbitration of Action No. 2 above.
                             14   Respondents in this action are Debtor, Dariush Adli, Joshua Eichenstein, and Drew
                             15   Sherman.
                             16            4. Steven Hellings v. Andrea Ruth Bird, et al., San Diego County Superior
                             17   Court Case No. 37-2020-00044516-CU-BT-CTL, filed on December 4, 2020.
                             18   Plaintiffs Steven and Theresa Hellings allege causes of action for professional
                             19   negligence and breach of fiduciary duty, among others, against Debtor and Jonathan
                             20   Landis, a current employee of Debtor.
                             21            5. Jonathan Betuel v. Dariush Ghaffar Adli, et al., Los Angeles Superior
                             22   Court Case No. 21STCH02730, filed on January 22, 2021. Plaintiff alleges a legal
                             23   malpractice cause of action against Debtor, Dariush Adli, and Drew Sherman.
                             24             Dariush Adli, Drew Sherman, Joshua Eichenstein, and Jonathan Landis are
                             25   collectively referred to as the Non-Debtor Defendants.
                             26                 As set forthe in the concurrently filed Declaration of Anna Novruzyan,
                             27   and as reflected in Exhibits 1-5 attached thereto, each Litigation involves legal
                             28   malpractice claims, where the underlying facts, and theories of liability and
                                                                              -5-
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                              1   damages are asserted against both the Debtor and Non-Debtor Defendants. Under
                              2   California Labor Code Section 2802 each of the Non-Debtor Defendants is entitled
                              3   to indemnification from the Debtor. Both the Non-Debtor Defendants and the
                              4   Debtor share the same malpractice insurance policies. Those policies are affording
                              5   both the Debtor and Non-Debtor Defendants a defense and coverage for a certain
                              6   amount of liability. Both the defense and coverage are depleting and will deplete
                              7   further the insurance resources available to the Debtor. The creditors of the Debtor
                              8   are at risk to the extent that there are judgments in excess of any coverage. If the
                              9   case proceeds against the Non-Debtor Defendants, the liability and damages issues
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                             10   determined as to the Non-Debtor Defendants could have a collateral estoppel, or
                             11   even a res judicata effect as to the Debtor. There is also a danger of inconsistent
       Los Angeles




                             12   rulings as between the disposition of the claims against the Debtor in the Chapter
                             13   11, and the disposition of the Litigation as to the Non-Debtor Defendants.
                             14   III.     THE AUTOMATIC STAY SHOULD BE EXTENDED TO THE NON-
                             15            DEBTOR DEFENDANTS
                             16            Upon the commencement of this Chapter 11 petition, the Automatic Stay
                             17   enjoins all entities from, among other things, “the commencement or continuation,
                             18   …of a judicial, administrative, or other actor or proceeding against the debtor that
                             19   was or could have been commenced before [the Petition Date],” and from “any act
                             20   to obtain possession of property of the estate” or “recover a claim against the debtor
                             21   that arose before the [Petition Date].” 11 U.S.C. § 362(a)(1), (3). One of the
                             22   purposes of the Automatic Stay is to allow the Debtor to focus its attention on its
                             23   restructuring without the distraction of having to defend against multiple litigations
                             24   in non-bankruptcy courts. CAE Indus. Ltd. v. Aerospace Holding Co., 116 B.R. 31,
                             25   32 (S.D.N.Y 1990) (“the legislative history reveals that [Section 362] was intended
                             26   to ‘permit the debtor to organize his or her affairs without creditor harassment and
                             27   to allow orderly resolution of all claims.’”). This is in part to relieve the Debtor of
                             28   the burden of litigating in multiple forums while it focuses on maximizing value for
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                              1   its creditors as a whole. In re Colin, 35 B.R. 904, 907 (Bankr. S.D.N.Y. 1983)
                              2   (“The design of subsection 362(a)(1) is, in part, to relieve the debtor from the
                              3   burdens of multi-forum litigation.”).
                              4            Although the Automatic Stay does not generally extend to non-debtors, in
                              5   certain recognized situations, to preserve the aforementioned protections of the
                              6   Automatic Stay, it is necessary, effectively through Section 105, to extend the
                              7   Automatic Stay to third parties. The plaintiffs should not be allowed to do an end
                              8   run around the automatic stay by effectively suing the Debtor through its
                              9   employees.
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                             10            With regard to the Litigation, the Debtor and its estate also could be
                             11   irreparably damaged, and the purposes of the Bankruptcy Code will in any event, be
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                             12   frustrated, if the Automatic Stay is not extended to stay the Litigation as to the Non-
                             13   Debtor Defendants.
                             14            A.        The Prosecution of the Non-Debtor Defendants Affects the Debtor
                             15                      Estate and Is Really a Violation of the Automatic Stay as an Indirect
                             16                      Action Against the Debtor through Non-Debtor Defendants Acting
                             17                      as Agents
                             18            Judgments against Non-Debtor Defendants in the Litigation could affect
                             19   property of the estate because, by virtue of the nature of the claims as alleged by the
                             20   respective plaintiffs/claimant in the Litigation, the Debtor is obligated to indemnify
                             21   the Non-Debtor Defendants for certain liabilities they may incur in connection with
                             22   the Litigation as well as payment of expenses in connection with the defense of the
                             23   Litigation. The Litigation all share as a common trait the fact that the Non-Debtor
                             24   Defendants have an identity of interest with the Debtor, to the extent they were
                             25   merely the agents through whom the respective Debtor entity acted. Indeed, there
                             26   appear to be no allegations that any of the Non-Debtor Defendants was acting
                             27   outside the scope of his employment. Therefore, naming the individuals is
                             28   effectively a “catch-all” approach to suing the particular Debtor entity, solely for
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                              1   alleged Debtor actions.
                              2            Courts have extended the Automatic Stay pursuant to Bankruptcy Code
                              3   Section 362(a)(1) “where an action against one party is essentially an action against
                              4   the bankruptcy debtor, as in the case where a third-party is entitled to
                              5   indemnification by the debtor for any judgment taken against it.” In re W.R. Grace
                              6   & Co., 2004 WL 954772, at *2 (Bankr. D. Del. Apr. 29, 2004); A.H. Robins Co. v.
                              7   Piccinin, 788 F.2d 994, 999 (4th Cir. 1986) (extension of Automatic Stay to non-
                              8   debtors, who were employees of the debtor, appropriate where “there is such
                              9   identity between the debtor and the third-party defendant” that a finding or
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                             10   “judgment against the third-party defendant will in effect be a judgment or finding
                             11   against the debtor”); see also Calpine Corp. v. Nev. Power Co. (In re Calpine. Inc.),
       Los Angeles




                             12   354 B.R. 45, 50 (Bankr. S.D.N.Y. 2006); In re United Health, 210 B.R. 228, 232
                             13   (S.D.N.Y. 1997) (stay extended to debtor’s surety where third party's claims against
                             14   surety were entirely contingent on debtor's liability to third party, where allowing
                             15   litigation to proceed against surety would result in resolution of issues regarding
                             16   debtor's liability and defenses that might have collateral estoppel, stare decisis or
                             17   other prejudicial effect on debtor, where surety would have indemnity claim for any
                             18   judgment entered against it, and where allowing the other litigation to proceed
                             19   would distract key personnel from debtor's reorganization efforts). Here, the
                             20   Automatic Stay should be extended because the Non-Debtor Defendants are
                             21   entitled to indemnification from Debtor, as employer of the Non-Debtor Defendants
                             22   in the legal malpractice actions, and because a recovery against the insurance policy
                             23   covering the Non-Debtor Defendants would also reduce future coverage available
                             24   to the Debtor.
                             25            Any judgment against a Non-Debtor Defendant, including former employees
                             26   in the Litigation, would almost certainly result in an indemnification claim against
                             27   the Debtor’s estates. Moreover, the Debtor is compelled to pay the expenses in
                             28   connection with the Litigation on behalf of the Non-Debtor Defendants. Thus, any
                                                                            -8-
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                              1   defense costs, judgments, or settlements that Non-Debtor Defendants incur in
                              2   defending against the Litigation are really costs and expenses to the Debtor and its
                              3   estate. Moreover, recoveries from the Debtor’s insurance policies covering the
                              4   Non-Debtor Defendants, which similarly provide coverage to the Debtor, will
                              5   reduce the amount of coverage available to the Debtor - again transforming the
                              6   Non-Debtor Defendants’ costs of the Litigation into costs and expenses of the
                              7   Debtor.
                              8            Indeed, as noted, the acts at issue of the Non-Debtor Defendants are
                              9   inextricably also the acts of the Debtor such that any continuation of any of the
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                             10   Litigation against the Non-Debtor Defendants necessarily violates the automatic
                             11   stay itself. A formal extension of the stay however recognizes this reality.
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                             12            B.        The Prosecution of the Non-Debtor Defendants Might Have
                             13                      Collateral Estoppel Effects on Debtor
                             14            Additionally, the Debtor could be subject to substantial collateral estoppel
                             15   risks (due to respondent superior, agency, or similar allegations), which will
                             16   effectively compel the Debtor to actively participate in the Litigation with
                             17   substantial cost to the Debtor and distraction of its management.
                             18            The statutory provisions of Bankruptcy Code Sections 362 and 105(a)
                             19   preclude the prosecution of litigation against a non-debtor where a finding of
                             20   liability against the non-debtor, (particularly here were the Debtor can only act
                             21   through its agent lawyers), effectively could be imputed to the debtor, to the
                             22   detriment of the estate, by reason of collateral estoppel. Under the doctrine of
                             23   collateral estoppel, when an issue of ultimate fact has been determined by a final
                             24   judgment, such issue cannot be relitigated by the same party or parties in any future
                             25   lawsuit. See Schiro v. Farley, 510 U.S. 222, 232 (1994); Lytle v. Household Mfg.,
                             26   Inc., 494 U.S. 545, 553 (1990) (“collateral estoppel protects parties form multiple
                             27   lawsuits and the possibility of inconsistent decisions, and it conserves judicial
                             28   resources.”). “Courts apply § 105 of the Bankruptcy Code to enjoin litigation
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                              1   against non-debtors when an adverse judgment in that litigation will collaterally
                              2   estop the debtor in subsequent litigation.” Barney’s Inc. v. Isetan Co. (In re
                              3   Barney’s. Inc.), 200 B.R. 527, 531 (Bankr. S.D.N.Y. 1998).
                              4            In the case at bar, allowing the Litigation to go forward presents substantial
                              5   risk that the Debtor may be collaterally estopped from relitigating the issues
                              6   adjudicated in the Litigation for which Debtor is a named co-defendant. Moreover,
                              7   it is possible that certain findings, testimony, and/or statements made in the
                              8   Litigation will be used against the Debtor in subsequent proceedings. In re Johns-
                              9   Manville Corp., 40 B.R. 219, 225 (S.D.N.Y. 1984) (recognizing the risk that a
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                             10   witness “may be confronted with his prior testimony under oath in a future
                             11   proceeding directly involving [the debtor], whether or not [the debtor] was a party
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                             12   to the record on which the initial testimony was taken.”). The Johns-Manville court
                             13   went on to note that collateral estoppel is even a concern when the debtor is not a
                             14   co-defendant because an admission by an agent of the debtor in a proceeding,
                             15   whether or not the debtor is a party, “stands for all time.” Id. It would defeat the
                             16   purpose of the Automatic Stay if the Litigation were not stayed as against the Non-
                             17   Debtor Defendants because the Debtor, despite the Automatic Stay applying to the
                             18   Litigation as against Debtor, would be in a position where it would have to become
                             19   actively involved in the Litigation and expend estate resources in the process, or
                             20   risk being bound by unfavorable judgments, findings, testimony, and/or statements.
                             21   Either result would frustrate the purposes of the Automatic Stay and adversely
                             22   impact the Debtor’s efforts to maximize value for creditors in this Chapter 11
                             23   petition.
                             24            C.        The Prosecution of the Non-Debtor Defendants Necessarily Involves
                             25                      Debtor Resources
                             26            Furthermore, the continued prosecution of the claims against the Non-Debtor
                             27   Defendants in the Litigation will require the Debtor and its limited personnel to
                             28   expend time and resources participating in the litigation notwithstanding the fact
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                              1   that such Litigation may be stayed as against the Debtor, to the detriment of the
                              2   Debtor’s efforts to maximize value for its creditors.
                              3            “[N]umerous bankruptcy courts have ...stay[ed] the prosecution of actions
                              4   against non-debtor defendants who were officers and/or directors of the debtor
                              5   defendants.” In re Am. Film Techs., Inc., 175 B.R. 847, 850 (Bankr. D. Del. 1994).
                              6   The Automatic Stay will be extended to non-debtor third parties “where stay
                              7   protection is essential to the debtor’s efforts” in their bankruptcy cases. McCartney
                              8   v. Integra Nat’l Bank North, 106 F.3d 506, 510 (3d Cir. 1997). This is “illustrated
                              9   by cases where the debtor’s key personnel are diverted from the reorganization by
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                             10   demands of discovery related to the third-party suit.” El Puerto de Liverpool S.A.
                             11   de C.V. v. Servi Mundo Llantero, U.S.A., Inc. (In re Kmart Corp.), 285 B.R. 679,
       Los Angeles




                             12   689 (N.D. Ill. 2002); see also Eastern Air Lines, Inc. v. Rolleston (In re Ionosphere
                             13   Clubs, Inc.), 111 B.R. 423, 435 (Bankr. S.D.N.Y. 1990) (action against debtor
                             14   airline's codefendants would also be enjoined, as pursuit of action would involve,
                             15   burden and directly impact airline and would likely prejudice airline's future
                             16   defense against identical claims based upon identical facts).
                             17            The Litigation should be stayed with respect to the Non-Debtor Defendants
                             18   because continued prosecution of the Litigation will require key personnel to divert
                             19   attention from their efforts to maximize value for creditors during the wind-down of
                             20   this Chapter 11 petition. The Debtor has limited staffing resources to handle
                             21   administrative and managerial tasks for the Debtor. Any discovery or other
                             22   information sought from the Debtor will necessarily distract attention from efforts
                             23   to wind-down the estates in a manner that maximizes value for all creditors. In In re
                             24   Ionosphere Clubs, Inc., the court extended the Automatic Stay to a debtor’s
                             25   chairman based on the fact that he was essential to the debtor’s Chapter 11 case,
                             26   explaining that:
                             27

                             28
                                              [s]hould the [creditor’s lawsuit] be allowed to proceed against
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                              1               parties key to the reorganization [i.e., the debtor’s chairman],
                              2               substantial amounts of time will be diverted, to the obvious
                                              detriment of [the debtor’s] reorganization. ‘The massive drain
                              3               on [key officers’] time and energy at this crucial hour of plan
                              4               formulation in either defending themselves or in responding to
                                              discovery requests could frustrate if not doom their vital efforts
                              5               at formulating a fair and equitable plan of reorganization’…
                              6               Because the Chairman is a central actor in [the debtor’s]
                                              rehabilitation, ‘he must be free …to devote all [his] efforts to
                              7               the operation of the business and the formulation of a plan.’ In
                              8               re Ionosphere Clubs, Inc., 111 B.R. at 435.
                              9
                                           Dariush Adli, Debtor’s President and CEO, is a named defendant in three of
A Professional Corporation




                             10
                                  the five actions. The few parties who remain employed by the Debtor are key to the
                             11
       Los Angeles




                                  successful outcome of this petition. Further, the few remaining employees are the
                             12
                                  same people that would be called upon to decide litigation tactics/strategy for the
                             13
                                  Litigation generally and respond to any discovery requests propounded upon the
                             14
                                  Non-Debtor Defendants.
                             15
                                           Further, even with the Litigation stayed against the Debtor itself, the Debtor
                             16
                                  necessarily will be required to be involved in all stages of the litigation pertaining
                             17
                                  to the Litigation, including discovery and witness preparation. This will obviate the
                             18
                                  intent and purpose of the Automatic Stay and have an adverse effect on the
                             19
                                  Debtor’s efforts to maximize value for creditors in this Chapter 11 to the detriment
                             20
                                  and prejudice of all other parties in interest.
                             21
                                  IV.      CONCLUSION
                             22
                                           Debtor respectfully requests that this Court enter an Order pursuant to 11
                             23
                                  U.S.C. Section 105, clarifying that the Automatic Stay applies here to the moving
                             24
                                  employees, or alternatively extending the Automatic Stay to the Non-Debtor
                             25
                                  Defendants in the Litigation.
                             26

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                              1   Dated: January 24, 2022                   ROPERS MAJESKI PC
                              2

                              3                                             By:/s/ Anna Novruzyan
                                                                                LAWRENCE BORYS
                              4                                                 ANNA NOVRUZYAN
                                                                            Attorneys for Non-Debtor Defendants
                              5                                             and Movants DARIUSH ADLI, DREW
                                                                            SHERMAN, JOSHUA EICHENSTEIN,
                              6                                             and JONATHAN LANDIS
                              7

                              8

                              9
A Professional Corporation




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       Los Angeles




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                              1                           DECLARATION OF ANNA NOVRUZYAN
                              2
                                           1.        I am an attorney licensed to practice law in California and an associate
                              3
                                  at Ropers Majeski, P.C. I am counsel of record for the following individuals in the
                              4
                                  following actions:
                              5
                                                a. Counsel for Defendant Drew Sherman in WBS, Inc. v. Adli Law
                              6
                                                     Group, P.C. et al., Los Angeles County Superior Court Case No.
                              7
                                                     20STCV34381, filed on September 9, 2020.
                              8
                                                b. Counsel for Defendants Dariush Adli, Joshua Eichenstein, and Drew
                              9
                                                     Sherman in Gary Topolewski v. Adli Law Group, P.C. et al., Los
A Professional Corporation




                             10
                                                     Angeles County Superior Court Case No. 20STCV32929, filed on
                             11
       Los Angeles




                                                     August 27, 2020.
                             12
                                                c. Counsel for Respondents Dariush Adli, Joshua Eichenstein, and Drew
                             13
                                                     Sherman in Gary Topolewski v. Adli Law Group, P.C. et al., Signature
                             14
                                                     Resolution Arbitration Case ID YRZKG.
                             15
                                                d. Counsel for Defendant Jonathan Landis in Steven Hellings v. Andrea
                             16
                                                     Ruth Bird, et al., San Diego County Superior Court Case No. 37-2020-
                             17
                                                     00044516-CU-BT-CTL, filed on December 4, 2020.
                             18
                                                e. Counsel for Defendants Dariush Adli and Drew Sherman in Jonathan
                             19
                                                     Betuel v. Dariush Ghaffar Adli, et al., Los Angeles Superior Court
                             20
                                                     Case No. 21STCH02730, filed on January 22, 2021.
                             21
                                           2.        I have personal knowledge of the facts set forth herein and, if called as
                             22
                                  a witness, I could and would testify competently thereto. I make this declaration in
                             23
                                  support of Movants’ Motion for an Order Extending the Automatic Stay, or
                             24
                                  Alternatively, Finding Continuing Litigation as a Violation of the Stay.
                             25
                                           3.        Attached as Exhibit “1” is a true and correct copy of Plaintiffs’
                             26
                                  Complaint in WBS, Inc. v. Adli Law Group, P.C. et al., Los Angeles County
                             27
                                  Superior Court Case No. 20STCV34381, filed on September 9, 2020.
                             28
                                                                                - 14 -
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                              1            4.        Attached as Exhibit “2” is a true and correct copy of Plaintiff’s
                              2   Complaint in Gary Topolewski v. Adli Law Group, P.C. et al., Los Angeles County
                              3   Superior Court Case No. 20STCV32929, filed on August 27, 2020.
                              4            5.        Attached as Exhibit “3” is a true and correct copy of Claimant’s
                              5   Claim for Damages in Gary Topolewski v. Adli Law Group, P.C. et al., Signature
                              6   Resolution Arbitration Case ID YRZKG.
                              7            6.        Attached as Exhibit “4” is a true and correct copy of Plaintiffs’ First
                              8   Amended Complaint in Steven Hellings v. Andrea Ruth Bird, et al., San Diego
                              9   County Superior Court Case No. 37-2020-00044516-CU-BT-CTL, filed on May 4,
A Professional Corporation




                             10   2021.
                             11            7.        Attached as Exhibit “5” is a true and correct copy of Plaintiff’s
       Los Angeles




                             12   Complaint in Jonathan Betuel v. Dariush Ghaffar Adli, et al., Los Angeles Superior
                             13   Court Case No. 21STCH02730, filed on January 22, 2021.
                             14

                             15            I declare under penalty of perjury under the laws of the State of California
                             16   that the foregoing is true and correct.
                             17            This declaration is executed on 24th day of January, 2022, at Los Angeles,
                             18   California.
                             19

                             20
                                                                        _________________________________
                                                                             Anna Novruzyan
                             21

                             22

                             23

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                           EXHIBIT 1
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                                                 nia. County of Los Angeles on 09/09/2020 02:53 PM Sherri R. Carter, Executive Officer/Clerk of Court, by H. FIores-Hernandez,Deputy Cl^k
Electronically FILED by Supertor Court of California,
                                                                                      20STCV34381
                                        Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: David Cowan



                          1     Gram A. Carlson, Esq. (SBN 155933)
                                Friedman, Enriquez & Carlson, LLP
                          2     401 Wilshire Blvd., 12^^ Floor
                                Santa Monica, California 90401
                          3     Telephone (310) 273-0777
                                Telehfx (310) 273-1115
                         4
                                Attorneys for Plaintiff WBS, Inc.
                         5
                                Brie Bjorgum, Esq. (SBN 198392)
                         6      Karish Bjorgum, PC
                                119 H. Union St., Suite B
                         7      Pasadena, CA 91103

                         8      Attorneys for Plaintiff Robert J. Blotzer

                         9

                        10                                   SUPERIOR COUR'r OF THE STA'fR OF CALIFORNIA

                        n                                                         COUNTY OF LOS ANGELES

                        12

                        13      WBS, INC., a California corporation; )                                        Case No.          2 OST                     34381
                                ROBERT BLOTZER, an individual        )
                        14                                                                            )       COMPLAINT FOR LEGAL MALPRACTICE
                                                                  Plaintiffs,                         )
                        15                                                                            )       (1) PROFESSIONAL NEGLIGENCE
                                           vs.                       )                                        (2) BREACH OF CONTRACT
                        16                                           )                                        (3) BREACH OF FIDUCIARY DUTY
                               ADLI LAW GROUP, P.C., a California )                                           (4) EQUITABLE INDEMNITY
                        17     corporation; DREW SHERMAN, an )
                               individual; and DOES 1 through 100, )
                        18     inclusive
                                                                     )                                        JURY TRIAL DEMANDED
                        19                       Defendants.         )
                                                             _____ )
                       20

                       21                                                                                 h

                       22                                                                    THE PARTIES

                       23                  Plaintiffs allege:

                       24                  1.         Plaintiff WBS, Inc. (“WBS”) is a California corporation located in the County of Los

                       25       Angeles.

                       26                  2.          Plaintiff Robert Blotzer (“Blotzer”) is an individual and a resident of Los Angeles

                       27       County, California.

                       28                  3.         Defendant Drew Sherman (“Sherman” or “defendant”) is an indi vidua! and a resident

                                                                                                          -l-

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         1   ol'Los Angeles Couniy.

      2              4.     Defendant Adli Law Group, P.C. (“Adli” or “Adli Law”) is a California corporation,

      3      located in Los Angeles County, California.

      4              5.     Plaintiffs are ignorant of the true names and capacities of defendants Does 1 through

      5      100, who are thus sued herein by such fictitious names. Plaintiffs are informed and believe, and on

      6      such basis alleges, that the tictitiously-named defendants are in some manner liable for the matters

      7      alleged herein, and when the fictitiously-named defendants’ names, capacities and responsibility

      8      have been ascertained, Plaintiffs will seek leave lo amend this complaint to allege the same.

      9                                                       n.

     10                                        SUMMARY OF ARGUMENT

     n              6.      This is a legal malpractice claim against Adli Law and Drew Sherman, counsel for

     12      WBS, Inc., a holding company for the rock band “RA'IT.” Plaintiff Robert Blotzer is the drummer

     13      of RA'JT who hired Adli and Sherman to bring lawsuits on behalf of WBS against every other

     14      member of “ID\TT” arguing that they are interfering with WBS’s rights to perform as “RATT.”

    15       Prior thereto, it was undisputed that WBS owned all copyright and trademark rights lo the band.

    16       Through countless errors in judgment, professional negligence, feilures to research law and facts,

    17       and meriliess positions taken by Adli and Sherman, they lost all intellectual property rights of WBS

    18       and subjected the company to hundreds of thousands of dollars in judgments for fees, costs and

    19       counter-claims of infringement.

    20                                                       m.

    21                                           BACKGROUND FACTS

    22       A.     AdU/Shcrinan’s Illegal Takeover of WBS

    23              7.      WBS is a holding company for the rock band “RA3"r.” Warren DeMartini is the lead

    24       guitar player. Robert Blotzer is the drummer. They are the only shareholders. The lead singer of

    25       RAT'f is Stephen Pearcy (“Pearcy”), and the bass player is Juan Croucier (“Croucier”). They do

    26       not own any shares of WBS. As of September 2015, every member of the band understood that

    27       WBS owned the trademark rights to ‘'RA'rr.”

    28              8.      Blotzer retained Adli and Sherman to help with his rights in RA'H' so that he could
                                                             -2   -




                                       COMPLAINT FOR LEGAL MALPRACTICE
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      1   make a living. Aclii and Sherman advised him (o demote DeMartini as an officer and convert him

      2   to a non-voting shareholder in RAIT so Blotzer could take over RATT. He also advivSed Blotzer to

      3   prevent Pearcy and Croucier from competing witii their own “RATT tribute bands.” Adli and

      4   Sherman disregarded numerous corporate requirements in the takeover attempt, including failure to

      5   provide proper notice to Demartini, appointing Sherman to the Board of Directors (a massive conHict

      6   of interest) and voting for the takeover at an illegal shareholders and Directors meeting. DeMartini

      7   filed an action seeking to undo those unauthorized acts which threatened to seriously damage the

      8   band and its name. Attached as Exhibit “A” is a true and correct copy of the complaint. Sherman

      9   and Adli also entered into a fee agreement whereby they would be paid a percentage of gross receipts

     10   on all live concerts.

     11   B.      After the Illegal Takeover. Adti/Shcrnian Sued Croucier for Infringement

     12          9.       Following the takeover, Adli/Sherman filed a Complaint on behalf of WBS alleging

     13   trademark infringement and related causes of action against Croucier. ‘fhey alleged Croucier’s

     14   “RATT tribiUe band” was illegally using “RATT” trademarks owned by WBS. Adli/Shcrman were

     15   trying to clear the way for Blolzer’s own “RATT tribute band” to make more money by promoting

     16   themselves as the “real RATT” and preventing competition from Croucier’s tribute band and any

     17   others. DeMartini was always against this action, as he was trying to get the whole lineup back

     18   together. The action by DeMartini was eventually settled and the illegal takeover was reversed, but

     19   not before Adli/Sherman caused millions in damage to WBS by repeated acts of professional

     20   negligence. A true and correct copy of the Croucier complaint filed by Adli/Sherman is attached as

    21    Exhibit “B.”

     22   C.      Adli/Shci man Not Only Lost the Claim Against Croucier. but They Lost Any And All

     23           Trademark Rights of WBS in “RATT” to the **RATT Partnership,” a Predecessor to

     24           WBS
     25           10.     in a strange and perhaps karmic twist, Adli/Sherman not only failed in their crusade

     26   against Croucier, but they lost WBS’s interest altogether in “RA'P'r” trademark rights. Again, this

    27    is while Demartini was trying to prevent all of these improvident actions, and with Sherman

     28   appointing himself to WBS’s board of Directors to favor one shareholder over the other while

                                                           -3-

                                    COMPIAINT            LEGAL MALPRACTK!E
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          claiming lo act as “corporate counsel,” The Croucier litigation was summarily adjudicated as

      2   follows:

      3          A threshold issue in this matter is whether WBS has an ownership interest in
                 the RATT trademarks. See, Rearden LLC v. Reanlen Commerce, Inc., 683 F. 3d
      4          1190, 1202-3 (9'^ir. 2012) .. . The evidence is undisputed that Croucier was a

      5
                 the RATT Partnership could transfer or assign any part of his interest in the RA'Cr
      6          Partnership without the unanimous consent of the other partners. Croucier has never
                 consented to the assignment of the RA'Cr marks to WBS or to anyone else.
      7          Accordingly, there is no triable issue with respect to the validity of the assignment
                 of the RATT marks to WBS. Because the as.signnicnt was invalid, WBS cannot
      8          make the threshold showing that it has an ownership interest in the marks, and
                 its trademark claims fall. Summary Judgment is tlicrefore warranted in favor
      9          of Croucier and atiainst WBS. (Emphasis added)

     iO   A true and correct copy of the ruling is attached as Exhibit “C.”

     H           11.    Sherman submitted almost no evidence whatsoever, incl uding fai ling to seek evidence

     12   of any kind from Demartini. Sherman himself acknowledged his evidentiary absence long after

     13   losing all trademark interests of WBS. In fact, Sherman sent an email to DeMartini’s counsel

     14   (attached as Exhibit “D”) stating the following:

     15          “1 wanted to run something by you to lake lo your client, Given that your client has
                 been ousted Irom the RATT Partnership and Juan and Pearcy continue to go out and
     16          perform, disparaging and damaging the brand, I think there is a way to unravel
                 everything and put our clients back in the ownership position of the trademarks, stop
     17          the RATT Partnership, and have the RATT Partnership actually pay WBS money.
                 But the lynch pin to all that is wholly contingent on your client. Warren wiM
     18          have to sign a sworn statement or testify that he did consent/vote for Croucier’s
                 expulsion back in 1997. He does that and I can make a motion lo set aside the
     19          summary judgment ruling in WBS v. Croucier based on new evidence that has been
                 the central focus of the district court matter and the appeal. 1 am sure Warren is not
     20          thrilled about being out of the brand he helped create 30 years ago and watching
                 those morons just crap the bed with it.” (Emphasis added)
     21
                  12.    At no time did Adli/Sherman seek any discovery from DeMartini to oppose the
     22
          summary judgment. Likewise, they never indicated even to Blotzer (let alone DeMartini) that WBS
     23
          was in any danger of losing rights. Sherman/Adli essentially opposed the motion without even
     24
          attempting to obtain the evidence needed to prevail. Moreover, they missed important defenses such
     25
          as abandonment or acc|uiescence because the trademark ended up in the hands of the RA'fT
     26
          Partnership, even though the RA IT' Partnership had not used the trademark in over two decades; all
     27
          members of the RATf Partnership were aware of that tact. Further, Sherman and Adli failed to rely
     28
                                                             _4.


                                    COMPLAINT FOR LEGAL MALPRACTICE
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      1   on the iesliniony of an aUomey who had been involved with the band during a lime when Croucier

      2   was clearly leaving ihe band; this testimony would have shown that Croucier left the partnership and

      3   had no rights lo the trademark. Nevertheless, the issue of WBS’s right to perform as “RAI 'F” was

      4   fully and finally resolved against WBS. WBS now has no right to perform as “RAT'f” due to the

      5   unapproved actions of the defendants in violation of both ethics and minimal competency required

      6   of attorneys in the State of California.

      7           13.     It bears repeating that not a single member of RA’fT ever challenged WBS’

      8   ownership of RA'fT trademarks in 20 years. During that lime, hundreds of RATf shows were

      9   performed by all band members of RATF. For decades no one ever challenged WBS’s ownership,

     10   until Sherman/Aclli came in, brought suit against each of the other members of the band and lost all

     11   rights for WBS. Moreover, an affirmation challenge to WBS’s ownership would almost certainly

     12   be defaulted by a “waiver” defense. The trademark is worth millions.

     13   O.     Despite Losing All Rights of WBS to *<RATT.’* Adli/Shcrman Then Sued the RATT

     14          Partnership for Shows Done After the Croucier Summai^ Judgment

     15           14.    Once the trademarks were lost lo the RAIT Partnership, a predecessor entity to WBS,

     16   Croucier, Pearcy and Demartini started doing RA'Ff shows under the “RAIT Partnership.” All of

     17   these shows were performed after the Croucier Summary Judgment. Obviously, these shows were

     18   done explicitly based on the Federal Court ruling that “RATT Partnership” owned all rights to

     19   “RATf.”

     20           15.    In another example of quantum incompetence, Adli/Shemian tried lo re-ligate the

     21   Federal Court ruling by suing the RA'H' Partnership in a separate action for unfair competition. They

     22   made the following claims:

     23                  56.    'fhe Partnership’s acts of trademark infringement, false designation
                 of origin and palming off, complained of herein constitute unfair competition with
     24          WBS under the statutory laws of the State of California, particularly California
                 Business & Professions Code § 17200 et seq.
     25
                         57.    WBS is informed and believes, and thereon alleges, that The
     26          Partnership have derived and received, and will continue lo derive and received
                 property that would otherwise have been earned by WBS. By their actions, 'fhe
     27          Partnership have injured and violated the rights of WBS and have irreparably injured
                 WBS, and such irreparable injury will continue unless 'fhe Parlner.ship are enjoined
     28          by this Court.
                                                           -5-

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      1   A true and correct copy of that complaint is attached as Exhibit “E.”

      2           16.     Why Adli/Sherman continued to pursue claims they already lost is a mystery, but they

      3   chose to do so with no basis whatsoever. Re-litigating losses is part of Adli/Sherman’s normal

      4   course of action. They move to reconsider eveiy loss, regardless of the lack of any basis for the

      5   motions, they file collateral actions on the same grounds ignoring res judicata and collateral estoppel.

      6   It is a pattern and practice of professional negligence, driving up fees and pursuing losing causes to

      7   continue to keep billing. During the entire time, Adli/Sherman continued to tell Blotzer that the case

      8   was strong and on solid footing without concern for the danger to which they continued lo subject

      9   WBS. Moreover, Adli/Sherman also told Blotzer to keep doing shows witli his own tribute band as

     10   “RA'IT,’' failing to provide Blotzer with any information that he could be subjecting himself and

     11   WBS lo more jeopardy.

     12   E.     AcUi/Shcrmaii Also Filed Another Complaint Against Warren DeMartini liulividually.

     13          Claiming He Was “Personally” Responsible For Damages Due to Alleged Unfair

     14          Competition bv the “RATT Partnership” - - It was Summarily adjudicated against

     15           WBS based on Collateral EstoppcK

     16           17.     Adli/Sherman then doubled down yet again, and filed an new claim to recover

     17   damages against DeMartini for the same shows for which he sued the “RATT Partnership.” Again,

     18   this is long after losing all WBS trademark rights and having no basis to continue the losing crusade.

     19   A true and correct copy of the claim against DeMartini is attached as Exhibit “F.” Blotzer's

     20   fiduciary duty and unfair competition causes of action both are premised on the notion that the

     21   Croucier Summary Judgment either never happened or that it may be re-litigated in a new action,

     22   even though the Croucier Summary Judgment was still on appeal. The allegations in Blotzer’s

     23   Cross-Complaint are as follows:

     24                                  Breach of Fiduciary Duty Allegations

     25                   21.    WBS is informed and believes, and thereon alleges, that in or about
                  late November or early December 2016, DeMartini, Pearcy, and Croucier met and
     26           agreed to form a band called RA F T, to have that band perform RAl'T’s music, and
                  to actively compete against and damage the business of WBS.
     27

     28   \\\

                                                            -(>

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      1                 28.    WBS has had at least three (3) contracts (live nuisic performances in
                 consideration for compensation) cancelled thus far, specifically because of
      2          DeMartini’s competitive business with the new band.

      3                 29.    WBS has found that other promoters and venues are wilhdravying
                 offers of compensation for live performances because DeMartini’s competitive
      4          business.

      5                  31,   WBS is informed and believes, and thereon alleges, that DeMartini
                 is knowingly engaging in a business which actively competes with WBS and is
      6          diverting revenues from WBS to the competitive business from which DeMartini
                 earns revenues.
      7
                                          Unfair Competition Allegations
      8
                         46.    WBS is informed and believes, and thereon alleges, that DeMartini*s
      9          acts of breaching his fiduciary duty to WBS as complained of herein constitutes
                 unfair competition with WBS under the statulory laws of the State of California,
     10          particularly California Business 8c Professions Code § 17200 et seq.

     11                  47.    WBS is informed and believes, and thereon alleges, that, by his
                 actions, DeMartini has injured and violated the rights of WBS and has irreparably
     12          injured WBS, and such irreparable injury will continue unless Defendants are
                 enjoined by this Court.
     13
                  18,    Once again, these causes of action both allege that WBS has been harmed because
     14
          the RATT Partnership performed shows (as “RATT”) that interfere with WBS’ ability to perform
     15
          .shows as RATf. However, the Croucier Summary Judgment explicitly found that fVBS has no
     16
          ownership ofany RA TT trademarks. Adli/Sherman were trying yet again to re-litigale these issues,
     17
          'fhis is a bad faith tactic done over and over, blatantly di.sTegarding the required basis for
     18
          reconsideration, Not surprisingly, it also was summarily adjudicated on grounds of collateral
     19
          CvStoppel
     20
          R.     Adli/Sherman Lost the Unfair Competition Claim Against RATT Partjierslim For the
     21
                 Same Reason as in the Croucier Litigation - WBS Owns No Trademark Rights to
     22
                 “RATT”
     23
                  19,   Not surprisingly, Judge Pregerson rejected Blotzer’s attempt lo re-litigale the Croucier
     24
          Summary Judgment against the “RAIT Partnership.” The Federal Court ordered:
     25

     26          “This is the third time in a series of suits before this Court regarding the ownership
                 of varioiKs trademarks related to the rock band ‘RATT.’”... “'fhe RA'fT Partnership
     27          contends that Blotzer and WBS already litigated, and lost, the issue of trademar<
                 ownership in the prior Croucier and Pearev actions, and that Defendants are therefore
     28          barred iVom contesting that issue again in this action.” . . . “The answer is yes.
                                                           -7-


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      1           Although Defendants put forth a new, common law-based theory about why WBS
                  owns the RATT marks, the question whether WBS or the RATf Partnership owns
      2           the marks was already litigated, and resolved, in Croucier and Fearcy.”

      3   A true and correct copy of the ruling is attached as Exhibit “G.”

      4          20.     Despite launching every absurd theory imaginable to continue to assert that WBS

      5   owns the RATT trademark interests, Blotzer got the same result for the third time.

      6   G.     The Ninth Circuit Court of Appeal Put the Final Nail in the Coffin - •• WBS Owns No

      7           Protectiblc Interest in “RATF* Because of Adli/Slierman

      8          21.     7'he Ninth Circuit Court of Appeal shut the door for good on Adli and ShermaiTs

      9   charade:

     10          WBS contends that the district court erred by granting summary judgment to
                 Croucier on the ground that WBS does not own the RA'f'r trademarks. The district
     11          court did not err. WBS admits in this litigation that Warren DeMartini was a partner
                 in the RAl'f partnership in 1997, when Croucier was purportedly expelled. The
     12          partnership agreement requires all current parlners to unanimously consent to expel
                 a partner. WBS has not put forth any evidence that DeMartini voted to expel
     13          Croucier. The district court therefore correctly held that “no reasonable factfinder
                 could conclude that Croucier was ever expelled from the Partnership.” And because
     14          Croucier was not expelled from the partnership, his vole was required to transfer
                 rights in the RA7’7' trademarks. Because Croucier did not vole to transfer the RA'IT
     15          trademarks to WBS, that assignment is invalid. WBS has no rights in the RATf
                 trademarks; summary judgment to Croucier was proper.
     16
          A true and correct copy of the order is attached as Exhibit “I I,
     17
          H.      Adli/Shcrmaii Subjected WBS to multiple judgments for Hundmisof Thoysaiidsof
     18
                  Dollars for Bad Faith Litigation tactics
     19
                 22.     In the WBS v. Croucier action, Judge pregerson issued two orders for fees and costs,
     20
          one in the amount of $232,927.50 and a second in the amount of $70,789.50. 'frue and correct
     21
          copies of the fee awards are attached as Exhibits “1” and “J.” 71iese orders were based on the specific
     22
          finding that Adli/Sherman engaged in bad faith litigation tactics. The Court stated:
     23
                 “This Court has notwithstanding its initial denial of attorney fees, repeatedly
     24          highlighted plaintiff s improper litigation conduct.... 7'his trademark case stands out
                 both the substantive weakness of the plaintiffs litigation position and the
     25          unreasonable manner in which the case was litigated.” (M, Ex. “I” pages 4-6).

     26   \\\

     27   \\\

     28   \\\

                                                            -8-

                                     COMin.AlNT FOR LEGAL“MALPRACTiCl3
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      ]   I.     Adli/Shcrmaii Siib|cc<c(l WBS to Liabilitv for trademark Infnngcmcnl/Cmintcrrdlin^

      2           for Advising Blofxcr to continue to do shows as **RATT” for at least a Year after losing

      3           Hie Croucier Summary Judgment

      4           23.     Currently, WBS is without assets and still facing a default judgment for Blotzer

      5   continuing to do shows as RATF based on the advice of Adli/Sherman after losing Summeuy

      6   Judgment in the Croucier case. Blotzer did shows as RATT for an entire year, resulting in claims

      7   by the RATT partnership against WBS for both trademark infringement and counterfeiting.

      8   Moreover, Adli/Sherman were continuing to advise Blotzer to do shows for one reason:

      9   Adli/Sherman were paid their fees and costs from tiie revenue earned in the illegal shows. Once

     10   again, Adli/Sherman engaged in a massive conflict of interest intended solely for their own benefit.

     11   The default papers have been submitted by the RATf partnership requesting $2 million in statutory

     12   penalties for intentional infringement and counterfeiting.

     13                                       FIRST CAUSE OF ACTION

     14             (For Professional Negligence [Legal Malpractice) Against All Defendants)

     15           24.     Plaintiffs reallege and incorporate Paragraphs 1 through 23 above, as though fully

     16   set forth herein.

     17           25.     In September 2015, Plaintiffs retained Adli/Sherman to provide legal services to in

     18   connection with the matters set forth in paragraphs 6-23, thereby establishing an attorney-client

     19   relationship between the parties.

     20           26.     As Plaintiffs’ counsel, Adli/Sherman owed a duty of care to Plaintiffs, requiring them

     21   to exercise the knowledge, skill and ability ordinarily exereixsed by other similarly situated lawyers.

     22   Contrary to that duty, defendants were professionally negligent in the following ways:

     23                   (a)     Failing to comply with California Law in the WBS takeover.

     24                   (b)     Losing al 1 trademark rights of WBS without informing the client of the risk

     25   and turther failing to submit competent evidence.

     26                   (c)     Engaging in numerous conllicts of interest, including appointing Sherman to

     27   the WBS Board of Directors, luiling to follow ba.sic corporate notice requirements and choosing

     28   between shareholders in matters where they had serious conflicts.
                                                            -9-

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      1                   (cl)     Advising Blotzer to continue to infringe RA'fT trademarks and potcjitially

      2   engaging in counterfeiting.

      3                   (e)      Advising Blotzer/WBS to do illegal shows after the Croucier Summary

      4   Judgment and taking fees/costs from the illegal shows and failing to inform the clients of any of the

      5   risks.

      6                   (0       Bringing actions without legal justification, subjecting WBS and Blotzer to

      7   adverse fees/costs awards in excess of $300,000 for bad faith litigation tactics,

      8                   (g)      Failing to competently bring and oppose numerous motions, including losing

      9   virtually every action Adli/Sherman brought on summary judgment, including losing all WBS’ rights

     10   to “RATI'” and failing to submit competent evidence.

     11            27.    The negligent acts, omissions and blatant conllicts of interest of Adli/Sherman were

     12   below the standard of care for comparable attorneys who practice in tltis community, especially

     13   attorneys, like Adli/Sherman, who allegedly specialize in handling complex business trials.

     14   Defendants’ professional’s negligence was a substantial factor in Plaintiffs’ multiple losses in the

     15   Demarlini action, the Croucier action and the RA Ff Partnership action. Tie proper handling of

     16   these actions would have prevented the numerous losses and judgments against WBS and Blotzer,

     17   which are continuing to accrue.

     18            28.    As a direct and proximate result of Defendants’ incompetence and professional

     19   negligence, Plaintiffs have suffered compensatory damages in an amount to be proven al trial, but

     20   estimated to be in excess of $3 million. Defendants also committed fraud, oppression and malice

     21   entitling plaintiffs to punitive damages.

     22                                     SECOND CAUSE OF ACTION

     23                            (For Breach of Contract Against All Defendants)

     24            29.    Plainliffe reallege and incorporate Paragraphs ! through 23 above, as though fully

     25   set forth herein.

     26            30.    In September 2015, Plaintiffs retained Adli/Sherman to provide legal services to in

     27   connection with the matters set forth in paragraphs 6-23, thereby establishing an attorney-client

     28   relationship between the parties. The agreement implies a requirement of competent service,

                                                           -10-

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       1   honesty, loyalty.

       2            3!.   Defendants breached the agreement, both directly and, implied as follows:

       3                  (a)      Failing to comply with California r..aw in the WBS takeover.

       4                  (b)      Losing all trademark rights of WBS without informing the client of the risk

       5   and further failing to submit competent evidence,

       6                  (c)      Engaging in numerous conflicts of interest, including appointing Sherman to

       7   llie WBS Board of Directors, failing to follow basic corporate notice requirements and choosing

       8   between shareholders in matters where they had serious conflicts.

       9                  (d)      Advising Blotzer to continue to infVinge RA FF trademarks and potentially

      10   engaging in counterfeiting.

      11                  (e)      Advising Blolzer/WBS to do illegal shows after the Croucier Summary

      12   Judgment and taking fees/costs from the illegal shows and failing to inform the clients of any of the

      13   risks.

      14                  (f)      Bringing actions without legal justiftcation, subjecting WBS and Blotzer to

      15   adverse fees/costs awards in excess of $330,000 for bad faith litigation tactics.

      16                  (g)      Failing to competently bring and oppose numerous motions, including losing

      17   virtually every action Adli/Sherman brought on summary judgment, including losing all WBS’ rights

      18   to "IL^TT” and failing to submit competent evidence.

      19            32.    fhe negligent acts, omissions and blatant conflicts of interest of Adli/Sherman were

     20    below the .standard of care for comparable attorneys who practice in this community, especially

     21    attorneys, like Adli/Sherman, who allegedly specialize in handling complex business trials.

     22    Defendants’ further overcharged, mis-charged, failed to advise clients of risk and took actions to the

     23    detriment of their clients and put their own interest above the clients.

     24             33.   As a direct and proximate result of Defendants’ incompetence and professional

     25    negligence, Plaintiffs have sulTered compensatory damages in an amount to be proven at trial, but

     26    estimated to be in excess of $3 million.

     27    \\\

      28   \\\
                                                            -IL

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      1                                       THIRD CAUSE OF ACTION

      2                          (For Breach of Fiduciai'y Duly Against Ail Defendants)

      3           34.      Plaintiffs reallege and incorporate Paragraphs I through 23 above, as though fully

      4   set forth herein,

      5           35.      In September 2015, Plaintiffs retained Adli/Sherman to provide legal services to in

      6   connection with the matters set forth in paragraphs 6-23, thereby establishing an atlorney-cHenl

      7   relationship between the parties. An attorney-client relationship is a fiduciary relationship.

      8   Defendants at all relevant times owed Plaintiffs a fiduciary duty. Defendants’ fiduciary duties

      9   included:

     10                    (a)     Acting in the best interest of the client and putting the client’s interests ahead

     11   of the attorneys’ and law firm’s interests;

     12                    (b)     Duties of care and loyalty;

     13                    (c)     Duty to fully and faithfully advise, counsel and represent Plaintiff loyally;

     14                    (d)     Keeping Plaintiff fully informed of ail material or important events;

     15                    (e)      Reasonably and fairly charging for services;

     16                    (1)     Self-reporting mistakes, errors, malpractice, conflicts and offenses or

     17   violations that which the client would want to know or need to know; and

     18                    (g)     Self-repoi1ing any fact or information that would or has exposed the client to

     19   risk or peril due to the attorneys’ act or behavior that could or would have the effect of impairing the

     20   client’s case.

     21           36.      Plaintiffs reasonably expected and relied on their attorneys to discharge all of these

     22   duties, Because each of the Defendants held themselves out as best-in-class industry leaders.

     23   Plaintiffs expected the Defendants to e.xhibit the highest industry leading duties to him not just those

     24   of the reasonable attorney in Los Angeles. Defendants, and each of them, breached their fiduciary

     25   duties and obligations to Plaintiffs by doing all of the acts and omissions as herein alleged. Among

     26   other things, Defendants breached their duly by failing to act in the best interest of the client and

     27   pulling the clients’ interest ahead of the attorneys and firms interest, failing to represent client with

     28   care and loyally, failing to fully and faithfully advise, counsel and represent Plaintiffs, failing to keep

                                                             -12-

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          Plaintiffs informed of all material or important events, by • generally mismanaging and overbilling

      2   in this case to such extent that Plaintiff was forced to incur excessive and unconscionable legal fees

      3   and expenses, and failing to properly communicate with Plaintiff, including, but not limited to,

      4   advising Plaintiff al the point of discovering their malpractice and by failing to disclose actionable

      5   misconduct and for Plaintiff to obtain independent legal advice.

      6            37.    As Plaintitfs’ counsel, Adli/Sherman specifically engaged in the following

      7   misconduct:

      8                   (a)     Failing to comply with California Law in the WBS takeover.

      9                   (b)     Losing ail trademark rights of WBS without informing the client of the risk

     10   and further failing to submit competent evidence.

     11                   (c)     Engaging in numerous conflicts of interest, including appointing Sherman to

     12   the WBS Board of Directors, failing to follow basic corporate notice requirements and choosing

     13   between shareholders in matters where they had serious conflicts.

     14                   (d)     Advising Blotzer to continue to infringe IlA'fT trademarks and potentially

     15   engagiiig in counterfeiting.

     16                   (e)     Advising Blotzer/WBS to do illegal shows after the Croucier Summary

     17   Judgment and taking fees/costs from the illegal shows and failing to inform the clients of any of the

     18   risks.

     19                   (f)     Bringing actions without legal justification, subjecting WBS and Blotzer to

     20   adverse fees/costs awards in exce.ss of $330,000 for bad faith litigation tactics.

     21                   (g)     Failing to competently bring and oppose numerous motions, including losing

     22   virtually every action Adli/Sherman brought on summary judgment, including losing all WBS* rights

     23   to “RA'rr” and failing to submit competent evidence.

     24            38.    The negligent and disloyal acts, omissions and blatant conflicts of interest of

     25   Adli/Sherman were in violation of their fiduciary duty to provide the highest legal of loyalty and

     26   fidelity to their clients. Defendants’ disloyalty was a substantial factor in Plaintiffs’ multiple losses

     27   in t])c Demarlini action, the Croucier action and the RAT f Partnership action, rhe proper handling

     28   of these actions would have prevented the numerous losses and judgments against WBS and Blotzer,

                                                            -13-

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           which are continiuiig lo accrue.

       2           39.     As a direct and proximate result of Defendants’ incompetence and professional

       3   negligence^ Plaintiffs have suffered compensatory damages in an amount to be proven at trial, but

       4   eslimated to be in excess of $3 million, Defendants also committed traud, oppression and malice

       5   entitling plaintiffs to punitive damages.

       6                                      FOURTH CAUSE OF ACTION

       7                          (For Equitable Indemnify Against AU Oefenclants)

       8           40.     Plaintiffs reallege and incorporate Paragraphs llhrough 23 above, as though fully

       9   set forth herein.

      10           41.     In September 2015, Plaintiffs retained Adli/Sherman to provide legal services lo in

      11   connection with the matters set forth in paragraphs 6-23, thereby establishing an attorney-client

      12   relationship between the parties.

      13           42.     As Plaintiffs’ counsel, Adli/Sherman owed a duty of care lo Plaintiffs, requiring them

      14   to exercise the knowledge, skill and ability ordinarily exercised by other similarly situated lawyers.

      15   Contrary to that duty, defendants were professionally negligent in the following ways:

      16           (a)     Failing to comply with California Law in the WBS takeover.

      17           (b)     Losing all trademark rights of WBS without informing the client of the risk and

      18   further failing to submit competent evidence.

      19           (c)     Engaging in numerous conflicts of interest, including appointing Sherman lo the WBS

     20    Board of Directors, foiling to follow basic corporate notice requirements and choosing between

     21    shareholders in matters where they had serious conflicts.

     22            (d)     Advising Blotzer to continue to infringe RATf trademarks and potentially engaging

     23    in coimlerleiting.

     24            (e)     Advising Blotzer/WBS to do il legal shows after the Croucier Summary Judgment and

     25    taking fees/costs from the illegal shows and failing to inform the clients ol'any of the risks.

     26            (1)     Bringing actions without legal justification, subjecting WBS and Blotzer to adverse

     27    fees/costs awards in excess of $330,000 for bad foith litigation tactics.

     28            (g)    Failing to competently bring and oppose numerous motions, including losing virtually
                                                            -14-

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       1   every action Adli/Sherman brought on summary judgment, including losing all WBS’ rights to

       2   “RA'I'T” and failing to submit competent evidence.

       3          43,     The negligent acts, omissions and blatant conflicts ofinteresi of Adli/Sherman were

       4   below the standard of care for comparable attorneys who practice in this community, especially

       5   attorneys, like Adli/Sherman, who allegedly specialize in handling complex business trials.

       6   Defendants’ professional’s negligence was a substantial factor in Plaintiffs’ multiple losses in the

       7   Demartini action, the Croucier action and the RA'f'f Partnership action. The proper handling of

       8   these actions would have prevented the numerous losses and judgments against WI3S and Blotzer,

       9   which are continuing to accrue. Specifically, WBS is subject to judgments of over $300,000 not

      10   including a pending default judgment in the “RAH' Partnership” action.

      n           44.     At all limes, the strategy and actions by defendants represented poor judgment and

      12   incompetent advice and was the cause of numerous judgments against plaintifl^. As between

      13   plaintiffs and Adli/Sherman, the latter was solely responsible for these Judgments. As a direct and

      14   proximate result of Defendants’ incompetence and professional negligence, Plaintiffs have sufi'ered

      15   compensatory damages in an amount lo be proven at trial.

      16                                                    IV.

      17                                                  PRAYER

      18          WHEREFORE, plaintiffs pray for judgment against defendants, and each of them, as follows:

      19          1.      For general damages according to proof, plus interest al the legal rate,

     20           2,      for consequential and incidental damages according to proof;

     21           3.      For exemplary and punitive damages according to proof;

     22           4.      For attorneys’ fees to the extent permitted by law and/or contract;

     23           5.      For costs of suit herein; and

     24           6.      For such other and further relief as is just {ui   Oper.

     25                                                   Respeetfi          milted,
                                                          Friedmat^           z & Carlson, LLP
      26

      27
                                                              Gji'dm A. Carlson, Esq.
      28                                                       LUorneys for Plaintiffs

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                           EXHIBIT 2
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Electronically FILED by Supe           r Court of Califom,a, County of Los Angeles on 08/27/20 20 04:04 PM Sherri R. Carter, Executive Officer/Clerk of Court. by R. Clifton .Deputy Clerk
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                                                                                   20STCV32929
                                                Assigned ror all purposes to: Stanley Mosk Courthouse. Judicial Officer: Anthony Mohr




                                       PARKER MILL LLP
                                       Da id 8. Park r ( B 72192)
                                   2   park r parkermill !Ip.com
                                       Mark A. Graf( B 107544)
                                   3   grafi parkermill lip.com
                                       800 W. 6th treet, uite 500
                                   4   Los Angeles, alifornia 90017
                                       Telephone: (213 622-4441
                                   5   Fae imile:(213)622-1444

                                   6    ttorne for Plaintiff
                                       G RY TOPOLEW KI
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                                                                           0       TY OF LO A GEL                              E TRAL DI TRICT
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                                       G RYTOPOL                        KJ                                               a e     o. 20STC\l32929
                                  12
                                                              Plaintiff.                                              COMPLAf T FOR DAM GE FOR
                                  13                                                                                  LEGAL M LPRA TICE
                                  14   DLI LAW GRO P, Profe ional
                                      orporation· D RI H DLI. an individual;
                                  15 JO H      EICH    TEii . an indi idual ;
                                     DRE      HE      . an indi idual: and DOE
                                  16 1-100. inclusi
                                  17                          Defendant .
                                  18

                                  19              Plaintiff G RY TOPOLEW KI alleg
                                  20               I.         Plaintiff is informed and believe that defendant ADLI LAW GROUP(" LG"') i

                                  21   and at all material times was a la                     firm and a profi sional corporati n, organized and e isting

                                  22 under the la             of the tate of al ifi mia with it principal plac                               f bu ine         in the        unty of Lo
                                  23   Angeles. tate of alifornia.
                                  24              2.          Defendant D RIU H ADLI is and at all material times was an individual residing
                                  25   in the aunty of L                   ngeles, tat of California. a practicing attorney and, on information and
                                  26 belief, a shareholder of defendant                        LG and an agent an or emplo                           of defendant            LG
                                  27 practicing law in the course and cope of such agency and/or employment in the County of Los
                                  28     ngeles, State of alifomia.

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             ,."Pf,..,   _..u:•                                          COMPL                                GES FOR LEGAL
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                  3.   D fendant JO HU         EI CHEN TEIN i and/or at all mat rial times wa an

    2 indi idual re iding in the     aunty of Lo Angele , tate f alifornia, a practicing attorney and. on

    3 information and belief. an agent and/or employee of defendant ALG practicing law in the course
    4   and cope of uch agen        and/or employment in the Count of Los         ngele , tate of alifornia.

    5             4.   D fendant DREW HERMA                 is an or at all material tim   was an indi idual

    6 residing in the aunty of L s Angeles. tate of California, a practicing attorney and, on
    7 information and belief. an ag nt and/or employee of de fendant ALG practicing law in the cour e

    8 and cope of uch agency an or emplo ment in the Count of Lo                  ngele , tate of alifornia.

    9             5.   Defendant       dli. ichenstein and herman are collectively referred to hereafter as
   IO the ··Jndi idual Defendant .''
   11             6.   Plaintiff i present! without information and kno ledge concerning the

   12 true name and capacitie of the defendant named as DO                I through I 00. inclusive. and

        therefore ue these defendant b such fi titiou name . Plaintiff will amend hi s complaint to

   14 all ge their true name and capa ities     \i   hen a certained. Plaintiff i informed and belie e and

   15   based thereon alleges that each fictitiou ly named defendant wa and is in ome manner lega ll

   16   responsibl fi r the event . breach s. and damag        alleged in thi complaint.
   17             7.   Plaintiff is informed and b lieve and ba ed thereon allege that at all relevant

   18 times each of the defendant wa the agent uper isor, managing agent, principal, alter ego,

   19 employee. partner director, officer. shareh Id r. parent compan , sub idiar , member, manager,

   20 affiliate. joint enturer. uret or other legal repre entati e of each of th other defendant ; that

   21   each defendant was acting in uch capacity and within the course and cope of uch relation hip

   22   with the full kno ledge and con ent of each f the other defendants· that each defendant' c nduct

   23     a undertaken    ith the pri r kno ledge and appro al of uch acts b each of the other
   24   defendant ; and that these act and omission were approved, authorized and/or ratified by the

   25    fficers. direct rs. and/or managing or legal agents of each of the other defendants.

   26             8.   Plaintiff a one of se era! defi ndant in an action filed b Aecom Energ &
   27    onstruction, Inc. in the   nited tates Di tri t Court for th       ntral Di tri t of California,   ase
   28     o. 2: I 7-cv-05398-R WL-        hereafter the '· nderl ing    ction .. ). In or about May of 2018,

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                    Plaintiff hired     LG to repre ent him in th    nd rl ing    ction and defendant AL . the Individual

                2 Defendant and defendants DO              I- I00 thereafter repre ented Plaintiff in the    nderlying Action

                3 and pr        ided relat d legal ser ice and ad ice to Plaintiff.

                4              9.         Plaintiffs attorney, each defendant wa required to perform services for and

                5 pro id advice to Plaintiff with the rea onable care, kill. prudence. diligence. and fidelit a

                6 attorn y of ordi nary kill and capacity common! pas                 and exerci e in the performanc of the
                7 task which they undertake.

                8              10.     Plaintiff i in formed and belie e and bas d thereon alleges that d fondant, and

                9 each of them , failed to exerci e rea onable care, skill. prudence, diligence and/or fidelity in

               IO performing legal er ices for and in pro iding legal advi e to Plaintiff in the            nd rl ing   ction in

               11   that, among other thing , aid d fendant failed to adduc           vidence and/or legal argument in

               12 opp         ition to a motion for summary judgm nt filed by th plaintiff in the Under! ing Acti n.
               13              11.        a direct. pro, imate and legal re ult of ach defendant's br ach of the dut of

               14 care ow d to Plaintiff, Plaintiff ha      uffered damage in an amount that exceed the jurisdictional

               I 5 minimum of thi c urt and that include but are not limited to the imposition of a judgment again t

               16   Plaintiff in the    nderl ing   ction in exce   of I billion, attorney ·fies and cot that Plaintiff is

               17 and wa required to incur in ord r to remedy and/or mitigate the effect of the negligence of ach

               18    uch defendant and additional amounts. to be pro en at trial. that Plaintiff ould not ha e in urred

               19 but for the breach by each defendant of hi . her and/or it duty of care owed to Plaintiff.
               20 I I I

               21   ///

               22   III

               23   III

               24   ///

               25   ///

               26   III

               27   III

               28   ///

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_"""_,_,t_                                                            GES FOR LEG                 TICE
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                                  WHEREFORE, Plaintiff pray for judgm nt again t Defendants, and each of them. jointly

                   2 and e erally, a follow :

                   3              I.     F r comp n ato        damage in an amount ace rding to proof;

                   4              2.     F r co   t   of uit herein; and

                   5                     For uch other and further relief a the Court ma d mjust and proper.
                   6 DA TED:           ugu t 27 2020                   PARKER MILL LLP

                   7
                   8
                                                                       B
                   9                                                               Da id B. Parker
                                                                                   Mark . Graf
                  10                                                         ttorne for Plaintiff Gary Topole   ki
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  1 PARKER MILLS LLP
    David B. Parker (SBN 72192)
  2 parker@parkermillsllp.com
    Mark O. Suttle (SBN 146956)
  3 suttle@parkermillsllp.com
    800 W. 6th Street, Suite 500
  4 Los Angeles, California 90017
    Telephone: (213) 622-4441
  5 Facsimile: (213) 622-1444

  6 Attorneys for Claimant
    GARY TOPOLEWSKI
  7

  8                          ARBITRATION – SIGNATURE RESOLUTION

  9

 10 GARY TOPOLEWSKI                                        Ref. No.
 11                  Claimant,
      v.                                                   CLAIM FOR DAMAGES FOR LEGAL
 12                                                        MALPRACTICE
    ADLI LAW GROUP, A Professional
 13 Corporation; DARIUSH ADLI, an individual;
    JOSHUA EICHENSTEIN, an individual;
 14 DREW SHERMAN, an individual; and DOES
    1-100, inclusive,
 15
                   Respondents
 16                .
 17

 18             Claimant GARY TOPOLEWSKI alleges:
 19             1.   Claimant is informed and believes that Respondent ADLI LAW GROUP (“ALG”)
 20 is and at all material times was a law firm and a professional corporation, organized and existing

 21 under the laws of the State of California with its principal place of business in the County of Los

 22 Angeles, State of California.

 23             2.   Claimant is informed and believes Respondent DARIUSH ADLI is and at all
 24 material times was an individual residing in the County of Los Angeles, State of California, a

 25 practicing attorney and, on information and belief, a shareholder of Respondent ALG and an agent

 26 and/or employee of Respondent ALG practicing law in the course and scope of such agency

 27 and/or employment in the County of Los Angeles, State of California.

 28

      1936581                                          1
                                 CLAIM FOR DAMAGES FOR LEGAL MALPRACTICE
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  1             3.   Claimant is informed and believes that Respondent JOSHUA EICHENSTEIN is

  2 and/or at all material times was an individual residing in the County of Los Angeles, State of

  3 California, a practicing attorney and, on information and belief, an agent and/or employee of

  4 Respondent ALG practicing law in the course and scope of such agency and/or employment in the

  5 County of Los Angeles, State of California.

  6             4.   Claimant is informed and believes that Respondent DREW SHERMAN is and/or

  7 at all material times was an individual residing in the County of Los Angeles, State of California, a

  8 practicing attorney and, on information and belief, an agent and/or employee of Respondent ALG

  9 practicing law in the course and scope of such agency and/or employment in the County of Los

 10 Angeles, State of California.

 11             5.   Individual Respondents ADLI, EICHENSTEIN, and SHERMAN are collectively

 12 referred to hereafter as the “Individual Respondents.”

 13             6.   Claimant is presently without information and knowledge concerning the

 14 true names and capacities of the Respondents named as DOES 1 through 100, inclusive, and

 15 therefore sues these Respondents by such fictitious names. Claimant will amend his complaint to

 16 allege their true names and capacities when ascertained. Claimant is informed and believes and

 17 based thereon alleges that each fictitiously named Respondent was and is in some manner legally

 18 responsible for the events, breaches, and damages alleged in this Claim.

 19             7.   Claimant is informed and believes and based thereon alleges that at all relevant

 20 times each of the Respondents was the agent, supervisor, managing agent, principal, alter ego,

 21 employee, partner, director, officer, shareholder, parent company, subsidiary, member, manager,

 22 affiliate, joint venturer, surety or other legal representative of each of the other Respondents; that

 23 each Respondent was acting in such capacity and within the course and scope of such relationship

 24 with the full knowledge and consent of each of the other Respondents; that each Respondent’s

 25 conduct was undertaken with the prior knowledge and approval of such acts by each of the other

 26 Respondents; and that these acts and omissions were approved, authorized and/or ratified by the

 27 officers, directors, and/or managing or legal agents of each of the other Respondents.

 28

      1936581                                           2
                               CLAIM FOR DAMAGES FOR LEGAL MALPRACTICE
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  1             8.    Claimant was one of several defendants in an action filed by Aecom Energy &

  2 Construction, Inc. in the United States District Court for the Central District of California, Case

  3 No. 2:17-cv-05398-RSWL-SS (hereafter the “Underlying Action”). In or about May of 2018,

  4 Claimant hired ALG to represent him in the Underlying Action; and Respondent ALG, the

  5 Individual Respondents and Respondents DOES 1-100 thereafter represented Claimant in the

  6 Underlying Action and provided related legal services and advice to Claimant.

  7             9.    As Claimant’s attorney, each Respondent was required to perform services for and

  8 provide advice to Claimant with the reasonable care, skill, prudence, diligence, and fidelity as

  9 attorneys of ordinary skill and capacity commonly possess and exercise in the performance of the

 10 tasks which they undertake.

 11             10.   Claimant is informed and believes and based thereon alleges that Respondents, and

 12 each of them, failed to exercise reasonable care, skill, prudence, diligence and/or fidelity in

 13 performing legal services for and in providing legal advice to Claimant in the Underlying Action

 14 in that, among other things, said Respondents failed to adduce evidence and/or legal argument in

 15 opposition to a motion for summary judgment filed by the Claimant in the Underlying Action.

 16             11.   As a direct, proximate and legal result of each Respondent’s breach of the duty of

 17 care owed to Claimant, Claimant has suffered damages in an amount that exceeds the

 18 jurisdictional minimum of this court and that include but are not limited to the imposition of a

 19 judgment against Claimant in the Underlying Action in excess of $1 billion dollars, attorneys’

 20 fees, and costs; and additionally the attorneys’ fees and costs that Claimant is and was and will be

 21 required to incur in order to remedy and/or mitigate the effects of the negligence of each such

 22 Respondent, and additional amounts, to be proven at trial, that Claimant would not have incurred

 23 but for the breach by each Respondent of his, her and/or its duty of care owed to Claimant.

 24 / / /

 25 / / /

 26 / / /

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      1936581                                           3
                               CLAIM FOR DAMAGES FOR LEGAL MALPRACTICE
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  1             WHEREFORE, Claimant prays for judgment against Respondents, and each of them, jointly

  2 and severally, as follows:

  3             1.    For compensatory damages in an amount according to proof;

  4             2.    For costs of suit herein; and

  5             3.    For such other and further relief as the Arbitrator may deem just and proper.

  6 DATED: July 27, 2021                          PARKER MILLS LLP

  7

  8
                                                  By:
  9                                                            Mark O. Suttle
                                                        Attorneys for Claimant Gary Topolewski
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      1936581                                           4
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  1   Robin Offner, Esq. (SBN 155838)
      Karen B. King, Esq. (SBN 167568)
  2   OFFNER & KING LLP
      2411 Second Avenue
  3
      San Diego, California 92101
  4   Telephone:    (619) 702-2301

  5   Attorneys for STEVEN HELLINGS and THERESA HELLINGS

  6

  7

  8                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

  9                       COUNTY OF SAN DIEGO (CENTRAL DISTRICT)
 10    STEVEN HELLINGS, an individual, and                 Case No. 37-2020-00044516-CU-BT-CTL
       THERESA HELLINGS, an individual,
 11                                                        VERIFIED FIRST AMENDED
 12                         Plaintiffs,                    COMPLAINT FOR DAMAGES,
              v.                                           RESTITUTION AND DECLARATORY
 13                                                        AND OTHER RELIEF
       ANDREA RUTH BIRD aka ANDREA BIRD,
 14    an individual, JONATHAN STEPHEN
       LANDIS, an individual, DARREN                       Filed: December 4, 2020
 15    HABERMEHL, an individual, BIRD LAW                  Judge: Hon. Gregory W. Pollack
 16    GROUP, a California professional corporation,       Department: C-71
       ADLI LAW GROUP, a California professional           Trial Date:  Not set
 17    corporation, WALTON CHAN, an individual,
       SW VENTURES, LLC, a California limited
 18    liability company, and DOES 1 through 50,
       inclusive,
 19

 20                         Defendants.

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                                                       1
        VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES, RESTITUTION AND DECLARATORY AND
                                          OTHER RELIEF
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  3          A.          The Attorney Defendants ……………………………………………………55

  4          B.          The Non-Attorney Defendants ………………………………………………66

  5   II.                OVERVIEW ………………………………………………………………… 6

  6   III.               BACKGROUNDS FACTS …………………………………………………. 9

  7          A.          Hellings and Chan become partners in a new business venture
                         and retain Bird Law, Bird and Landis as their personal attorneys ………9
                                                                                             9
  8
                  1.     Hellings and Chan hired Bird, Landis and Bird Law as their personal
  9                      attorneys ………………………………………………………………………9                              9

 10               2.     Hellings and Chan create two business entities: SW Ventures and
                         WYS Consulting ……………………………………………………………..11                      .11
 11
             B.        Hellings invests, is owed and/or commits more than $3,000,000
 12                             Ventures.……………………………………………………………….11
                       into SW Ventures                                              11
 13               1. The Bird Law Attorneys represented Hellings and SW Ventures in
                     connection with negotiating a long-term lease for SW Ventures that
 14
                              Hellings’ personally guaranteeing rents in excess of $2,000,000……..
                     included Hellings'                                            $2,000,000     12
 15
                  2. Hellings loaned more than $300,000 to SW Ventures; SW Ventures
 16                  executed a secured promissory note for much of those loans and now
                     is in default of that promissory note …………………………………………….13         13
 17
                  3. Hellings is owed more than $400,000 in back wages …………………………..15
                                                                                  .15
 18
                  4. Hellings has a $400,000 capital investment in SW Ventures …………………..16
                                                                                       .16
 19
             C.          Bird becomes general counsel of SW Ventures and claims to have
 20                      acquired an equity interest in the company while continuing to
                         act as Hellings'
                                Hellings’ personal attorney ………………………………………..16         16
 21
                  1.     Bird became SW Ventures'
                                          Ventures’ general counsel without first obtaining
 22                      Hellings’ informed written consent or advising him that her duty of
                         Hellings'
                         undivided loyalty to him would be compromised by her new position ……16
                                                                                             16
 23
                  2.     Bird proposed that she exchange unbilled claimed attorneys'
                                                                          attorneys’ fees for
 24                      equity in SW Ventures and now claims to have acquired an
                         undocumented ownership interest in SW Ventures in exchange for
 25                      those unbilled fees …………………………………………………………17                         17

 26          D.          Bird continued to represent Hellings, individually, after becoming
                             Ventures’ general counsel ……………………………………………19
                         SW Ventures'                                                       19
 27

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  1      E.          Bird developed additional conflicts of interest vis-à-vis Hellings
                     by loaning money to SW Ventures pursuant to promissory notes
  2                  drafted by Bird that included terms unfavorable to Hellings and
                     SW Ventures .…………………………………………………………….. 19
  3
         F.         Hellings created and helped fund a potentially lucrative
  4                 business infrastructure, and brought potentially lucrative deals
                    to SW Ventures ……………………………………………………………22                         22
  5
              1.     At a cost of more than $1,000,000, Hellings created a working
  6                  infrastructure for SW Ventures and SW Ventures opened its doors
                     in March 2020 …………………………………………………………….22                        22
  7
              2.     Hellings presented Chan and Bird with a lucrative opportunity (or
  8                  opportunities) designed to infuse more than $2,000,000 into
                     SW Ventures ………………………………………………………………22                            22
  9
         G.        Bird and Chan, with the help of Landis, ADLI Law and Bird Law
 10                execute a plan to strip Hellings of his interest in SW Ventures for
                   their own personal financial gain
                                                 gain………………………………………......23           23
 11
              1.     Bird unsuccessfully attempted to convert SW Ventures from a
 12                  member-managed company to a manager-managed company, and to
                     have herself appointed as a manager ……………………………………. 23
 13
              2.     Immediately after her failed attempt to convert SW Ventures to a
 14
                     manager-managed company, Bird usurped control of the company
 15                                                   “investigation” into Hellings
                     and announced an unauthorized "investigation"         Hellings…………. 26

 16           3.     While continuing to cause Hellings to believe that they were his
                     attorneys, Bird, Landis, Bird Law and ADLI Law interviewed Hellings
 17                  without first responding to his request as to whether he should consult
                                   counsel………………………………………………………28
                     independent counsel                                                     28
 18
              4.     Bird improperly noticed a meeting of SW Ventures'
                                                             Ventures’ (illegitimate)
 19
                     board of managers at which she attempted to remove Hellings as an
 20                  officer and employee of SW Ventures and misrepresented to Hellings
                     the purpose of that meeting …………………………………………….. 30
 21
              5.            Hellings’ objection, Chan and Bird ineffectively voted to
                     Over Hellings'
 22                  remove Hellings as SW Ventures'
                                               Ventures’ president and employee and from
                     the (illegitimate) board of managers; no vote was had to expel
 23
                     Hellings from SW Ventures
                                         Ventures……………………………………………..32                   .32
 24
              6.     Bird claims that Chan unilaterally determined to expel Hellings from
 25                  SW Ventures ……………………………………………………………33                                33

 26           7.     Bird, Chan, Landis, ADLI Law and Bird Law hold a secret meeting to
                             Chan’s claimed expulsion of Hellings and to appoint Chan as
                     confirm Chan's
 27
                     SW Ventures'
                         Ventures’ chief executive officer …………………………………..33             .33
 28
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  1      H.         After claiming to have expelled Hellings from SW Ventures, Bird and
                    Chan (1) blocked Hellings from access to SW Ventures'
                                                                   Ventures’ affairs,
  2                 (2) attempted to capitalize on the lucrative potential deal with NewTropic
                    that Hellings had brought to SW Ventures, (3) failed to pay either
  3                 Hellings or Theresa the wages they are owed, and (4) caused
                    substantial damages to Hellings and SW Ventures ………………………. 34
  4
          I.        Chan begins self-dealing with SW Ventures'
                                                     Ventures’ assets to pay his personal
  5                 expenses ……………………………………………………………………… 35

  6      J.         Habermehl claims to have an ownership interest in SW Ventures ……….36
                                                                                      36

  7      K.         Landis, ADLI Law and Chan manipulate the public record regarding
                        Ventures’ and WYS Consulting’s
                    SW Ventures'              Consulting's ownership to create a false record
  8                 suggesting that Chan has the authority to sell SW Ventures'
                                                                      Ventures’ assets
                    and lie to Hellings to conceal that activity…………………………………
                                                        activity                              37
  9
         L.         Once Chan and Bird took complete control over SW Ventures, they
 10                 engaged in business deals violating California law and SW Ventures'
                                                                              Ventures’
                    conditional use permit ..…………………………………………………..….38                  38
 11
         M.         Landis, ADLI Law, Bird, Bird Law and Chan employ misrepresentations,
 12                 threats and stall tactics
                                      tactics………………………………………………………38                   38

 13            1.     Landis, ADLI Law, Bird and Bird Law admit to conflicts of interests
                      and that they did not obtain a conflict of interest waiver …………………..38
                                                                                          .38
 14
               2.     Landis, ADLI Law, Bird and Bird Law falsely claimed that Bird, Landis
 15
                      and Bird Law never represented Hellings ………………………………….39              39
 16
               3.     Landis and ADLI Law threaten criminal, administrative and/or
 17                   disciplinary charges to obtain an advantage in a civil dispute against
                      Hellings in violation of California Rule of Professional Conduct 3.10 …… 40
 18
               4.     Landis, Bird, ADLI Law, Chan and SW Ventures induced Plaintiffs to
 19
                      delay filing the instant action by promising to provide documentation
 20                                                            Hellings’ interest in SW Ventures
                      supporting the purported termination of Hellings'
                      only to fail to provide any such documentation…………………………….
                                                        documentation                            41
 21
               5.     Bird, Landis and ADLI Law provided a detailed verbal report that
 22                   confirmed that there was no basis to oust Hellings from SW Ventures
                                                                                 Ventures……..42
                                                                                            .42

 23      N.         Hellings advanced $105,000 to SW Ventures to repay Pierre-Louis; after
                    wrongfully purporting to expel Hellings from SW Ventures, Bird and Chan
 24                 recouped Hellings'
                              Hellings’ money but refused to return it to
                    Hellings…………………………………………………………………………45
                    Hellings                                                               45
 25
         O.         SW Ventures and Chan agree that Hellings was improperly ousted from
 26                 SW Ventures but continue to refuse to allow Hellings necessary access
                          Ventures’ records and facility
                    to SW Ventures'             facility………………………………………..46               .46
 27

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  1          Plaintiffs, STEVEN HELLINGS and THERESA HELLINGS, complain and allege:

  2                                                     I.

  3                                             THE PARTIES

  4          1.      Plaintiff STEVEN HELLINGS (hereinafter "Hellings")
                                                            “Hellings”) has at all relevant times been

  5   an individual residing in the State of California, County of Orange, and the husband of Plaintiff,

  6   THERESA HELLINGS.

  7          2.                                              “Theresa”) has at all relevant times
                     Plaintiff THERESA HELLINGS (hereinafter "Theresa")

  8   been an individual residing in the State of California, County of Orange, and is the wife of Hellings.

  9   A.     The Attorney Defendants.

 10          3.      Plaintiffs are informed and believe and thereon allege that Defendant BIRD LAW

 11                      “Bird Law”)
      GROUP (hereinafter "Bird Law") has at all relevant times been a California professional

 12   corporation engaged in the practice of law with its principal place of business in Orange County,

 13   California.

 14          4.      Plaintiffs are informed and believe and thereon allege that Defendant ANDREA

 15                          “Bird”) has at all relevant times been an individual residing in the State
      RUTH BIRD (hereinafter "Bird")

 16   of California, County of Orange, an attorney licensed to practice law in the State of California, an

 17   officer, director and employee of Bird Law, and, since in or about September 2019, claimed to be

 18   general counsel for Defendant SW VENTURES, LLC. Bird also claims to be an owner of SW

 19   VENTURES, LLC. Plaintiffs are informed and believe and thereon allege that, at all relevant

 20   times, Bird has also been known as ANDREA BIRD-STEINER.

 21          5.      Plaintiffs are informed and believe and thereon allege that Defendant JONATHAN

 22   STEPHEN LANDIS (hereinafter "Landis")
                                  “Landis”) has at all relevant times been an individual residing in

 23   the State of California, County of Orange, and an attorney licensed to practice law in the State of

 24   California. Plaintiffs are informed and believe and thereon allege that Landis is and/or was an

 25   officer, director and/or employee of Bird Law and, since at least 2019, has been an officer, director,

 26   employee and/or agent acting as Senior Counsel of Defendant ADLI LAW GROUP.

 27          6.      Plaintiffs are informed and believe and thereon allege that Defendant ADLI LAW

 28                      “ADLI Law")
      GROUP (hereinafter "ADLI Law”) is a California professional corporation engaged in the practice
                                               5
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                                          OTHER RELIEF
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  1   of law with its principal place of business in the State of California, County of Los Angeles.

  2   B.       The Non-Attorney Defendants.

  3            7.    Plaintiffs are informed and believe and thereon allege that Defendant SW

  4   VENTURES, LLC (hereinafter "SW
                                 “SW Ventures")
                                     Ventures”) has at all relevant times since its formation been a

  5   California limited liability company and is registered with the California Secretary of State with a

  6   principal business address of 6755 Mira Mesa Boulevard, Suite 123-106, San Diego, California

  7   92121.

  8            8.    Plaintiffs are informed and believe and thereon allege that Defendant WALTON

  9                     “Chan”) has at all relevant times been an individual residing in the State of
      CHAN (hereinafter "Chan")

 10   California, County of San Diego, has been an officer, director and/or employee of SW Ventures

 11   since its formation and presently is a member of SW Ventures, either directly or through WYS

 12   Consulting, LLC

 13            9.    Plaintiffs are informed and believe and thereon allege that Defendant DARREN

 14                          “Habermehl”) has at all relevant times been an individual residing in
      HABERMEHL (hereinafter "Habermehl")

 15   the State of California, County of Orange.

 16            10.   Plaintiffs are ignorant of the true names and capacities of the defendants sued herein

 17   as DOES 1 through 50, and therefore sue these defendants by such fictitious names. Plaintiffs will

 18   amend the complaint to allege their true names and capacities when ascertained.

 19            11.   Plaintiffs are informed and believe and thereon allege that at all times herein

 20   mentioned, each of the defendants was the agent and/or employee of each of the remaining

 21   defendants and that, in doing the things herein alleged, each defendant was acting within the course

 22   and scope of their agency and/or employment.

 23                                                    II.

 24                                                OVERVIEW

 25            12.   This case involves Plaintiff Hellings'
                                                  Hellings’ own attorneys and business partner wrongfully

 26   attempting to strip him of his interest in a business in which he was an owner and substantial

 27   investor, and which business owes Hellings hundreds of thousands of dollars. Hellings invested in,

 28   and was an employee, officer and owner, whether directly or indirectly, of SW Ventures, a
                                                  6
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  1   company in the cannabis industry that was created by Hellings and his business partner, Chan.

  2           13.    Much of the wrongful conduct alleged herein was perpetrated by Hellings'
                                                                                    Hellings’ own

  3   attorneys, Bird, Landis and Bird Law, whom Hellings and Chan hired as their personal attorneys.

  4           14.    Bird was the ringleader. Bird engaged in a series of transactions which gave rise to

  5   numerous actual conflicts of interests vis-a-vis Hellings, including becoming a creditor of SW

  6   Ventures and claiming to hold an undocumented ownership interest in the company. Bird was

  7   Hellings’ attorney at the time she engaged in these transactions. Bird never obtained informed
      Hellings'

  8   written consent or a conflict of interest waiver from Hellings; nor did she advise Hellings to obtain

  9   independent counsel before engaging in the transactions giving rise to her various conflicts of

 10   interest.

 11           15.    After becoming financially entangled in SW Ventures and developing actual

 12   financial conflicts of interest vis-a-vis Hellings, Bird orchestrated a scheme to expel Hellings from

 13   SW Ventures for her own pecuniary gain. That scheme included:

 14                  a. Unsuccessfully attempting to convert SW Ventures from a member-managed

 15                      company to a manager-managed company;

 16                  b. Having herself appointed to SW Ventures'
                                                       Ventures’ invalid board of managers so that she

 17                      could purport to expel Hellings from SW Ventures;

 18                  a. Insisting that Hellings submit to an interview by Bird, Landis, ADLI Law and

 19                      Bird Law, taking steps to cause Hellings to believe they were acting as his

 20                      attorneys in order to coerce him to submit to that interview, taking steps to

 21                      prevent Hellings from seeking independent counsel before submitting to the

 22                      interview, and then using the fruits of that interview as the purported basis to

 23                      purport to expel Hellings from SW Ventures;

 24                  b. Deceiving Hellings in order to induce him to attend an improperly noticed

 25                      meeting of SW Ventures'
                                       Ventures’ invalid board of managers at which Bird claims to

 26                                      Hellings’ positions with SW Ventures;
                         have terminated Hellings'

 27                  c. Declaring that Chan unilaterally expelled Hellings from SW Ventures; and

 28                  d. Then blocking Hellings from access to the business which he owned and refusing
                                               7
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  1                       to provide him with his client files.

  2           16.    Landis, ADLI Law, Chan, Bird Law and Habermehl actively participated in Bird's
                                                                                             Bird’s

  3   scheme to expel Hellings from SW Ventures.

  4           17.    Landis and ADLI Law subsequently represented parties directly adverse to Hellings,

  5   including Bird and Chan, in a matter substantially related to the matter in which Hellings had

  6   retained Landis as his personal attorney.

  7           18.                   Hellings’ access to SW Ventures'
                     After blocking Hellings'              Ventures’ business affairs, Chan used SW

  8   Ventures’ funds for his own personal benefit, including, upon information and belief, causing SW
      Ventures'

  9   Ventures to take out one or more loans and using such loan funds to, inter alia, pay his personal

 10   credit card debt.

 11           19.    After improperly ousting Hellings, Chan, Landis and, upon information and belief,

 12   ADLI Law manipulated the public record by omitting Hellings as a member of WYS Consulting in

 13   a Statement of Information filed with the California Secretary of Sate in order to give the false

 14   impression that Chan had the authority to transact in SW Ventures'
                                                               Ventures’ assets in that WYS Consulting

 15   was listed with the California Secretary of State as SW Ventures'
                                                              Ventures’ sole member.

 16           20.    After filing the false Statement of Information with the California Secretary of State,

 17   Chan, Landis, ADLI Law and Bird attempted to conceal that false filing from Hellings by advising

 18                                 “now defunct"
      him that WYS Consulting was a "now defunct” company.

 19           21.    Plaintiffs are informed and believe that, after creating a false public record

 20   suggesting that Chan solely controlled SW Ventures'
                                                Ventures’ assets, Chan made efforts to sell SW

 21   Ventures’ assets for his own personal benefit without informing Hellings.
      Ventures'

 22           22.    After improperly purporting to oust Hellings from SW Ventures, Plaintiffs are

 23   informed and believe and thereon allege that Chan, Bird and Habermehl allowed commercial

 24   activity to be conducted at SW Ventures'
                                     Ventures’ facility that violated California law and the terms of SW

 25   Ventures’ conditional use permit and put SW Ventures'
      Ventures'                                   Ventures’ valuable commercial cannabis license at

 26   risk.

 27           23.    Since the filing of their initial verified complaint, Plaintiffs have become aware of

 28   additional material facts that bear on their claims and therefore file this First Amended Verified
                                               8
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  1   Complaint. One such material fact is that SW Ventures and Chan have acknowledged in writing

  2   that the purported ouster of Hellings from SW Ventures was improper and ineffective.

  3          24.     Although Chan and SW Ventures have admitted that Chan's
                                                                      Chan’s and Bird's
                                                                                 Bird’s purported

  4   ouster of Hellings was invalid, Chan continues to assert sole and unbridled control over SW

  5   Ventures and Chan continues to deny Hellings his rights as the president and as a member, whether

  6   directly or indirectly, of SW Ventures, including refusing to provide Hellings access to SW

  7   Ventures’ records and facility. Chan's
      Ventures'                       Chan’s continued failure to provide Hellings such access has put

  8                        Hellings’ and SW Ventures'
      and continues to put Hellings'        Ventures’ interests in jeopardy in that, inter alia, Hellings is

  9   informed and believes that Chan is allowing SW Ventures'
                                                     Ventures’ facility and valuable commercial

 10   cannabis license to be used illegally and without appropriate monetary benefit to SW Ventures.

 11          25.     As a result of Defendants'
                                    Defendants’ conduct as alleged herein, Hellings has been damaged in a

 12   sum in excess of $3,000,000.

 13                                                    III.

 14                                         BACKGROUND FACTS

 15   A.   Hellings and Chan become partners in a new business venture and retain Bird Law, Bird
           and Landis as their personal attorneys.
 16

 17          1.      Hellings and Chan hired Bird, Landis and Bird Law as their personal attorneys.

 18          26.     Hellings and Chan decided to become partners in a new business venture in the

 19   cannabis industry in or about 2017.

 20          27.     In or about April 2018, Hellings and Chan formally retained Bird Law, Bird and

 21   Landis as their personal attorneys to help them in a specific transaction (that eventually was

 22   abandoned) and to provide general legal advice and services. Bird Law, Bird and Landis are at

 23   times collectively referred to herein as the "Bird
                                                   “Bird Law Attorneys."
                                                             Attorneys.”

 24          28.     The Bird Law Attorneys'
                                  Attorneys’ representation of Hellings was formalized in a written

 25   engagement agreement that Bird emailed to Hellings on or about April 13, 2018 under the subject

 26   line "2018-04-12
           “2018-04-12 Engagement Agreement (Chan-Hellings) between Andrea Bird and Steven

 27   Hellings is Signed and Filed!"
                             Filed!” (hereinafter the "Hellings/Bird
                                                      “Hellings/Bird Law Engagement Agreement").
                                                                                    Agreement”).

 28          29.     The Hellings/Bird Law Engagement Agreement made clear that Hellings and Chan
                                               9
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  1   retained the Bird Law Attorneys in their individual capacities:

  2                                     (“Attorney”), on one hand, and Walton Chan and Steve Hellings,
             BIRD LAW GROUP, PC ("Attorney"),
                                (“Client”), hereby agree that Attorney will provide legal services to Client
             on the other hand ("Client"),
  3          on the terms set forth below.

  4          30.     Hellings and Chan are the only clients defined by the Hellings/Bird Law

  5   Engagement Agreement.
  6          31.     The Hellings/Bird Law Engagement Agreement provided both a specific and broad

  7   scope of ongoing services for the Bird Law Attorneys'
                                                 Attorneys’ engagement:
  8          2. SCOPE OF SERVICES. Client hires Attorney to provide legal services in the
             following matter(s): (1) draft Letter of Intent ("LOI")
                                                             (“LOI”) from Client to potential
  9          investment and assist with due diligence regarding potential investment ("PMG
                                                                                       (“PMG LLC
             Transaction”);
             Transaction"); (2) negotiation and drafting of LLC agreement in furtherance of PMG
 10          LLC Transaction, if necessary; (3) hold Client funds in escrow in client trust account
             in furtherance of PMG LLC Transaction; and (4) provision of additional general
 11          counsel legal advice as needed, including but not limited to, other contract drafting,
             negotiation, and review, cannabis law advice, employment law advice, intellectual
 12          property advice, regulatory compliance, and advertisement review.

 13          32.     The Hellings/Bird Law Engagement Agreement included signature lines for Bird
 14   Law in the names of both Bird and Landis.

 15          33.     The Bird Law Attorneys subsequently provided legal services and advice to Hellings

 16   pursuant to the Hellings/Bird Law Engagement Agreement and continued to maintain an

 17   attorney/client relationship with Hellings through in or about June 2020.

 18          34.     The Bird Law Attorneys never informed Hellings in writing that their representation

 19   of him had terminated.

 20          35.     Hellings never executed any written modification to the Hellings/Bird Law

 21   Engagement Agreement.
 22          36.     Hellings never executed any informed written consent or conflict of interest waiver

 23   to allow any of the Bird Law Attorneys to take positions, or represent parties, adverse to him.

 24          37.     Plaintiffs are informed and believe and thereon allege that, in or about 2019, Landis

 25   began working for ADLI Law in the capacity of ADLI Law’s
                                                         Law's Senior Counsel. Landis’
                                                                               Landis' fiduciary

 26   duties including, inter alia, his duty of undivided loyalty, his duty to maintain client confidentiality

 27   and his duty not to represent another person's
                                            person’s interests in the same or a substantially related matter

 28                 person’s interests are materially adverse to Hellings are imputed to ADLI Law.
      in which that person's
                                              10
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  1            38.   Landis continued to provide legal services and advice to Hellings after joining ADLI

  2   Law. Hellings never executed any informed written consent or conflict of interest waiver allowing

  3   Landis or ADLI Law to take positions, or represent parties, adverse to him.

  4            2.    Hellings and Chan create two business entities: SW Ventures and WYS Consulting.

  5            39.   Chan and Hellings caused the creation of SW Ventures, which was registered with

  6   the California Secretary of State as a member-managed limited liability company on April 23, 2018.

  7            40.   On May 1, 2018, Landis and Bird Law Group signed and caused to be filed Articles

  8   of Organization with the California Secretary of State for WYS Consulting, LLC (hereinafter

  9   “WYS Consulting").
      "WYS Consulting”). As reflected in the Articles of Organization filed with the California Secretary

 10   of State on May 1, 2018, WYS Consulting was a member managed limited liability company with

 11   Hellings and Chan as its two members. Hellings owns at least forty percent (40%) of WYS

 12   Consulting. WYS Consulting never had an operating agreement.

 13            41.   At all relevant times, Hellings has been president of SW Ventures and a member of

 14   the company, either directly or through WYS Consulting. Hellings has not been permitted to

 15   perform his functions as SW Ventures'
                                  Ventures’ president from June 24, 2020 through, at least, the filing of

 16   this Verified First Amended Complaint.

 17            42.   At all relevant times, Chan has been chief financial officer of SW Ventures and a

 18   member of the company, either directly or through WYS Consulting.

 19            43.   Neither WYS Consulting nor SW Ventures ever had a valid operating agreement.

 20   B.       Hellings invests, is owed and/or commits more than $3,000,000 into SW Ventures.

 21            44.   Hellings made a series of investments in, and financial commitments to, SW

 22   Ventures that exceeded $3,000,000. These investments and commitments included executing a

 23   personal guaranty for a commercial lease for the newly-formed SW Ventures, loaning hundreds of

 24   thousands of dollars to the company and investing hundreds of thousands of dollars in the company.

 25            45.   The SW Ventures and WYS Consulting tax returns and/or financial records prepared

 26   by Chan in conjunction with Chan's
                                  Chan’s accountant reflected that Hellings'
                                                                   Hellings’ loans and capital

 27   contributions as of the end of 2019 were in excess of $900,000.

 28   ////
                                                 11
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  1          1.      The Bird Law Attorneys represented Hellings and SW Ventures in connection with
                     negotiating a long-term lease for SW Ventures that included Hellings'
                                                                                 Hellings’ personally
  2                  guaranteeing rents in excess of $2,000,000.

  3          46.     Shortly after being engaged by Hellings and Chan, Bird Law and Bird and/or Landis

  4   represented Hellings and SW Ventures in connection with negotiating a lease for a commercial

  5   facility for SW Ventures (the "SW
                                    “SW Ventures Lease”).
                                                 Lease").

  6          47.     Although (a) the Hellings/Bird Law Engagement Agreement identified only Hellings

  7   and Chan as the Bird Law Attorneys'
                               Attorneys’ clients, (b) the Hellings/Bird Law Engagement Agreement

  8   made no mention of SW Ventures, and (c) SW Ventures never executed any engagement agreement

  9   with Bird Law, Bird, Landis and/or ADLI Law at any time before Hellings was improperly ousted

 10   from SW Ventures on or about June 25, 2020, the Bird Law Attorneys now assert that they at all

 11   times were representing and acting on behalf of SW Ventures, and not Hellings, including, inter

 12   alia, at the time they represented Hellings and SW Ventures in connection with negotiating the SW

 13   Ventures Lease.

 14          48.     In fact, the Bird Law Attorneys were Hellings'
                                                          Hellings’ attorneys at the time they advised

 15   Hellings in connection with negotiating the SW Ventures Lease.

 16          49.     The SW Ventures Lease had a term of approximately seven (7) years and three (3)

 17   months and required payment of a monthly base rent of $26,917.50, for a total in excess of

 18   $2,000,000 in base rent alone. The SW Ventures Lease also included a personal guarantee

 19   subjecting Hellings to potential personal liability in excess of $2,000,000.

 20          50.     An attorney exercising the skill, prudence and diligence that members of the legal

 21   profession commonly possess and exercise would have advised Hellings of the perils of personally

 22   guaranteeing such a long-term and costly lease for a fledgling business on the terms set forth in that

 23   personal guarantee; however, none of the Bird Law Attorneys advised Hellings of any such perils.

 24          51.     To the extent that the Bird Law Attorneys were representing SW Ventures'
                                                                                    Ventures’ interests,

 25   as claimed by Landis and Bird, at the time they advised Hellings in connection with negotiating the

 26   SW Ventures Lease and the personal guarantee that Hellings signed:

 27                  a.      (1) Such representation was directly adverse to Hellings, and/or (2) entailed a

 28   significant risk that the Bird Law Attorneys'
                                         Attorneys’ representation would be materially limited by their
                                              12
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  1   responsibilities to, or relationship with, Hellings, and (3) the Bird Law Attorneys had a legal and/or

  2   professional relationship with, and responsibility to, Hellings in connection with such lease;

  3                  b.      The Bird Law Attorneys had a duty to communicate and explain to Hellings

  4   in writing the relevant circumstances and the material risks, including any actual and reasonably

  5   foreseeable adverse consequences of their proposed course of conduct; however, the Bird Law

  6   Attorneys failed to do so;

  7                  c.      The Bird Law Attorneys had a duty to obtain Hellings'
                                                                         Hellings’ informed written

  8   consent and/or written conflict of interest waiver with respect to their concurrently representing

  9   SW Ventures and Hellings; however, the Bird Law Attorneys failed to do so; and

 10                  d.      Plaintiffs are informed and believe and thereon allege that the Bird Law

 11   Attorneys did not reasonably believe that they would be able to provide competent and diligent

 12   representation to each affected client.

 13          2.      Hellings loaned more than $300,000 to SW Ventures; SW Ventures executed a
                     secured promissory note for much of those loans and now is in default of that
 14                  promissory note.

 15          52.     Hellings made a series of loans to SW Ventures that exceeded the principal sum of

 16   $300,000.

 17          53.     Bird Law and Bird and/or Landis drafted separate secured promissory notes for

 18                             “Hellings Note")
      Hellings (hereinafter the "Hellings Note”) and Chan to cover the monies that Hellings and Chan,

 19   respectively, loaned to SW Ventures.

 20          54.     The Hellings Note contains the following relevant terms:

 21                  a.      The entire outstanding principal balance and unpaid interest thereon

 22                          became due and payable on September 1, 2019;

 23                  b.      Interest and principal on all amounts outstanding from time to time would

 24                          accrue interest at the rate of sixty percent (60%) per annum, compounded

 25                          annually, from each date of disbursement;

 26                  c.      During the pendency of any default, and from and after the September 1,

 27                          2019 maturity date, interest would accrue on the amount of the unpaid

 28                          principal balance at a rate equal to "twenty
                                                                  “twenty percent (5%)"
                                                                                  (5%)” [sic] in excess of
                                              13
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  1                        the sixty percent (60%) per annum rate that would otherwise be in effect, but

  2                        not to exceed the maximum amount permitted by law, and the note would be

  3                        payable on demand;

  4                 d.     The note was secured by the following assets held by SW Ventures: Pinnacle

  5                        extraction system, including but not limited to the alcohol extraction skid;

  6                        heat exchangers; solvent recovery skid; Chemtech KD 30 pilot plant with

  7                        decarb vessels; all product and goods inventory;

  8                 e.     SW Ventures waived diligence, presentment for payment, demand, protest,

  9                        notice of nonpayment, notice of dishonor, notice of protest, and any and all

 10                        other notices and demands whatsoever, and agreed to remain bound until all

 11                        principal and interest was paid in full, notwithstanding any extensions or

 12                        renewals granted with respect to the note or the release of any party liable

 13                        thereunder;

 14                 f.     SW Ventures'
                              Ventures’ failure to timely pay any amount due would constitute a

 15                        default and, upon such default, Hellings, at his option, could declare

 16                        immediately due and payable the entire unpaid principal balance together

 17                        with all interest plus any other sums owing at such time pursuant to the terms

 18                         of the note;

 19                 h.     SW Ventures consented to the exclusive jurisdiction of the San Diego County

 20                        Superior Court for any action arising out of the note; and

 21                 g.
                    g.     Hellings could, but was not required to, secure the Hellings Note by filing a

 22                        UCC-1.

 23          55.    Hellings has filed a UCC-1.

 24          56.    Chan, Hellings and an individual named Michael Stewart executed the Hellings Note

 25   on behalf of SW Ventures.

 26          57.    On or about March 28, 2020, Chan, in his capacity as SW Ventures'
                                                                            Ventures’ chief financial

 27   officer, provided Hellings a written ledger in which Chan set forth amounts Chan stated were owed

 28   by SW Ventures to Hellings pursuant to the Hellings Note, and the dates such amounts were loaned
                                              14
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  1   by Hellings.

  2          58.     The ledger SW Ventures and Chan, in Chan's
                                                         Chan’s capacity as SW Ventures'
                                                                               Ventures’ chief

  3   financial officer, sent to Hellings on or about March 28, 2020 included the following entries

  4   reflecting loans from Hellings in the principal sum of at least $199,356:

  5                  April 19, 2019:        $100,000
                     May 20, 2019:          $40,000
  6                  May 23, 2019:          $17,250
                     July 31, 2019:         $16,000
  7                  August 13, 2019:       $7,500
                     August 23, 2019:       $5,000
  8                  September 4, 2019:     $4,451
                     September 15, 2019:    $4,155
  9                  October 7, 2019:       $5,000
                     Total:                 $199,356
 10

 11          59.     Hellings did in fact make the foregoing loans to SW Ventures; in fact, Hellings

 12   loaned an aggregate of more than $300,000 to SW Ventures.

 13          60.     SW Ventures has not repaid any portion of the sums Hellings loaned to SW Ventures

 14   pursuant to the Hellings Note and is in default.

 15          3.      Hellings is owed more than $400,000 in back wages.

 16          61.     At or about the time that SW Ventures was formed, Chan and Hellings met to

 17   discuss certain financial arrangements between them. Also present for this and other related

 18   discussions was the principal of PMG Enterprises, Inc. ("PMG"),
                                                             (“PMG”), Michael Stewart (hereinafter

 19   “Stewart”). At the time of these discussions, Chan, Hellings and Stewart contemplated that PMG
      "Stewart").

 20   would be a member of SW Ventures; thus, Stewart participated in meetings related to SW

 21   Ventures’ operations and financial dealings.
      Ventures'

 22          62.      In that both Chan and Stewart were intending on working other jobs while Hellings

 23   would be devoting himself full-time to SW Ventures, Chan and Hellings expressly agreed that

 24   Hellings would be paid a salary of $180,000 per year. Hellings agreed to defer payment of such

 25   salary and have his accrued salary paid in the future. Thus, Chan and Hellings agreed that Hellings'
                                                                                                 Hellings’

 26   accrued salary would be paid to him as the first monies out before any returns of capital or loans

 27   would be repaid such that there would be no repayment of any loans made by Chan or others until

 28   such time as Hellings received his accrued pay.
                                              15
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  1           63.     Subsequently, Chan and Hellings agreed that Hellings would be paid based on a rate

  2   of $90 an hour rather than a fixed annual salary.

  3           64.     In his capacity as SW Ventures'
                                            Ventures’ chief financial officer, Chan agreed that, as of

  4   December 31, 2019, Hellings was owed $400,000 in back pay.

  5           65.     SW Ventures actually began paying Hellings in or about January 1, 2020. Hellings

  6   agreed that he would be paid a rate based on a salary of $150,000 per year beginning on January 1,

  7   2020, with the balance of his salary deferred and accruing. SW Ventures paid some, but not all, of

  8   Hellings’ salary after January 1, 2020.
      Hellings'

  9           66.     Theresa also worked for SW Ventures and is owed at least approximately $3,320.00

 10   in unpaid wages.

 11           4.      Hellings has a $400,000 capital investment in SW Ventures.

 12           67.     Hellings made capital investments in SW Ventures and/or WYS Consulting that

 13   were recorded in SW Ventures'
                          Ventures’ records in the amount of $400,000.

 14   C.      Bird becomes general counsel of SW Ventures and claims to have acquired an equity
              interest in the company while continuing to act as Hellings’
                                                                 Hellings' personal attorney.
 15

 16           68.     Bird became SW Ventures'
                                     Ventures’ general counsel and, in so doing, developed multiple

 17   conflicts of interest vis-a-vis Hellings.

 18           1.      Bird became SW Ventures'
                                       Ventures’ general counsel without first obtaining Hellings'
                                                                                         Hellings’
                      informed written consent or advising him that her duty of undivided loyalty to him
 19                   would be compromised by her new position.

 20           69.     Bird proposed that she become SW Ventures'
                                                       Ventures’ general counsel, and did become SW

 21   Ventures’ general counsel, in or about September 2019.
      Ventures'

 22           70.     At the time Bird became SW Ventures'
                                                 Ventures’ general counsel, Bird had a legal and/or

 23   professional relationship with, and responsibility to, Hellings.

 24           2.      Bird’s representation of SW Ventures as its general counsel (a) violated Bird's
                      Bird's                                                                   Bird’s duty

 25   of undivided loyalty to Hellings, (b) was directly or potentially adverse to Hellings, and/or (c)

 26   entailed a significant risk that Bird's
                                       Bird’s representation would be materially limited by her

 27   responsibilities to or relationship with Hellings.

 28           71.     Bird had a duty to communicate and explain to Hellings in writing the relevant
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  1   circumstances and the material risks, including any actual and reasonably foreseeable adverse

  2   consequences of her proposed course of conduct, and including the fact that her duty of undivided

  3   loyalty to Hellings could be compromised by her concurrent duty of loyalty to SW Ventures;

  4   however, she failed to do so.

  5          72.     Bird had a duty to obtain Hellings'
                                               Hellings’ informed written consent and/or written conflict

  6   of interest waiver; however, she failed to do so.

  7          73.     Bird had a duty to advise Hellings to seek independent counsel before becoming SW

  8   Ventures’ general counsel while concurrently representing Hellings, however, she failed to do so.
      Ventures'

  9          74.     Plaintiffs are informed and believe and thereon allege that Bird did not reasonably

 10   believe that she would be able to provide competent and diligent representation to each affected

 11   client upon becoming SW Ventures'
                              Ventures’ general counsel.

 12          2.      Bird proposed that she exchange unbilled claimed attorneys'
                                                                      attorneys’ fees for equity in SW
                     Ventures and now claims to have acquired an undocumented ownership interest in
 13                  SW Ventures in exchange for those unbilled fees.

 14          75.     In connection with Bird's
                                        Bird’s becoming SW Ventures'
                                                           Ventures’ general counsel, Bird proposed

 15   that she acquire an ownership interest in SW Ventures in exchange for legal fees that Bird claimed

 16   she was owed for services previously provided by Bird, Landis and/or Bird Law.

 17          76.     Neither Bird, Landis nor Bird Law ever provided SW Ventures or Hellings with any

 18   invoice for the legal services that Bird claimed had been rendered and for which Bird sought to

 19   exchange for an ownership interest in SW Ventures.

 20          77.     Neither SW Ventures nor Hellings ever executed any document conferring upon

 21   Bird any ownership interest in SW Ventures; Bird nevertheless has asserted that she owns, and/or

 22   has the right to own, an interest in SW Ventures as compensation for her purported unbilled legal

 23   services.

 24          78.     Bird presently is claiming to be a member of SW Ventures and, upon information

 25   and belief, continues to claim an ability to assert control over its business and management with the

 26   full rights of a member.

 27          79.     Bird is not, and never has been, a member of SW Ventures.

 28          80.                  Bird’s claiming to have acquired an ownership interest in SW Ventures:
                     By virtue of Bird's
                                              17
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  1   (a) it was reasonably foreseeable that Bird's
                                             Bird’s interests would be detrimental to Hellings'
                                                                                      Hellings’ interests;

  2                                                              Hellings’ personal ownership and
      and (b) Bird knowingly had a pecuniary interest adverse to Hellings'

  3   pecuniary interest in SW Ventures.

  4           81.        To the extent Bird was seeking to have an ownership interest in SW Ventures, Bird

  5   had a duty to ensure that the terms of the transaction by which she sought to obtain such ownership

  6   interest were fair and reasonable to Hellings; however, the terms Bird proposed (and now claims

  7   conferred upon her an ownership interest in SW Ventures) were neither fair nor reasonable to

  8   Hellings.

  9           82.        Bird had a duty to fully disclose to Hellings in writing the terms of the transaction

 10   through which she proposed to obtain and/or claimed to have obtained an ownership interest in SW

 11                 Bird’s role in such transaction, in a manner that should reasonably have been
      Ventures, and Bird's

 12   understood by Hellings; however, Bird failed to do so.

 13           83.        Bird had a duty to advise Hellings in writing to seek the advice of independent

 14   counsel of his choosing, and to give him a reasonable opportunity to seek such advice, prior to

 15   claiming to have obtained an ownership interest in SW Ventures; however, Bird failed to do so.

 16           84.        Hellings was not represented by independent counsel of his choice in the transaction

 17   through which Bird claims to have obtained an ownership interest in SW Ventures.

 18           85.        Bird had a duty to communicate and explain to Hellings in writing the relevant

 19   circumstances and material risks, including any actual and reasonably foreseeable adverse

 20   consequences of the proposed transaction to Hellings; however, Bird failed to do so.

 21           86.        Bird had a duty to obtain Hellings'
                                                   Hellings’ informed written consent and/or written conflict

 22   of interest waiver regarding the terms of the proposed transaction by which she claims to have

 23   acquired an ownership interest in SW Ventures, and her role in such transaction; however, she

 24   failed to do so.

 25           87.        Bird’s claiming an ownership interest in SW Ventures violated Bird's
                         Bird's                                                        Bird’s duty of

 26   undivided loyalty to Hellings in that, inter alia, Bird claims to have acquired a pecuniary interest in

 27   SW Ventures that conflicted with Hellings'
                                       Hellings’ own pecuniary interest in SW Ventures.

 28           88.                     Bird’s claiming an ownership interest in SW Ventures, Bird had a direct
                         By virtue of Bird's
                                              18
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  1   pecuniary motive to seek to expel Hellings from SW Ventures in that, inter alia, eliminating

  2   Hellings’ interest would increase the value of her own claimed ownership interest in SW Ventures.
      Hellings'

  3            89.    Landis has claimed that some of the unbilled legal fees Bird sought to exchange for

  4   an ownership interest in SW Ventures were owed to Landis. Landis therefore had a financial

  5   incentive to assist Bird in expelling Hellings from SW Ventures in that, inter alia, eliminating

  6   Hellings’ interest would increase the value of Bird's
      Hellings'                                      Bird’s claim to, an equity interest in, SW Ventures

  7   and the likelihood of Landis being paid the fees he claimed to be owed.

  8   D.       Bird continued to represent Hellings, individually, after becoming SW Ventures'
                                                                                     Ventures’
               general counsel.
  9

 10            90.                             Hellings’ personal attorney after she became SW Ventures'
                      Bird continued to act as Hellings'                                       Ventures’

 11   general counsel.

 12            91.    After she became SW Ventures'
                                          Ventures’ general counsel, Bird:

 13                                                               “client;”
                      a. Communicated to Hellings that he was her "client;"

 14                   b. Provided Hellings with documentation confirming he was her client;

 15                                                           Hellings’ attorney; and
                      c. Held herself out to third parties as Hellings'

 16                   d. Took actions expressly on behalf of Hellings as her client.

 17            92.    Bird’s continuing to act as Hellings'
                      Bird's                      Hellings’ personal attorney and communicating to

 18   Hellings that he was her client, caused Hellings reasonably to believe that Bird was his attorney

 19   and would fulfill her fiduciary duties to him, including her duties of undivided loyalty and

 20   confidentiality.

 21   E.       Bird developed additional conflicts of interest vis-à-vis Hellings by loaning money to
               SW Ventures pursuant to promissory notes drafted by Bird that included terms
 22            unfavorable to Hellings and SW Ventures.

 23            93.    In the months following Bird's
                                              Bird’s becoming SW Ventures'
                                                                 Ventures’ general counsel and

 24   claiming an ownership interest in the company, Bird developed additional conflicts of interest vis-à-

 25   vis Hellings and SW Ventures by becoming a creditor of SW Ventures and by causing SW

 26   Ventures to execute promissory notes that included terms unfavorable to SW Ventures and

 27   Hellings.

 28            94.    Plaintiffs are informed and believe and thereon allege that, at all relevant times, Bird
                                                 19
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  1   has had a personal financial interest in a trust called the Jason Steiner Living Trust (hereinafter the

  2   “Steiner Trust”).
      "Steiner Trust").

  3             95.                                                Hellings’ personal attorney and was
                       On or about October 19, 2019, while she was Hellings'

  4   acting as SW Ventures'
                   Ventures’ general counsel, Bird arranged for the Steiner Trust to loan up to $200,000

  5   to SW Ventures.

  6             96.    Bird drafted a promissory note corresponding to the loan Bird arranged for the

  7   Steiner Trust to make to SW Ventures (hereinafter the "Steiner
                                                            “Steiner Trust Note").
                                                                           Note”).

  8             97.    Bird referred to the loans that were the subject of the Steiner Trust Note as "my
                                                                                                     “my

  9   loans.”
      loans."

 10             98.    The Steiner Trust Note contained terms that were unfavorable to Hellings and SW

 11   Ventures, including, inter alia, (a) an interest rate of sixty percent (60%) per annum, compounded

 12   annually, and (b) a prepayment penalty that guaranteed at least $60,000 of interest if the loan was

 13   repaid within six months.

 14             99.    Plaintiffs are informed and believe and thereon allege that none of the other

 15   promissory notes Bird had created for SW Ventures contained a prepayment penalty.

 16             100.   On or about February 18, 2020, Bird drafted a first amendment to the Steiner Trust

 17   Note by which the Steiner Trust would loan up to $400,000 to SW Ventures (the "First
                                                                                    “First

 18   Amendment to Steiner Trust Note").
                                 Note”). The Steiner Trust Note and the First Amendment to Steiner

 19   Trust Note are collectively referred to as the "Steiner
                                                     “Steiner Notes."
                                                              Notes.”

 20             101.   The First Amendment to Steiner Trust Note contained terms even more unfavorable

 21   to Hellings and SW Ventures than the Steiner Trust Note. The First Amendment to Steiner Trust

 22   Note contained the same sixty percent (60%) interest rate; however, it increased the potential

 23   prepayment penalty to at least $120,000. The First Amendment to Steiner Trust Note also gave the

 24   Steiner Trust the option to convert up to $200,000 of debt into equity in SW Ventures and did not

 25   permit SW Ventures to prepay the First Amendment to Steiner Trust Note unless the Steiner Trust

 26   elected to waive its right to convert the note into equity in SW Ventures.

 27             102.   The Steiner Notes constituted business transactions with Bird's
                                                                                Bird’s client.

 28             103.   By virtue of the Steiner Notes: (a) it was reasonably foreseeable that Bird's
                                                                                              Bird’s personal
                                              20
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  1   interests would be detrimental to Hellings and SW Ventures'
                                                        Ventures’ own interests; and (b) Bird knowingly

  2   acquired an ownership or other pecuniary interest adverse to Hellings and SW Ventures.

  3          104.    Bird had a duty to ensure that the terms of the Steiner Notes were fair and reasonable

  4   to Hellings and SW Ventures; however, those terms were neither fair nor reasonable to Hellings or

  5   SW Ventures.

  6          105.    Prior to execution of each of the Steiner Notes, Bird had a duty to fully disclose to

  7   Hellings and SW Ventures in writing the terms of the Steiner Notes and Bird's
                                                                             Bird’s role in each such

  8   transaction, in a manner that should reasonably have been understood by Hellings and SW

  9   Ventures; however, Bird failed to do so.

 10          106.    Prior to execution of each of the Steiner Notes, Bird had a duty to advise Hellings

 11   and SW Ventures in writing to seek the advice of independent counsel of their respective choosing,

 12   and to give them a reasonable opportunity to seek such advice; however, Bird failed to do so.

 13          107.    Neither Hellings nor SW Ventures were represented by independent counsel of their

 14   respective choosing in the transactions that gave rise to the Steiner Notes.

 15          108.    Prior to execution of each of the Steiner Notes, Bird had a duty to communicate and

 16   explain to Hellings and SW Ventures in writing the relevant circumstances and material risks,

 17   including any actual and reasonably foreseeable adverse consequences of the proposed transaction

 18   to each of them; however, Bird failed to do so.

 19          109.    Prior to execution of each of the Steiner Notes, Bird had a duty to obtain Hellings

 20   and SW Ventures'
             Ventures’ informed written consent and/or written conflict of interest waiver regarding the

 21                         Bird’s role in such transaction; however, Bird failed to do so.
      terms of the note and Bird's

 22          110.    By virtue of the Steiner Notes, Bird violated her duty of undivided loyalty to

 23   Hellings in that, inter alia, Bird's
                                    Bird’s interests were directly adverse to Hellings and his own interests

 24   as a creditor and owner of SW Ventures, and the Steiner Trust’s
                                                              Trust's ability to be repaid any monies it

 25   loaned to SW Ventures was in direct conflict with Hellings'
                                                        Hellings’ own ability to be repaid the monies he

 26   had loaned to the company.

 27          111.    By virtue of the Steiner Notes, Bird had a direct pecuniary motive to expel Hellings

 28   from SW Ventures in that, inter alia, eliminating Hellings'
                                                        Hellings’ interest in SW Ventures (a) would
                                              21
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  1   increase the likelihood that the Steiner Notes would be repaid, and (b) would increase the value of

  2   the Steiner Trust’s
                  Trust's convertible interest in SW Ventures.

  3   F.       Hellings created and helped fund a potentially lucrative business infrastructure, and
               brought potentially lucrative deals to SW Ventures.
  4
               1.     At a cost of more than $1,000,000, Hellings created a working infrastructure for SW
  5                   Ventures and SW Ventures opened its doors in March 2020.

  6            112.   SW Ventures'
                         Ventures’ business plan was to use its capital investments to create a business

  7   structure from which it could engage in the commercial cannabis business and attract lucrative

  8   business partners. This process involved SW Ventures'
                                                  Ventures’ spending more than $1,000,000 to build out

  9   its facility before operations could commence.

 10            113.   Hellings expended hundreds of hours creating the infrastructure for SW Ventures for

 11   which he did not receive compensation.

 12            114.   Hellings also devoted significant time successfully lobbying the City of Costa Mesa

 13   to reduce the tax rate for SW Ventures'
                                    Ventures’ business from six percent to one percent, thereby

 14   dramatically increasing the value of SW Ventures'
                                              Ventures’ business.

 15            115.   As a result of Hellings'
                                     Hellings’ efforts, SW Ventures built a valuable infrastructure and

 16   secured valuable licenses for the exploitation of commercial cannabis activity.

 17            116.   SW Ventures first became operational in or about March 2020.

 18            2.     Hellings presented Chan and Bird with a lucrative opportunity or opportunities
                      designed to infuse more than $2,000,000 into SW Ventures.
 19

 20            117.   Hellings’ responsibilities with SW Ventures included generating business for the
                      Hellings'

 21   company.

 22            118.   SW Ventures'
                         Ventures’ lack of revenue while its infrastructure was being built created cash

 23   flow problems for the company and Chan repeatedly requested that Hellings help him find a

 24   strategy to exit SW Ventures that would allow him to recoup his investment in the company.

 25            119.   Once SW Ventures became operational in or about March 2020, Hellings began

 26   working to develop business arrangements through which SW Ventures could generate revenue and

 27   Chan might recoup his investment.

 28            120.   Among the potential deals Hellings would bring to SW Ventures, in or about March
                                                 22
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  1   or April 2020, Hellings began negotiating with a third-party in the cannabis industry, NewTropic,

  2   toward an agreement that would (a) infuse significant capital into SW Ventures, (b) potentially

  3   allow Chan to have his interest in SW Ventures purchased for significant compensation, (c) provide

  4   ongoing capital to SW Ventures, and (d) significantly expand SW Ventures'
                                                                      Ventures’ business growth.

  5          121.    On or about April 29, 2020, Hellings emailed to Bird and Chan a business proposal

  6   setting forth proposed terms for NewTropic to invest in SW Ventures. The deal Hellings was

  7   proposing potentially was worth more than $2,000,000 to SW Ventures and/or Chan.

  8          122.    Plaintiffs are informed and believe and thereon allege that, rather than have Hellings

  9   continue to pursue the potentially lucrative business opportunity with NewTropic, Bird and Chan

 10   hatched a scheme through which Bird and Chan could reap the benefits of Hellings'
                                                                              Hellings’ time, effort and

 11   monetary investment in SW Ventures, and capitalize on the NewTropic potential deal and/or other

 12   business opportunities for their own personal gain, by purporting to expel Hellings from SW

 13   Ventures after Hellings had successfully created SW Ventures'
                                                          Ventures’ infrastructure.

 14   G.     Bird and Chan, with the help of Landis, ADLI Law and Bird Law execute a plan to
             strip Hellings of his interest in SW Ventures for their own personal financial gain.
 15

 16          123.    After (a) Hellings caused SW Ventures to become operational, (b) Hellings brought

 17   potentially lucrative deals to SW Ventures, and (c) Bird became inextricably conflicted through her

 18   financial transactions with Hellings and SW Ventures, Bird orchestrated a scheme through which

 19   she attempted to expel Hellings from SW Ventures.

 20              1. Bird unsuccessfully attempted to convert SW Ventures from a member-managed
                    company to a manager-managed company, and to have herself appointed as a
 21                 manager.

 22          124.    SW Ventures was at all times a member-managed company, with the business and

 23   affairs of the company managed by the members.

 24          125.    Unanimous written consent of all of SW Ventures'
                                                            Ventures’ members was required to convert

 25   SW Ventures into a manager-managed limited liability company.

 26          126.   Bird and Chan attempted to convert SW Ventures from a member-managed limited

 27   liability company into a manager-managed limited liability company, to have Bird appointed as one

 28   of SW Ventures'
            Ventures’ three managers, with Chan and Hellings as the other two managers, and to use
                                              23
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  1   Bird’s new-found claimed authority to expel Hellings from SW Ventures.
      Bird's

  2           127.    At the time Bird and Chan advanced converting SW Ventures to a manager-managed

  3   company and Bird becoming a member of the board of managers:

  4                   e.        Bird and Chan had legal, business, financial, professional, fiduciary and/or

  5                             confidential relationships with Hellings; and

  6                   f.                                                               “investigation” of
                                Bird already had begun an undisclosed and unauthorized "investigation"

  7                             Hellings that Bird and Chan would later use as a basis to purport to terminate

  8                             Hellings’ interest in, and positions with, SW Ventures.
                                Hellings'

  9           128.    On or about June 16, 2020, Bird emailed an agenda for a meeting of SW Ventures'
                                                                                            Ventures’

 10   members scheduled for the following day, June 17, 2020, in which agenda Bird recommended

 11   amending SW Ventures'
                  Ventures’ operating agreement (which, in fact, did not exist) to convert the company

 12   to a manager-managed company and have herself appointed to the board of managers. The agenda

 13   stated in pertinent part:

 14           1. General Counsel Report: Andrea Bird, General Counsel
               a. Amendments of SWV Amended and Restated Operating Agreement. Recommendations:
 15
                      i. Amendment 1: Change from Member-Managed to Manager-Managed with 3
 16                      Members of the Board of Managers

 17                        1.     Steve/Walton each appoint 1 manager (currently to remain as
                                  Steve/Walton)
 18
                           2.                                  3rd manager (Andrea today to start)
                                  Steve/Walton jointly appoint 3rd
 19

 20           129.    In her agenda, Bird expressly acknowledged that converting SW Ventures to a

 21                           “will require a new amended and restated operating agreement in form
      manager-managed company "will

 22                                    member-managed.”
      because the current agreement is member-managed."

 23           130.    SW Ventures'
                         Ventures’ members never provided unanimous written consent to convert SW

 24   Ventures into a manager-managed limited liability company or to amend SW Ventures'
                                                                               Ventures’ operating

 25   agreement - which, in fact, did not exist.

 26           131.    No operating agreement converting SW Ventures to a manager-managed company

 27   was ever executed.

 28           132.    Prior to seeking a vote on whether SW Ventures should be converted to a manager-
                                              24
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  1   managed company and whether Bird ought to be appointed to the board of managers, as advanced

  2   by Bird and Chan, Bird had a duty to, inter alia: (a) obtain Hellings'
                                                                   Hellings’ informed written consent

  3   and/or a written conflict of interest waiver, (b) communicate and explain to Hellings the relevant

  4   circumstances and the material risks, including any actual and reasonably foreseeable adverse

  5   consequences that those proposed transactions posed to him, (c) provide written disclosure of the

  6   relationship to Hellings, and (d) disclose her conflicts of interests; however, Bird failed to do so.

  7          133.    Prior to seeking a vote on whether SW Ventures should be converted to a manager-

  8   managed company and whether Bird should be appointed to the board of managers, as advanced by

  9   Bird and Chan, Bird and Chan had a duty to disclose to Hellings the material facts that, inter alia,

 10   (a) Bird was conducting an "investigation"
                                 “investigation” that might be used to expel Hellings from SW Ventures,

 11                                       “investigation,” and (c) there was a scheme in place to reap the
      (b) Hellings was the target of such "investigation,"

 12               Hellings’ time, effort and investment in SW Ventures by expelling Hellings; however;
      benefits of Hellings'

 13   Bird and Chan failed to do so.

 14          134.    Plaintiffs are informed and believe and thereon allege that, in failing to disclose the

 15   foregoing facts to Hellings, Bird and Chan intended to deceive Hellings.

 16          135.    Hellings was ignorant of the existence of those facts that Bird and Chan failed to

 17   disclose; Plaintiffs are informed and believe and thereon allege that Bird and Chan knew Hellings

 18   was ignorant of such facts.

 19          136.    On June 17, 2020, Hellings attended the meeting of SW Ventures'
                                                                           Ventures’ invalid board of

 20   managers as directed by Bird. Bird, Bird Law, Chan, and Habermehl also attended. Bird and Bird

 21   Law remained Hellings'
                   Hellings’ personal attorneys at the time.

 22          137.    On or about June 18, 2020, Bird circulated proposed minutes of the June 17, 2020

 23   meeting. Those minutes were not approved by all of SW Ventures'
                                                            Ventures’ members. Indeed, not all of SW

 24   Ventures’ members were even provided notice of the meeting.
      Ventures'

 25          138.    SW Ventures'
                        Ventures’ members never provided unanimous written consent to convert the

 26   company to a manager-managed company.

 27          139.    Bird’s attempt to convert SW Ventures into a manager-managed company was
                     Bird's

 28   ineffective. SW Ventures remained a member-managed company and any and all purported actions
                                              25
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  1   taken by the alleged managers at the June 17, 2020 meeting are void.

  2          140.    In or about March 2021, both SW Ventures and Chan agreed in writing that SW

  3   Ventures never was converted to a manager-managed company and all purported actions taken by

  4   the alleged managers at the June 17, 2020 meeting are void.

  5          2.      Immediately after her failed attempt to convert SW Ventures to a manager-managed
                     company, Bird usurped control of the company and announced an unauthorized
  6                  “investigation” into Hellings.
                     "investigation"

  7          141.    Bird began asserting unauthorized control over SW Ventures the day after her failed

  8   attempt to convert the company to a manager-managed company.

  9          142.    On or about June 18, 2020, just one day after the June 17, 2020 meeting at which

 10   Bird called for a vote to appoint herself as a manager of SW Ventures'
                                                                   Ventures’ (illegitimate) board of

 11   managers, Bird sent an email to Hellings and others stating that she, Landis and Bird Law would be

 12                 “official investigation."
      conducting an "official investigation.” Landis was a Senior Counsel of ADLI Law at the time.

 13          143.    That "official
                          “official investigation"
                                    investigation” focused on a short-term commercial relationship,

 14   discussed below, that Habermehl had brought to SW Ventures.

 15          144.    Although Bird's      18th email suggested that Bird's
                              Bird’s June 18th                      Bird’s "investigation"
                                                                           “investigation” had not yet

 16   commenced, on August 31, 2020, Bird admitted that she had begun investigating Hellings no later

 17   than on or about June 5, 2020.

 18          145.                                                            “investigating” him at the
                     Bird concealed from Hellings the fact that she had been "investigating"

 19   time she advanced that SW Ventures be converted to a manager-managed company and that she be

 20   appointed as a manager.

 21          146.    As an example, Bird's
                                    Bird’s agenda for the June 17, 2020 meeting at which she sought to

 22   convert SW Ventures to a manager-managed company and have herself appointed as a manager,

 23   failed to mention any "investigation."
                            “investigation.”

 24          147.                                         “investigation,” and particularly not an
                     Bird had no authority to conduct any "investigation,"

 25   investigation into Hellings, who was her client and the president of SW Ventures.

 26          148.    Hellings, the president of SW Ventures, repeatedly objected in writing to Bird's
                                                                                               Bird’s

 27                  “investigation” without proper approval.
      conducting any "investigation"

 28          149.         Hellings’ objections, Bird continued her "investigation"
                     Over Hellings'                                “investigation” without seeking such
                                              26
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  1   approval.

  2           150.       Landis, ADLI Law and Bird Law assisted Bird in her "investigation"
                                                                            “investigation” of Hellings.

  3           151.       Bird had no authority to retain Landis, ADLI Law or Bird Law for any such

  4   “investigation.”
      "investigation."

  5           152.       Landis participated in the "investigation"
                                                    “investigation” in his capacity as Senior Counsel of ADLI

  6   Law, while Corey Thomas participated as an employee and/or representative of Bird Law.

  7           153.       Neither Bird, Landis nor Bird Law had terminated their representation of Hellings at

  8                 “investigated” him.
      the time they "investigated"

  9           154.       Bird, Landis, Bird Law and ADLI Law’s “investigation” of Hellings was directly
                                                         Law's "investigation"

 10   adverse to Hellings and/or entailed a significant risk that the representation would be materially

 11   limited by their responsibilities to or relationship with Hellings.

 12           155.                            “investigation” Bird, Landis, Bird Law and ADLI Law, by virtue
                         At the time of their "investigation"

 13   of Landis’
         Landis' representation of Hellings, had a legal and/or professional relationship with, and

 14   responsibility to, Hellings.

 15           156.       Bird, Landis, Bird Law and ADLI Law had a duty to communicate and explain to

 16   Hellings in writing the relevant circumstances and the material risks, including any actual and

 17   reasonably foreseeable adverse consequences of their proposed course of conduct; however, they

 18   failed to do so.

 19           157.       Bird, Landis, Bird Law and ADLI Law had a duty to obtain Hellings'
                                                                                  Hellings’ informed

 20   written consent and/or written conflict of interest waiver prior to "investigating"
                                                                          “investigating” him; however, they

 21   failed to do so.

 22           158.       Plaintiffs are informed and believe and thereon allege that Bird, Landis, Bird Law

 23   and ADLI Law did not reasonably believe that they would be able to provide competent and

 24   diligent representation to each affected client.

 25           159.       Bird, Landis, Bird Law and ADLI Law’s “investigation” of Hellings was
                                                         Law's "investigation"

 26   substantially related to the matter on which Bird, Landis and Bird Law had been retained by

 27   Hellings in his individual capacity.

 28           160.       Bird, Landis, Bird Law and ADLI Law had a duty to advise Hellings and SW
                                              27
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  1   Ventures in writing to seek the advice of independent counsel of their respective choosing and to

  2   give them a reasonable opportunity to seek such advice; however, they failed to do so.

  3          161.    Hellings was not represented by independent counsel of his choosing in connection

  4             “investigation.”
      with such "investigation."

  5          3.      While continuing to cause Hellings to believe that they were his attorneys, Bird,
                     Landis, Bird Law and ADLI Law interviewed Hellings without first responding to
  6                  his request as to whether he should consult independent counsel.

  7          162.    Bird, Landis, Bird Law and ADLI Law requested that Hellings submit to an

  8   interview that took place on June 23, 2020.

  9          163.    Bird, Landis, Bird Law and ADLI Law took steps to ensure that Hellings would

 10   submit to this interview (a) while under the continued belief that he enjoyed a confidential attorney-

 11   client relationship with them, and (b) without the opportunity to seek independent counsel.

 12          164.    On or about June 22, 2020 at or about 11:45 a.m., Hellings sent an email to Bird,

 13   Landis (while Landis was working for ADLI Law) and Bird Law (a) making clear that he believed

 14   that his attorney-client relationship with Bird was ongoing, and (b) inquiring whether he should

 15   seek independent counsel in light of Bird's
                                           Bird’s recent purported appointment to SW Ventures'
                                                                                     Ventures’

 16   (illegitimate) board of managers:

 17          I need to get formal guidance from you in terms of questions on my rights and
             responsibilities in the operating agreement. I am asking this because you are now a
 18          member of the board voting on some of these very issues. Also I may want to ask
             questions in confidence and you may not be able to keep that confidence do (sic) to
 19
             your fiduciary responsibility to SW Ventures and the board as a whole. Should I at
 20          his (sic) time seek my own outside council [sic] for these type of questions?

 21          165.    Bird, Landis, ADLI Law and Bird Law had a duty to ensure that Hellings received a

 22   timely and full response to his inquiries before Bird, Landis, Bird Law and ADLI Law proceeded to

 23                                                 “investigation.”
      interview Hellings as part of their purported "investigation."

 24          166.    To the extent that they were not acting as Hellings'
                                                                Hellings’ attorneys, Bird, Landis, Bird

 25   Law and ADLI Law had a duty to advise Hellings that they were not representing him before

 26   commencing their interview of Hellings; however, they failed to do so.

 27          167.    Bird, Landis, ADLI Law and Bird Law had a duty to respond to Hellings'
                                                                                  Hellings’ inquiry as

 28   to whether he should consult with independent counsel before commencing their interview of him;
                                              28
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  1   however, they failed to do so.

  2          168.    Bird, Landis, Bird Law and ADLI Law’s
                                                     Law's interview of Hellings was scheduled to take

  3   place at 2:00 p.m. on June 23, 2020 and actually commenced at 2:01 p.m. that day.

  4          169.    Bird delayed until either 2:00 or 2:01 p.m., the precise time that Bird, Landis, Bird

  5   Law and ADLI Law's
                   Law’s interview of Hellings began, to respond to Hellings'
                                                                    Hellings’ June 22, 2020 email.

  6          170.                            Bird’s email response at the time he submitted to Bird,
                     Hellings was unaware of Bird's

  7   Landis, Bird Law and ADLI Law’s
                                Law's multi-hour interview.

  8          171.    At the time Hellings submitted to their multi-hour interview, Hellings was under the

  9   reasonable belief that Bird, Landis, Bird Law and ADLI Law owed Hellings the duties that an

 10   attorney owes to their client and that he did not need to seek independent counsel.

 11          172.    Had Hellings been aware that Bird, Landis, Bird Law and ADLI Law claimed they

 12   did not owe Hellings the duties that an attorney owes to their client, he would have sought

 13   independent legal advice before agreeing to submit to and/or submitting to their interview.

 14          173.    On August 31, 2020, Bird admitted that Hellings indicated to her during the June 23,

 15   2020 interview that he believed that Bird was acting as his lawyer. Specifically, Bird stated that she

 16   provided Hellings with an oral Upjohn warning during the interview, to which Hellings responded

 17   “wait, are you my lawyer?"
      "wait,            lawyer?”

 18          174.         Hellings’ expressing to Bird, Landis, Bird Law and ADLI Law his belief that
                     Upon Hellings'

 19   she (and Landis) were his attorneys, they had a duty (a) to advise Hellings to seek independent

 20   counsel, and (b) to provide him with the opportunity to do so. However, Bird, Landis, Bird Law

 21   and ADLI Law failed to do so and continued interviewing Hellings.

 22          175.    During the June 23, 2020 interview, it became apparent to Hellings that Bird, Landis,

 23   Bird Law and ADLI Law were seeking to damage his interests in SW Ventures; he therefore

 24   promptly requested the opportunity to consult independent counsel.

 25          176.    Bird, Landis, Bird Law and ADLI Law declined Hellings'
                                                                  Hellings’ request and insisted that

 26   Hellings proceed with the interview.

 27          177.    Throughout Bird, Landis, Bird Law and ADLI Law’s
                                                                Law's multi-hour interview of him,

 28   Hellings repeatedly requested the opportunity to review certain records before responding to their
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  1   questions. Bird, Landis, Bird Law and ADLI Law refused to allow Hellings to review records

  2   before responding to their questions, but assured Hellings that he would have the opportunity to

  3   provide additional information and documents for consideration following the interview.

  4          178.    As alleged more fully below, Bird, Landis, Bird Law and ADLI Law’s
                                                                                  Law's assurance

  5   was false.

  6          179.    Following the conclusion of Bird, Landis, Bird Law and ADLI Law’s
                                                                                 Law's multi-hour

  7   interview of him, Hellings first read the email Bird had sent at 2:00 or 2:01 p.m.:

  8          Hi Steve —
                      – We'll
                        We’ll be calling you in a few minutes.

  9          To answer your question: First, for the investigation, as general counsel and
             compliance officer, I represent the company, SW Ventures, not any person
 10          individually. As outside counsel, Jon also represents the company, SW Ventures, not
             any person individually. The privilege belongs to the company, not any individual,
 11          so our discussion will be privy to the company (ie the board), but not outside of the
             company.
 12
             As far as the As you mentioned [sic], my fiduciary responsibility is to the company,
 13          and my duty is to the company. In terms of your strategy for your rights and
             responsibilities under the operating agreement, I’mI'm happy to answer legal questions
 14          about the operating agreement, and I can keep it confidential to the extent possible,
                   can’t promise to keep things confidential if keeping it confidential affects the
             but I can't
 15          company’s interests -– so for anything you want to remain confidential, I do
             company's
             recommend consulting your own attorney. Likewise, I cannot keep anything Walton
 16          tells me confidential if it negatively affects the company's
                                                                company’s interests.

 17          180.    On August 31, 2020, Bird admitted that, during their interview of Hellings on June

 18                                                      “done” at SW Ventures and that his interest in
      23, 2020, Bird, herself, decided that Hellings was "done"

 19   SW Ventures would be terminated.

 20          181.    Plaintiffs are informed and believe and thereon allege that Bird shared her decision

 21   and intention with Landis and ADLI Law on June 23, 2020.

 22          182.    SW Ventures never conferred upon Bird, Landis, Bird Law or ADLI Law the

 23                               Hellings’ interest in SW Ventures would be terminated.
      authority to determine that Hellings'

 24          4. Bird improperly noticed a meeting of SW Ventures'
                                                          Ventures’ (illegitimate) board of managers at
                which she attempted to remove Hellings as an officer and employee of SW Ventures and
 25             misrepresented to Hellings the purpose of that meeting.

 26          183.    Bird and Chan attempted to remove Hellings from SW Ventures'
                                                                        Ventures’ (illegitimate) board

 27   of managers and to remove him as an officer and employee of SW Ventures.

 28          184.    Bird set a meeting of SW Ventures'
                                              Ventures’ (illegitimate) board of managers for June 24,
                                              30
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  1   2020, the day immediately after Bird, Landis, Bird Law and ADLI Law’s
                                                                      Law's interview of Hellings.

  2          185.    Bird set the meeting without providing Hellings proper notice of the meeting, nor the

  3   general nature of the business to be transacted, as required by California Corporations Code section

  4   17704.07(h)(1). In fact, Bird deceived Hellings in order to cause him to attend the meeting.

  5          186.    On June 24, 2020 at 6:27 a.m., Hellings sent an email to Bird, Landis and Bird Law

  6                “any discussion of the investigation”
      objecting to "any                   investigation" and requesting that such discussion be delayed so

  7   he could have sufficient time to compile documentary evidence to present "a
                                                                               “a complete picture"
                                                                                           picture” of

  8   the issues into which Bird claimed she was investigating. Hellings also needed time to seek

  9   independent counsel.

 10          187.    In response to Hellings'
                                    Hellings’ email, Bird misrepresented the scope and purpose of that

 11   meeting thereby inducing Hellings to attend the improperly noticed meeting without having

 12   consulted such counsel and without the opportunity to compile such documentary evidence.

 13          188.    Bird, Landis, Bird Law and ADLI Law had a duty to be honest and forthright with

 14   Hellings regarding the scope and purpose of the June 24, 2020 meeting; however, they were not

 15   honest and forthright with him.

 16          189.    Although Bird has admitted that she personally decided that Hellings'
                                                                                 Hellings’ interest in SW

 17   Ventures would be terminated during their interview of Hellings on June 23, 2020, Bird's
                                                                                        Bird’s email

 18   response to Hellings (upon which Landis and Bird Law were copied) represented that the purpose

 19                                     “bullet point recommendations and findings,"
      of the meeting was merely to give "bullet                           findings,” "stat[e]
                                                                                     “stat[e] that our

 20                    ongoing” and "have
      investigation is ongoing"     “have a board vote to confirm that the board sanctions and supports

 21   doing a formal investigation."
                     investigation.”

 22          190.    Plaintiffs are informed and believe and thereon allege that Bird, Landis, Bird Law

 23   and ADLI Law intentionally allowed Hellings to be misled by Bird's
                                                                  Bird’s email so that Hellings would

 24   attend the improperly-noticed meeting despite his lack of opportunity to seek independent counsel

 25   or to compile documentary evidence.

 26          191.                                                                         24th meeting
                     At or about 12:47 p.m., approximately thirty minutes before the June 24th

 27   began, Bird circulated an untimely agenda for the meeting by email to Hellings, Landis, Chan and

 28   Bird Law.
                                              31
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  1          192.   Bird’s untimely agenda made no mention of the fact that the purported removal of
                    Bird's

  2   Hellings from his positions as an officer and employee of SW Ventures, and as a member of the

  3   (illegitimate) board of managers, was among the business to be transacted.

  4          5.          Hellings’ objection, Chan and Bird ineffectively voted to remove Hellings as
                    Over Hellings'
                    SW Ventures'
                       Ventures’ president and employee and from the (illegitimate) board of
  5                 managers; no vote was had to expel Hellings from SW Ventures.

  6          193.   On June 24, 2020, at or about 1:15 p.m., a meeting took place among Hellings,

  7   Chan, Bird, Landis, Bird Law and ADLI Law pursuant to Bird's
                                                            Bird’s improper notice.

  8          194.   Although Bird, Landis, Bird Law and ADLI Law had assured Hellings during his

  9   June 23, 2020 interview that he would have the opportunity to provide additional information and

 10   documents for their consideration following that interview, Bird, Landis, Bird Law, ADLI Law and

 11   Chan refused to provide Hellings that opportunity.

 12          195.   Hellings objected to any vote taking place at the June 24, 2020 meeting related to his

 13   removal from any position at SW Ventures because, inter alia, he had not been provided with

 14   notice of that proposed business. Chan, Bird, Landis, Bird Law and ADLI Law ignored Hellings'
                                                                                          Hellings’

 15   objection and Bird and Chan proceeded to vote to remove Hellings as an officer and employee of

 16   SW Ventures and as a member of the (illegitimate) board of managers.

 17          196.   No vote was held to expel Hellings as a member of SW Ventures.

 18          197.   On June 25, 2020, Bird circulated minutes of the June 24, 2020 meeting. According

 19      Bird’s minutes:
      to Bird's

 20                 a.      Bird moved to remove Hellings "as
                                                          “as a member of the Board of Managers;"
                                                                                       Managers;”

 21                 b.      Bird moved to remove Hellings from his positions "as
                                                                             “as an officer and

 22                         employee” of SW Ventures;
                            employee"

 23                 c.      Bird declared that Hellings did not have a right to vote on his removal, but

 24                         noted that Hellings had expressed that he would vote "no;"
                                                                                 “no;”

 25                 d.      Bird and Chan voted to remove Hellings as a member of SW Ventures'
                                                                                     Ventures’

 26                         (illegitimate) board of managers and as an officer and employee of the

 27                         company;

 28                 e.      Bird declared that the motions to remove Hellings as a member of the
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  1                         (illegitimate) board of managers and as an officer and employee of SW

  2                         Ventures had passed unanimously;

  3                  f.     Bird acknowledged that Hellings expressed his desire to consult with his own

  4                         counsel; and

  5                  g.
                     g.     Bird acknowledged that Hellings stated that he disagreed with the minutes

  6                         from the June 17, 2020 meeting at which Bird claimed that SW Ventures'
                                                                                         Ventures’

  7                         members had voted to convert the company to a manager-managed company.

  8          198.             Chan’s votes to remove Hellings as an employee and officer of SW
                     Bird and Chan's

  9   Ventures and as a member of the (illegitimate) board of managers were invalid and ineffective as

 10   alleged herein. Indeed, SW Ventures had no legitimate board of managers from which Hellings

 11   could be removed.

 12          199.    In or about March 2021, both SW Ventures and Chan admitted in writing that all

 13   acts of the alleged managers that occurred on June 24, 2020 were null and void, including Bird and

 14   Chan’s vote to terminate Hellings as an officer and employee of SW Ventures.
      Chan's

 15          6.      Bird claims that Chan unilaterally determined to expel Hellings from SW Ventures.

 16          200.    As alleged above, Bird and Chan did not vote on the issue of expelling Hellings from

 17   SW Ventures or otherwise purport to terminate his ownership interest in the company during the

 18   June 24, 2020 meeting.

 19          201.    On June 25, 2020, Bird sent an email to Hellings attaching her purported minutes of

 20   the June 24, 2020 meeting and stating that "[Chan]
                                                 “[Chan] has determined"
                                                             determined” that Hellings'
                                                                              Hellings’ interest in SW

 21   Ventures was terminated.

 22          202.    Bird and Chan did not notify Hellings that Chan was intending on rendering a

 23   determination as to whether Hellings would be expelled from SW Ventures.

 24          203.    Chan did not have the right to unilaterally expel Hellings from SW Ventures and

 25   terminate his interest in the company.

 26          7.      Bird, Chan, Landis, ADLI Law and Bird Law hold a secret meeting to confirm
                     Chan’s claimed expulsion of Hellings and to appoint Chan as SW Ventures'
                     Chan's                                                         Ventures’ chief
 27                  executive officer.

 28          204.    Bird, Chan, Landis, ADLI Law and Bird Law held a secret meeting of SW Ventures'
                                                                                           Ventures’
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  1   invalid board on July 1, 2020. Neither Hellings nor all of SW Ventures'
                                                                    Ventures’ members were provided

  2   notice of this meeting.

  3          205.      In the secret July 1, 2020 meeting, Bird and Chan voted to ratify Chan's
                                                                                         Chan’s decision to

  4                   “from his membership of SW Ventures"
      remove Hellings "from                      Ventures” and to appoint Chan as SW Ventures'
                                                                                     Ventures’

  5   chief executive officer.

  6          206.      Bird, Chan, Landis, ADLI Law and Bird Law concealed the minutes of this meeting

  7   from Hellings.

  8          207.      The actions of Bird and Chan to ratify the purported removal of Hellings "from
                                                                                                “from his

  9   membership of SW Ventures"
                       Ventures” and to appoint Chan as SW Ventures'
                                                           Ventures’ chief executive officer were

 10   void acts.

 11          208.      In or about March 2021, both SW Ventures and Chan admitted in writing that all of

 12   the actions taken at the secret July 1, 2020 meeting were null and void, including the vote to ratify

 13   Chan’s decision to remove Hellings "from
      Chan's                             “from his membership of SW Ventures"
                                                                    Ventures” and to appoint Chan as

 14   SW Ventures'
         Ventures’ chief executive officer.

 15   H.     After claiming to have expelled Hellings from SW Ventures, Bird and Chan (1)
             blocked Hellings from access to SW Ventures'
                                                   Ventures’ affairs, (2) attempted to capitalize on
 16          the lucrative potential deal with NewTropic that Hellings had brought to SW Ventures,
             (3) failed to pay either Hellings or Theresa the wages they are owed, and (4) caused
 17          substantial damages to Hellings and SW Ventures.

 18          209.      After Bird announced that Hellings had been expelled from SW Ventures and his

 19                                                             Hellings’ access to company-related
      interest in the company terminated, Bird and Chan blocked Hellings'

 20   information and the SW Ventures facility.

 21          210.      After Bird announced that Hellings had been expelled from SW Ventures and his

 22   interest in the company terminated, Bird and Chan sought to capitalize on the proposed NewTropic

 23   deal that Hellings had presented to them at or around the end of April 2020. Bird contacted

 24   NewTropic and attempted to broach with NewTropic resurrecting that deal. However, NewTropic

 25   refused to pursue or discuss any long-term business relationship with Bird or SW Ventures as

 26   NewTropic’s interest in a deal had depended on Hellings'
      NewTropic's                                    Hellings’ continued involvement with SW

 27   Ventures.

 28          211.                                                       Hellings’ employment with SW
                       At the time Bird and Chan purported to terminate Hellings'
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  1   Ventures, Hellings was owed more than $400,000 in wages. Hellings has not been paid those

  2   wages. Nor has Theresa been paid the wages she is owed.

  3            212.   The purported summary expulsion of Hellings from SW Ventures orchestrated by

  4   Defendants has had catastrophic financial consequences to both Hellings and SW Ventures.

  5            213.   As Hellings was responsible for generating business opportunities for SW Ventures,

  6   Hellings’ purported expulsion severely damaged SW Ventures'
      Hellings'                                         Ventures’ business prospects. SW Ventures

  7   has received almost no income since Hellings was wrongfully ousted.

  8            214.   In addition, Hellings'
                                   Hellings’ purported summary termination, inter alia: (a) caused

  9   Hellings to remain personally liable for approximately $2,000,000 in rents pursuant to his personal

 10   guarantee of the SW Ventures Lease, while depriving him of any ability to control SW Ventures'
                                                                                           Ventures’

 11   compliance with its rent obligations or to otherwise protect himself from incurring liability under

 12   that guarantee, (b) purported to cause Hellings to lose his substantial capital investment, and (c)

 13   substantially decreased the likelihood that SW Ventures could or would pay its debts to Hellings.

 14   I.       Chan begins self-dealing with SW Ventures'
                                                Ventures’ assets to pay his personal expenses.

 15            215.            Chan’s purporting to expel Hellings from SW Ventures, terminate his
                      Bird and Chan's

 16   interest in the company and block his access to SW Ventures'
                                                         Ventures’ affairs allowed Chan to use SW

 17   Ventures’ funds and assets for Chan's
      Ventures'                      Chan’s personal benefit.

 18            216.   Plaintiffs are informed and believe and thereon allege that certain SW Ventures'
                                                                                             Ventures’

 19   financial statements and transaction reports reveal that Chan has transacted in SW Ventures'
                                                                                         Ventures’ assets

 20   for his own personal benefit.

 21            217.   As one example, Plaintiffs are informed and believe and thereon allege that an SW

 22   Ventures transaction report reflects that SW Ventures borrowed $50,023.96 on August 7, 2020 and

 23   that, three days later, SW Ventures paid $52,998.88 toward Chan's
                                                                 Chan’s personal credit card debt.

 24            218.   Plaintiffs are informed and believe and thereon allege that Chan has used SW

 25   Ventures’ assets for significantly more personal transactions.
      Ventures'

 26            219.   Plaintiffs are informed and believe and thereon allege that, inter alia:

 27                   a.     At the time of the transfers, Hellings was a creditor of SW Ventures by virtue

 28                          of, inter alia, his unpaid wages and sums loaned pursuant to the Hellings
                                                 35
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  1                          Note;

  2                   b.     The SW Ventures/Chan transfers were made with the intent to hinder, delay

  3                          or defraud SW Ventures'
                                           Ventures’ creditors, including Hellings;

  4                   c.     Such transfers were to an insider, Chan, who received the transfers with

  5                          knowledge of SW Ventures'
                                             Ventures’ intent by virtue of his position as SW Ventures'
                                                                                              Ventures’

  6                          chief financial officer and the fact that Chan orchestrated the transfers;

  7                   d.     SW Ventures was insolvent or became insolvent shortly after the transfers;

  8                   e.     At the time of the transfers, SW Ventures'
                                                              Ventures’ debts were greater than its assets;

  9                   f.     SW Ventures did not receive reasonably equivalent value for the transfers;

 10                   g.
                      g.     At the time of the transfers, SW Ventures knew it was facing claims by

 11                          creditors, including Plaintiffs; and

 12                   h. At the time of the transfers, SW Ventures was engaged in, and/or was about

 13                          to engage in, a business or transaction for which its remaining assets were

 14                          unreasonably small in relation to the business or transaction and/or intended

 15                          to incur, or believed or reasonably should have believed that it would incur,

 16                          debts beyond its ability to pay those debts as they became due.

 17   J.       Habermehl claims to have an ownership interest in SW Ventures.

 18            220.         Hellings’ improper purported ouster from SW Ventures, Landis, ADLI Law,
                      After Hellings'

 19                         Hellings’ attorney that Habermehl had been promised an ownership interest
      Bird and Chan advised Hellings'

 20   in SW Ventures.

 21            221.   On or about February 24, 2021, Hellings, through his attorney, sent a letter to

 22   Habermehl requesting that Habermehl advise whether he claimed an ownership interest in SW

 23   Ventures.

 24            222.   Habermehl failed to respond to this letter.

 25            223.   Plaintiffs are informed and believe and thereon allege that Habermehl does claim to

 26   have an ownership interest in, and/or to be a member of, SW Ventures.

 27            224.   Hellings disputes that Habermehl has any ownership interest in, or is a member of,

 28   SW Ventures.
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  1   K.     Landis, ADLI Law and Chan manipulate the public record regarding SW Ventures'Ventures’
             and WYS Consulting’s
                        Consulting's ownership to create a false record suggesting that Chan has the
  2          authority to sell SW Ventures'
                                  Ventures’ assets and lie to Hellings to conceal that activity.

  3          225.                   Hellings’ improper purported ouster from SW Ventures, Hellings
                     At the time of Hellings'

  4   remained a full member of WYS Consulting, which controlled SW Ventures.

  5          226.    Landis and ADLI Law were aware that Hellings was a member of WYS Consulting

  6   as, inter alia, Landis had filed the company's
                                           company’s initial Articles of Organization identifying Hellings as

  7   a member.

  8          227.    On or about July 3, 2020, Landis, while working for ADLI Law and while

  9   representing Chan, executed and caused to be filed a Statement of Information with the California

 10   Secretary of State for WYS Consulting that omitted Hellings as a member.

 11          228.    Then, on November 12, 2020, Chan executed and caused to be filed a Statement of

 12   Information with the California Secretary of State that identified WYS Consulting as SW Ventures'
                                                                                              Ventures’

 13   only member, omitting another of SW Ventures'
                                          Ventures’ members, RAMM Ventures, LLC.

 14          229.    The two aforementioned false filings with the California Secretary of State created a

 15   false public record suggesting that Chan, as the purported sole owner of WYS Consulting, and

 16   WYS Consulting, as the purported sole owner of SW Ventures, had the unilateral right to sell SW

 17   Ventures and/or its assets.

 18          230.    Plaintiffs are informed and believe and thereon allege that Chan thereafter attempted

 19   to sell, and/or negotiated with third parties to sell, SW Ventures and/or its assets without providing

 20   any notice of those efforts to Hellings.

 21          231.    In fact, Landis and ADLI Law, and Chan through Landis, misrepresented the status

 22   of WYS Consulting to Hellings. On or about July 24, 2020, Landis and ADLI Law sent a letter to

 23                 Hellings’ counsel) stating that WYS Consulting was a "now
      Hellings (via Hellings'                                            “now defunct"
                                                                              defunct” company.

 24   Landis, ADLI Law and Chan knew this to be false since, just three weeks earlier, they had executed

 25   and caused to be filed a Statement of Information with the California Secretary of State showing

 26   that WYS Consulting was an active company.

 27   ////

 28   ////
                                              37
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  1   L.       Once Chan and Bird took complete control over SW Ventures, they engaged in
               business deals violating California law and SW Ventures'
                                                              Ventures’ conditional use permit.
  2

  3            232.   By the improper purported ouster of Hellings, Chan and Bird arrogated to

  4   themselves complete control over SW Ventures.

  5            233.   Upon information and belief, Chan and Bird breached their fiduciary duties to SW

  6   Ventures by entering into one or more deals allowing third parties to operate at the SW Ventures'
                                                                                              Ventures’

  7   facility in a manner that violated California law and SW Ventures'
                                                               Ventures’ condition use permit, thereby

  8   putting SW Ventures'
                 Ventures’ valuable commercial cannabis license and conditional use permit at risk.

  9            234.            Bird’s allowing third parties to operate at the SW Ventures facility in
                      Chan and Bird's

 10   violation of California Law and the company's
                                          company’s conditional use permit has decreased the value of

 11   SW Ventures.

 12   M.       Landis, ADLI Law, Bird, Bird Law and Chan employ misrepresentations, threats and
               stall tactics.
 13
               235.   After his wrongful purported ouster from SW Ventures, Hellings hired independent
 14
      counsel who engaged in a series of communications with Bird, Landis and ADLI Law between on
 15
      or about July 16, 2020 and on or about September 11, 2020. Landis and ADLI Law represented and
 16
      spoke on behalf of Bird, Chan and SW Ventures in those communications.
 17
               1.     Landis, ADLI Law, Bird and Bird Law admit to conflicts of interests and that they
 18                   did not obtain a conflict of interest waiver.

 19            236.   On or about July 24, 2020, Landis and ADLI Law sent a letter to Hellings (via

 20   Hellings’ counsel) stating (1) that Landis and ADLI Law were representing SW Ventures, Chan and
      Hellings'

 21   Bird, and (2) that Hellings "is
                                  “is an adverse party."
                                                 party.”

 22            237.   The matter in which Landis and ADLI Law stated that they were representing SW

 23   Ventures, Chan and Bird is substantially related to the matter in which Landis, Bird and Bird Law

 24   were retained by Hellings pursuant to the Hellings/Bird Law Engagement Agreement.

 25            238.   Even the Hellings/Bird Law Engagement Agreement expressly prohibited Landis

 26   from representing Bird, Chan and SW Ventures in this matter in which Bird, Chan, Bird Law and

 27   SW Ventures are adverse to Hellings:

 28   /////
        ///
                                                 38
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  1          In undertaking the concurrent representation of each of you, we cannot and will not
             advise either of you as to any matters upon which an actual conflict of interest
  2          develops among more than one Client.
                                                         ***
                                                         ***

  3          [A]s another example, if a dispute arose amongst clients as to ownership rights in a
             created entity, the situation, if unresolved, could create a conflict of interest which
  4          would require Attorney to withdraw from representation and which would require
             each Client to seek new counsel.
  5                                                      ***
                                                         ***
             In the event that any conflict, dispute or disagreement arises between Clients, or
  6          between Client(s) and any other client of the Firm, Attorney shall decline to
             represent any of you in any manner in connection with that dispute or disagreement,
  7          but shall
             but shall continue
                       continue to
                                 to represent
                                    represent you
                                               you and
                                                   and the
                                                       the opposing
                                                           opposing client
                                                                     client of
                                                                            of the
                                                                               the Firm
                                                                                   Firm in
                                                                                         in non-
                                                                                            non‐
             disputed matters.
  8

  9          239.    Notwithstanding the express language of the Hellings/Bird Law Engagement

 10   Agreement, Landis and ADLI Law undertook to represent Chan, Bird and SW Ventures, adverse to

 11   Hellings, in a dispute "as
                             “as to ownership rights in a created entity."
                                                                  entity.”

 12          240.    Landis and ADLI Law had a duty to obtain Hellings'
                                                              Hellings’ informed written consent

 13   before representing Bird, Chan and SW Ventures; however, they failed to do so.

 14          241.    In their July 24, 2020 letter, Landis and ADLI Law, in their capacity as counsel for

 15                                                                                 “has a financial interest
      Bird, admitted that Bird had a conflict of interest with Hellings in that she "has

 16           matter.”
      in this matter."

 17          242.    On August 31, 2020, Landis and Bird represented that the only document of which

 18   they were then aware in which either of them advised Hellings that Bird and/or Landis were not

 19   acting as his attorney was the Hellings/Bird Law Engagement Agreement.

 20          243.    Bird further stated that she would confirm whether any such additional documents

 21                                       Hellings’ counsel.
      existed and, if so, provide them to Hellings'

 22          244.                                          Hellings’ counsel any such additional
                     Neither Bird nor Landis have provided Hellings'

 23   documents in which Hellings was advised that Bird and/or Landis were not acting as his attorneys.

 24          2.      Landis, ADLI Law, Bird and Bird Law falsely claimed that Bird, Landis and Bird
                     Law never represented Hellings.
 25

 26          245.    Hellings formally engaged Bird Law, Bird and Landis pursuant to the Hellings/Bird

 27   Law Engagement Agreement that expressly identified Hellings as their client, as alleged above.

 28          246.                                                                 Hellings’ attorney.
                     Bird subsequently held herself out to Hellings and others as Hellings'
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  1          247.    Bird and Landis, including while Landis was Senior Counsel for ADLI Law,

  2   provided legal advice to Hellings from 2018 into 2020.

  3          248.    On or about July 16, 2020, Hellings'
                                                Hellings’ counsel requested that Bird, Landis, Bird Law

  4   and ADLI Law provide Hellings the "totality
                                        “totality of [their] file related to"
                                                                          to” their representation of

  5            “in connection with the formation of SW Ventures and his involvement in that entity.”
      Hellings "in                                                                          entity."

  6          249.    Bird and Landis did not provide Hellings with his client file.

  7          250.    Notwithstanding the express language of the Hellings/Bird Law Engagement

  8   Agreement, Bird, Landis, Bird Law and ADLI Law asserted in Landis and ADLI Law’s
                                                                                 Law's letter dated

  9   July 24, 2020 that Bird and Landis "do
                                         “do not, and have never, represented Mr. Hellings in his

 10            capacity.”
      personal capacity."

 11          251.    Bird, Landis, Bird Law and ADLI Law’s
                                                     Law's claim that Bird and Landis "do
                                                                                      “do not, and

 12                                                        capacity” was false.
      have never, represented Mr. Hellings in his personal capacity"

 13          252.    Bird and Bird Law subsequently admitted after the instant lawsuit was filed that Bird

 14   and Bird Law did represent Hellings, however, they now claim that their representation of Hellings

 15   ended in or about May 2018. Bird and Bird Law have not identified any document or

 16   communication reflecting that their representation of Hellings ended in or about May 2018 and no

 17   such documentation exists.

 18          3. Landis and ADLI Law threaten criminal, administrative and/or disciplinary charges to
                obtain an advantage in a civil dispute against Hellings in violation of California Rule of
 19             Professional Conduct 3.10.

 20          253.    In their letter dated July 24, 2020, Landis and ADLI Law attempted to bully Hellings

 21   into walking away from his substantial investment in SW Ventures in exchange for essentially no

 22   meaningful compensation.

 23          254.    Landis and ADLI Law’s
                                     Law's letter further stated that SW Ventures was providing

 24                 “chance to recoup funds …
      Hellings this "chance                 ... without elevating matters to potential involvement of

 25   regulatory or law enforcement authorities."
                                    authorities.”

 26          255.    Plaintiffs are informed and believe and thereon allege that Landis and ADLI Law’s
                                                                                                 Law's

 27   letter constituted a threat to present criminal, administrative and/or disciplinary charges to obtain an

 28   advantage in a civil dispute within the meaning of California Rule of Professional Conduct 3.10.
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  1          4.      Landis, Bird, ADLI Law, Chan and SW Ventures induced Plaintiffs to delay filing
                     the instant action by promising to provide documentation supporting the purported
  2                                  Hellings’ interest in SW Ventures only to fail to provide any such
                     termination of Hellings'
                     documentation.
  3

  4          256.    From July 24, 2020 until September 11, 2020, Landis, ADLI Law, Bird, SW

  5   Ventures and Chan repeatedly promised to provide Hellings with the evidence they claim supported

  6                                Hellings’ interest in SW Ventures.
      the purported termination of Hellings'

  7          257.    For example, in Landis and ADLI Law’s
                                                     Law's July 24, 2020 letter, Landis, ADLI Law,

  8   and their clients, Bird, Chan and SW Ventures, stated that they would provide Hellings with

  9   “documentation of Mr. Hellings'
      "documentation        Hellings’ actions for which he was removed upon execution of a

 10                   agreement.”
      confidentiality agreement."

 11          258.    Plaintiffs did execute a confidentiality agreement as requested and Bird and Landis

 12        Plaintiffs’ counsel that Chan and Bird would execute the confidentiality agreement and provide
      told Plaintiffs'

 13   a counter-signed copy along with, inter alia, documents supporting Hellings'
                                                                         Hellings’ purported expulsion

 14   from SW Ventures and Bird's
                           Bird’s and Habermehl's
                                      Habermehl’s claimed right to an ownership interest in SW

 15   Ventures.

 16          259.    After nearly two months of stalling, on September 11, 2020, Landis and ADLI Law

 17   represented that they would provide promised documentation by September 14, 2020.

 18          260.    Although Defendants repeatedly represented that they would provide Plaintiffs with

 19                                                      Hellings’ interest in SW Ventures, they have
      documents regarding their purported termination of Hellings'

 20   not done so.

 21          261.    Based upon, inter alia, Chan, Bird, Landis and ADLI Law’s
                                                                         Law's drawn out and

 22   unfulfilled promises to execute the agreed-upon confidentiality agreement and provide Hellings

 23   with documents supporting the purported termination of his interest in SW Ventures, Plaintiffs are

 24                                                      defendants’ promises were merely a tactic
      informed and believe and thereon allege that those defendants'

 25   designed to cause Plaintiffs to compromise their rights and delay filing the instant action in order

 26   for Chan, Bird and Habermehl to exploit SW Ventures for their personal benefit and for Chan to

 27   secretly seek to sell SW Ventures and/or its assets.

 28   ////
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  1           5. Bird, Landis and ADLI Law provided a detailed verbal report that confirmed that there
                 was no basis to oust Hellings from SW Ventures.
  2

  3           262.    At Bird, Landis and ADLI Law’s
                                               Law's request, they had a lengthy telephone call with

  4   Plaintiffs’ attorneys on August 31, 2020.
      Plaintiffs'

  5           263.    In that call, Bird, Landis and ADLI Law purported to describe the evidence upon

  6   which Bird and Chan relied in ousting Hellings from SW Ventures.

  7           264.    Bird, Landis and ADLI Law stated that Hellings was ousted due to his having

  8                                                                                              “Pierre-
      allegedly allowed a third party, Mr. Rendhel Pierre-Louis, and his associates (hereinafter "Pierre-

  9   Louis”),
      Louis"), to engage in gray or black-market cannabis activity from SW Ventures'
                                                                           Ventures’ facility.

 10           265.    Providing some background information related to SW Ventures'
                                                                          Ventures’ relationship with

 11   Pierre-Louis:

 12           266.    After SW Ventures opened its doors, Habermehl introduced Pierre-Louis to SW

 13   Ventures as a source of potential business for SW Ventures on or about May 8, 2020. This date

 14                  Bird’s putting into motion her plan to oust Hellings from SW Ventures.
      coincided with Bird's

 15           267.    Hellings conducted a reasonable investigation into Pierre-Louis'
                                                                         Pierre-Louis’ bona fides,

 16                          Habermehl’s recommendation of Pierre-Louis. After conducting such
      including relying upon Habermehl's

 17   reasonable investigation, Hellings negotiated a verbal contract with Pierre-Louis on behalf of SW

 18   Ventures by which Pierre-Louis would be allowed to process cannabis and sell product at SW

 19   Ventures’ facility for a fee.
      Ventures'

 20           268.    As part of the deal to which Hellings agreed on behalf of SW Ventures, Pierre-Louis

 21   paid a $105,000 advance to SW Ventures, which funds were used by SW Ventures to pay a deposit

 22   to a company called Family Florals for future product supplies. Chan was aware of the deal with

 23   Pierre-Louis and the fact that Pierre-Louis advanced $105,000 to SW Ventures to fund the Family

 24   Florals contract.

 25           269.    Pierre-Louis began lawfully selling product from SW Ventures'
                                                                          Ventures’ facility on or about

 26   May 16, 2020.

 27           270.    In order to ensure compliance with the California Code of Regulations, SW Ventures

 28          “track and trace"
      used a "track     trace” software program called Metrc. Hellings took reasonable steps to ensure
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  1   that product sold by Pierre-Louis was entered into Metrc and that Metrc verified that such product

  2   was being sold only to licensed customers.

  3          271.    SW Ventures'
                        Ventures’ working relationship with Pierre-Louis was brief. After about a week

  4      Pierre-Louis’ selling product from SW Ventures'
      of Pierre-Louis'                         Ventures’ facility, Hellings became concerned, but could

  5   not confirm, that one of the licensed cannabis distributors to which Pierre-Louis was selling

  6   product, Kanna Kingdom, might be distributing product into the gray or black market.

  7          272.    Hellings never knowingly participated in any gray or black-market activity.

  8          273.    Upon becoming suspicious of Pierre-Louis, Hellings attempted to terminate SW

  9   Ventures’ business relationship with Pierre-Louis.
      Ventures'

 10          274.    When Hellings attempted to terminate SW Ventures'
                                                             Ventures’ relationship with Pierre-Louis,

 11   Pierre-Louis began threatening Hellings and refused to leave SW Ventures'
                                                                      Ventures’ facility.

 12          275.                              Bird’s assistance in terminating SW Ventures'
                     Hellings therefore sought Bird's                              Ventures’ relationship

 13   with Pierre-Louis. Hellings attempted to discuss his concerns about Pierre-Louis with Bird during

 14   the week of May 26, 2020; however, Bird was not readily available to speak with him until on or

 15   about June 2, 2020.

 16          276.    On or about June 2, 2020, Hellings made clear to Bird that he wanted to terminate

 17   SW Ventures'
         Ventures’ business relationship with Pierre-Louis.

 18          277.                     Pierre-Louis’ access to the SW Ventures facility by disabling a key
                     Hellings blocked Pierre-Louis'

 19   fob Pierre-Louis had been provided.

 20          278.    Bird then took control of SW Ventures'
                                                  Ventures’ relationship with Pierre-Louis and, over

 21   Hellings’ objection, (a) caused Pierre-Louis'
      Hellings'                       Pierre-Louis’ access to SW Ventures'
                                                                 Ventures’ facility to be restored, (b)

 22   continued to allow Pierre-Louis to operate at the facility, and (c) negotiated with Pierre-Louis

 23   toward a written contract by which Pierre-Louis could continue using the SW Ventures facility to

 24   process and/or sell cannabis products.

 25          279.    On August 31, 2020, Bird, Landis, (and Chan through Landis) admitted:

 26                  a.      By on or about June 2, 2020, Hellings had insisted to Bird that SW Ventures

 27                          immediately terminate its relationship with Pierre-Louis;

 28                  b.      By on or about June 2, 2020, Bird had been advised that Pierre-Louis might
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  1                          be selling to a distributor that might be engaged in gray or black-market

  2                          activity; and

  3                   c.     After on or about June 2, 2020, "everyone"
                                                             “everyone” at SW Ventures (presumably

  4                          including Bird, Chan and Habermehl) except Hellings agreed that SW

  5                          Ventures should formalize a deal with Pierre-Louis; however, Hellings (and

  6                          only Hellings) insisted that SW Ventures immediately remove Pierre-Louis

  7                          from SW Ventures'
                                     Ventures’ facility.

  8            280.                   Hellings’ insistence that SW Ventures immediately terminate its
                      Notwithstanding Hellings'

  9   relationship with Pierre-Louis, Bird, Chan and Habermehl permitted Pierre-Louis to continue

 10   selling cannabis product that they were aware might enter the gray or black market until some days

 11   later.

 12            281.                                   Hellings’ interactions with Pierre-Louis as a
                      Bird and Chan subsequently used Hellings'

 13   pretext to execute their plan to oust Hellings from SW Ventures.

 14            282.   Plaintiffs are informed and believe and thereon allege that, after ousting Hellings

 15   from SW Ventures, Chan, Bird and Habermehl entered into an arrangement with one of Pierre-

 16   Louis’s
      Louis's cohorts to operate at SW Ventures'
                                       Ventures’ facility for their own financial gain and in a manner that

 17   violated California law and SW Ventures'
                                     Ventures’ conditional use permit.

 18            283.   Bird, Landis and ADLI Law stated that Hellings was ousted due to his having

 19   allegedly allowed Pierre-Louis, to engage in gray or black-market cannabis activity from SW

 20   Ventures’ facility, as alleged above.
      Ventures'

 21            284.   Engaging in black market cannabis sales is a violation of California law.

 22            285.   In the event Bird or Chan believed that Hellings or anyone else had engaged in black

 23   market cannabis activity at the SW Ventures facility, they were required by law to report such

 24   activity to the Bureau of Cannabis Control and local law enforcement. Plaintiffs are informed and

 25   believe and thereon allege that no one at SW Ventures reported any such conduct to the Bureau of

 26   Cannabis Control or local law enforcement.

 27            286.   Bird and Landis (and Chan through Landis), also admitted on August 31, 2020 that,

 28   as of August 31, 2020:
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  1                  a. They were unable to identify any financial transaction that would constitute a

  2                               Hellings’ fiduciary duty to SW Ventures other than Bird's
                        breach of Hellings'                                          Bird’s (erroneous)

  3                     claim that Hellings did not have the authority to accept an advance from Pierre-

  4                     Louis; and

  5                  b. The only evidence that they claimed confirmed any gray or black-market activity

  6                     by Pierre-Louis was adduced through Bird, Landis and ADLI Law’s
                                                                                  Law's interview of

  7                     Hellings and that, upon Hellings'
                                                Hellings’ statements in that interview, Bird decided to

  8                     oust Hellings from SW Ventures (in fact, even Bird herself on August 31, 2020

  9                     made clear that Hellings merely suspected that Pierre-Louis might have been

 10                     engaging in gray market cannabis activity and thereafter insisted that SW

 11                     Ventures desist all activity with Pierre-Louis).

 12   N.     Hellings advanced $105,000 to SW Ventures to repay Pierre-Louis; after wrongfully
             purporting to expel Hellings from SW Ventures, Bird and Chan recouped Hellings'
                                                                                     Hellings’
 13          money but refused to return it to Hellings.

 14          287.    As alleged above, Pierre-Louis advanced $105,000 to SW Ventures that SW

 15   Ventures used to fund a contract with Family Florals.

 16          288.    At or about the time Hellings attempted to terminate SW Ventures'
                                                                             Ventures’ relationship with

 17   Pierre-Louis, Pierre-Louis demanded to be repaid the $105,000.

 18          289.    SW Ventures did not have the $105,000 to repay Pierre-Louis because that money

 19   had already been paid to Family Florals.

 20          290.    On or about June 5, 2020, Hellings advanced $105,000 to SW Ventures for SW

 21   Ventures to repay Pierre-Louis.

 22          291.    After purporting to expel Hellings from SW Ventures, SW Ventures sold the Family

 23   Florals contract to NewTropic for $100,000.

 24          292.    On August 31, 2020, Bird stated that the $100,000 received from NewTropic may

 25   have been paid to Chan rather than to SW Ventures and promised to provide Hellings with

 26   documentation confirming the disposition of those funds, but she failed to do so.

 27          293.    The $100,000 that NewTropic paid to SW Ventures and/or Chan for the Family

 28   Florals contract can be traced directly to the $105,000 that Hellings advanced to SW Ventures on or
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  1   about June 5, 2020 and belongs to Hellings.

  2          294.   SW Ventures and Chan have failed and refused to return that money to Hellings.

  3   O.     SW Ventures and Chan agree that Hellings was improperly ousted from SW Ventures
             but continue to refuse to allow Hellings necessary access to SW Ventures'
                                                                             Ventures’ records and
  4          facility.

  5          295.   After the instant lawsuit was filed, SW Ventures hired a new attorney to, inter alia,

  6   “conduct an inquiry into the membership of SW Ventures, LLC.”
      "conduct                                                LLC."

  7          296.   On March 26, 2020, SW Ventures circulated a memorandum (the "SW
                                                                                “SW Ventures'
                                                                                    Ventures’

  8              Memo”) that set forth its position related to SW Ventures'
      Membership Memo")                                           Ventures’ ownership and the validity

  9      Bird’s and Chan's
      of Bird's     Chan’s ouster of Hellings.

 10          297.   In the SW Ventures'
                              Ventures’ Membership Memo, SW Ventures set forth the following

 11   positions:

 12                    Bird’s attempt to convert SW Ventures into a manager-managed limited liability
                    g. Bird's

 13                     company was ineffective and SW Ventures at all times remained a member-

 14                     managed company;

 15                 h. SW Ventures'
                          Ventures’ members as of March 26, 2021, were WYS Consulting and

 16                     RAMM Ventures, LLC;

 17                        Consulting’s members are Hellings and Chan with Chan owning a
                    i. WYS Consulting's

 18                     (roughly) sixty percent (60%) interest and Hellings owning a (roughly) forty

 19                     percent (40%) interest;

 20                 j. Neither Bird nor Habermehl ever acquired a membership interest in SW

 21                     Ventures;

 22                 k. SW Ventures does not have a valid operating agreement with any governance

 23                     provisions; and

 24                 l. All actions of SW Ventures'
                    1.                   Ventures’ purported board of managers, including the

 25                     purported actions at the June 24, 2020 and July 1, 2020 meeting as herein

 26                     alleged, are null and void.

 27          298.   On March 30, 2021, Chan, through his attorney, asserted in writing that he agreed

 28   with the conclusions and assertions in the SW Ventures'
                                                    Ventures’ Membership Memo.
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  1          299.    Thus, as of March 30, 2021, both SW Ventures and Chan acknowledge that

  2   Hellings’ purported ouster from his positions with SW Ventures was void and invalid.
      Hellings'

  3          300.    Chan and SW Ventures are in possession of the records of SW Ventures and WYS

  4   Consulting.

  5          301.    Despite the fact that SW Ventures and Chan have acknowledged that the actions

  6   purporting to oust Hellings were null and void, they have failed to provide Hellings with access to

  7   SW Ventures'
         Ventures’ records and facility or to recognize Hellings'
                                                        Hellings’ rights as the president of SW Ventures.

  8          302.    Hellings has requested in writing to inspect and copy the records of SW Ventures

  9   pursuant to, inter alia, California Corporations Code section 17704.10.

 10          303.    Plaintiffs are informed and believe and thereon allege that Chan, and SW Ventures

 11   while being controlled by Chan, have not provided Hellings with access to SW Ventures'
                                                                                   Ventures’ records

 12   and facility in order to shield Chan from evidence that he has breached his duty to SW Ventures by,

 13   inter alia, allowing unlawful operations in SW Ventures'
                                                     Ventures’ facility.

 14          304.    As a result of Defendants'
                                    Defendants’ tortious conduct alleged herein, Hellings was required to

 15   act in the protection of his interests in SW Ventures and was forced to lose time and incur

 16   attorneys’ fees and other expenditures in order to protect his interest.
      attorneys'

 17                                       FIRST CAUSE OF ACTION

 18                                    PROFESSIONAL NEGLIGENCE

 19                 (Hellings Against Bird, Landis, Bird Law, ADLI Law and Does 1-50)

 20          305.    Plaintiffs incorporate all of the foregoing allegations as though fully set forth herein.

 21          306.    In acting as counsel for Hellings and providing legal services to Hellings, including,

 22   inter alia, the acts and omissions alleged herein, Bird, Landis, Bird Law and ADLI Law failed to

 23   provide those services in accordance with the standards of care applicable to attorneys practicing

 24   law in the State of California, including, inter alia, failing to exercise due care to protect Hellings'
                                                                                                     Hellings’

 25   best interests, breaching their duties of competence, loyalty, communication, disclosure, honesty

 26                         California’s Rules of Professional Conduct and failing to use such skill,
      and candor, violating California's

 27   prudence and diligence as members of the profession commonly possess and exercise.

 28          307.    The foregoing professional negligence by Bird Law, Bird, Landis and ADLI Law
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  1   caused damage to Hellings within the jurisdiction of this Court and in excess of $3,000,000.

  2                                      SECOND CAUSE OF ACTION

  3                                        CONSTRUCTIVE FRAUD

  4             (Hellings Against Bird, Landis, Bird Law, ADLI Law, Chan and Does 1-50)

  5           308.   Plaintiffs incorporate all of the foregoing allegations as though fully set forth herein.

  6           309.   Hellings had a fiduciary and/or confidential relationship with Bird, Landis, Bird Law

  7   and Chan at all relevant times beginning no later than in or about April 2018.

  8           310.   Hellings had a fiduciary and/or confidential relationship with ADLI Law at all

  9   relevant times beginning no later than in or about 2019.

 10           311.   At all relevant times, and at least through and including on or about June 24, 2020,

 11   Bird and Bird Law had a fiduciary obligation to disclose material facts to Hellings, including,

 12   inter alia, (a) that they purportedly were not representing Hellings in certain transactions and were

 13   not protecting his interests, (b) the existence of certain conflicts of interest vis-à-vis Hellings as

 14   alleged herein, (c) that Hellings could not rely on their fulfilling their fiduciary duties to Hellings;

 15                                 Bird’s and Bird Law’s
      (d) the information regarding Bird's                          “investigation” of Hellings, and (e)
                                                    Law's purported "investigation"

 16   Bird’s own dealings with Pierre-Louis and the scheme to reap the benefits of Hellings'
      Bird's                                                                       Hellings’ time, effort

 17   and monetary investment in SW Ventures for Bird and Chan's
                                                          Chan’s own personal gain by stripping

 18   Hellings of his interest in the company.

 19           312.   At all relevant times, and at least through and including on or about June 24, 2020,

 20   Landis had a fiduciary obligation to disclose material facts to Hellings, including, inter alia, (a) that

 21   he purportedly was not representing Hellings in certain transactions, (b) the existence of certain

 22   conflicts of interest vis-à-vis Hellings as alleged herein, (c) information regarding Landis’
                                                                                            Landis' purported

 23   “investigation” of Hellings, and (d) the scheme to reap the benefits of Hellings'
      "investigation"                                                         Hellings’ time, effort and

 24   monetary investment in SW Ventures for Bird and Chan's
                                                      Chan’s own personal gain by stripping Hellings

 25   of his interest in the company.

 26           313.   At all relevant times from in or about 2019, and at least through and including on or

 27   about June 24, 2020, ADLI Law had a fiduciary obligation to disclose material facts to Hellings,

 28   including, inter alia, (a) that ADLI Law purportedly was not representing Hellings in certain
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  1   transactions, (b) the existence of certain conflicts of interest vis-à-vis Hellings as alleged herein, (c)

  2   certain information regarding ADLI Law’s           “investigation,” and, (d) the scheme to reap
                                         Law's purported "investigation,"

  3                   Hellings’ time, effort and monetary investment in SW Ventures for Bird and Chan's
      the benefits of Hellings'                                                                  Chan’s

  4   own personal gain by stripping Hellings of his interest in the company.

  5           314.   At all relevant times and at least through and including on or about June 24, 2020,

  6   Chan had a fiduciary obligation to disclose material facts to Hellings, including, inter alia, (a) the

  7                                  Hellings’ time, effort and monetary investment in SW Ventures for
      scheme to reap the benefits of Hellings'

  8            Chan’s own personal gain by stripping Hellings of his interest in the company, (b) Chan's
      Bird and Chan's                                                                             Chan’s

  9   self-dealing with SW Ventures'
                           Ventures’ assets, (c) Chan's
                                                 Chan’s manipulation of the public record regarding

 10   WYS Consulting and SW Ventures, (d) Chan's
                                          Chan’s attempts to sell SW Ventures and/or its assets for

 11   Chan’s own benefit and (e) Chan's
      Chan's                     Chan’s unlawful use of the SW Ventures license and facility.

 12           315.   Defendants failed to disclose such facts to Hellings as alleged herein.

 13           316.   Plaintiffs are informed and believe and thereon allege that, in failing to disclose the

 14   facts that Defendants failed to disclose, Defendants intended to deceive Hellings.

 15           317.                        Defendants’ representations alleged herein and the fact that they
                     Hellings relied upon Defendants'

 16   would disclose to him the material facts including, inter alia, the material facts herein alleged.

 17           318.   As a result of Defendants'
                                    Defendants’ constructive fraud, Hellings has been damaged in an

 18   amount within the jurisdiction of this Court and in excess of $3,000,000.

 19           319.   The above-described conduct of Defendants was willful, fraudulent and malicious,

 20   and was intended to cause injury to Hellings. Defendants are therefore liable for exemplary or

 21   punitive damages.

 22                                         THIRD CAUSE OF ACTION

 23                                    BREACH OF FIDUCIARY DUTY

 24             (Hellings Against Bird, Landis, Bird Law, ADLI Law, Chan and Does 1-50)

 25           320.   Plaintiffs incorporate all of the foregoing allegations as though fully set forth herein.

 26           321.   As legal counsel to Hellings, Bird, Landis, Bird Law and ADLI Law each owed

 27   Hellings the duties of a fiduciary.

 28           322.   As a co-member of SW Ventures and/or WYS Consulting, Chan owed Hellings the
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  1   duties of a fiduciary.

  2          323.    As purported members of SW Ventures'
                                                Ventures’ (illegitimate) board of managers, Bird and

  3   Chan owed Hellings the duties of a fiduciary.

  4          324.    By their acts and omissions alleged herein, Defendants, and each of them, breached

  5   their respective fiduciary duties to Hellings.

  6          325.    The forgoing breaches of fiduciary duty by Defendants caused damage to Hellings

  7   within the jurisdiction of this Court and in excess of $3,000,000.

  8          326.    The above-described conduct of Defendants was willful, fraudulent and malicious,

  9   and was intended to cause injury to Hellings. Defendants, and each of them, are therefore liable for

 10   exemplary or punitive damages.

 11                                     FOURTH CAUSE OF ACTION

 12                    AIDING AND ABETTING BREACH OF FIDUCIARY DUTY

 13             (Hellings Against Bird, Landis, Bird Law, ADLI Law, Chan and Does 1-50)

 14          327.    Plaintiffs incorporate all of the foregoing allegations as though fully set forth herein.

 15          328.    Bird, Landis, Bird Law, ADLI Law and Chan each aided and abetted their co-

 16   defendants’ breaches of their respective fiduciary duties to Hellings.
      defendants'

 17          329.    By aiding and abetting their fellow fiduciaries’
                                                         fiduciaries' breaches of fiduciary duty as alleged

 18   herein, Defendants caused damage to Hellings within the jurisdiction of this Court and in excess of

 19   $3,000,000.

 20          330.    The above-described conduct of Defendants was willful, fraudulent and malicious,

 21   and was intended to cause injury to Hellings. Defendants are therefore liable for exemplary or

 22   punitive damages.

 23                                       FIFTH CAUSE OF ACTION

 24                                       BREACH OF CONTRACT

 25                        (Hellings against Bird, Landis, Bird Law and Does 1-50

 26          331.    Plaintiffs incorporate all of the foregoing allegations as though fully set forth herein.

 27          332.    Hellings, on the one hand, and the Bird Law Attorneys, on the other hand, entered

 28   into the Hellings/Bird Law Engagement Agreement by which the Bird Law Attorneys agreed to
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  1   provide legal services to Hellings.

  2           333.   Pursuant to the Hellings/Bird Law Engagement Agreement, the Bird Law Attorneys

  3   agreed, inter alia, (a) that they would not advise a client as to any matters upon which an actual

  4   conflict of interest developed among more than one client, (b) that they would not advise a client as

  5   to any matters upon which an actual conflict of interest developed among a client and another

  6   client, and (c) that, in the event that any conflict, dispute or disagreement arose between clients, or

  7   between client(s) and any other client, they would decline to represent any of the clients in

  8   connection with that dispute or disagreement.

  9           334.   Hellings has performed all conditions, covenants and promises required on his part

 10   under the Hellings/Bird Law Engagement Agreement, except for any performance excused by the

 11   acts and omissions of the Bird Law Attorneys.

 12           335.   Bird breached the Hellings/Bird Law Engagement Agreement by, inter alia, (a)

 13   representing SW Ventures with respect to the SW Ventures Lease, and (b) representing SW

 14                                             “investigation” and purported expulsion of Hellings.
      Ventures in connection with the purported "investigation"

 15           336.   Landis breached the Hellings/Bird Law Engagement Agreement by, inter alia, (a)

 16   representing SW Ventures with respect to the SW Ventures Lease, (b) representing SW Ventures in

 17                                 “investigation” and purported expulsion of Hellings, (c) representing
      connection with the purported "investigation"

 18   SW Ventures, Bird, Bird Law and Chan in connection with the instant dispute regarding Hellings'
                                                                                            Hellings’

 19   ownership and other interests in SW Ventures and (d) assisting Chan by executing a Statement of

 20   Information falsely claiming Chan to be the sole member of WYS Consulting and causing that

 21   document to be filed with the California Secretary of State’s
                                                            State's office.

 22           337.   Bird Law breached the Hellings/Bird Law Engagement Agreement by, inter alia, (a)

 23   representing SW Ventures with respect to the SW Ventures Lease, and (b) representing SW

 24                                             “investigation” and purported expulsion of Hellings.
      Ventures in connection with the purported "investigation"

 25           338.   Hellings has been damaged by Bird, Landis and Bird Law’s
                                                                        Law's breaches of contract in

 26   an amount to be proven at trial and in excess of $3,000,000.

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  1                                      SIXTH CAUSE OF ACTION

  2                 BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING

  3                  (Hellings Against Bird, Landis, Bird Law and DOES 1 through 50)

  4          339.    Plaintiffs incorporate all of the foregoing allegations as though fully set forth herein.

  5          340.    Hellings entered into the Hellings/Bird Law Engagement Agreement by which the

  6   Bird Law Attorneys agreed to provide legal services to Hellings.

  7          341.    Hellings has performed all conditions, covenants and promises required on his part

  8   under the Hellings/Bird Law Engagement Agreement, except for any performance excused by the

  9   acts and omissions of the Bird Law Attorneys.

 10          342.    Hellings is informed and believes and thereon alleges that the Bird Law Attorneys

 11   have unfairly interfered with Hellings'
                                    Hellings’ rights to receive the benefits of the Hellings/Bird Law

 12   Engagement Agreement as herein alleged.

 13          343.    Hellings has been damaged by the Bird Law Attorneys'
                                                               Attorneys’ breaches of the implied

 14   covenant of good faith and fair dealing in an amount to be proven at trial and in excess of

 15   $3,000,000.

 16                                    SEVENTH CAUSE OF ACTION

 17                 BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING

 18                           (Hellings Against Chan and DOES 1 through 50)

 19          344.    Plaintiffs incorporate all of the foregoing allegations as though fully set forth herein.

 20          345.    Hellings entered into various business agreements with Chan related to WYS

 21   Consulting and SW Ventures.

 22          346.    Hellings has performed all conditions, covenants and promises required on his part

 23   under those agreements related to WYS Consulting and SW Ventures, except for any performance

 24   excused by the acts and omissions of Chan.

 25          347.    Hellings is informed and believes and thereon alleges that Chan has unfairly

 26                   Hellings’ rights to receive the benefits of the agreements related to WYS Consulting
      interfered with Hellings'

 27   and SW Ventures as herein alleged.

 28          348.    Hellings has been damaged by Chan's
                                                  Chan’s breaches of the implied covenant of good
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  1   faith and fair dealing in an amount to be proven at trial and in excess of $3,000,000.

  2                                      EIGHTH CAUSE OF ACTION

  3                  DECLARATORY RELIEF: IMPOSITION OF CONSTRUCTIVE

  4                                AND/OR RESULTING TRUST ($100,000)

  5                          (Hellings Against SW Ventures, Chan and Does 1-50)

  6           349.    Plaintiffs incorporate all of the foregoing allegations as though fully set forth herein.

  7           350.   Hellings contends that, inter alia, the $100,000 received from NewTropic in

  8   exchange for the Family Florals contract should be declared to be held in trust, whether constructive

  9   or resulting, for the benefit of Hellings.

 10           351.   Hellings is informed and believes and thereon alleges that SW Ventures and Chan

 11   contend that some or all of those assets belong to SW Ventures and/or Chan.

 12           352.   Hellings desires a declaration of the parties'
                                                           parties’ respective rights and duties with respect

 13   to such $100,000. Specifically, Hellings seeks a declaration that all such $100,000 belong to

 14   Hellings and that SW Ventures and Chan hold such $100,000 as constructive and/or resulting

 15   trustees for Hellings, as well as any and all additional relief the Court deems appropriate.

 16           353.    Such declarations are necessary and appropriate at this time under the circumstances

 17   in order that the parties may determine their respective rights and duties with respect to the

 18   $100,000. The unsettled state of affairs with respect to this issue has and will continue to prejudice

 19   the rights of Hellings.

 20                                       NINTH CAUSE OF ACTION

 21                                                CONVERSION

 22                          (Hellings Against SW Ventures, Chan and Does 1-50)

 23           354.    Plaintiffs incorporate all of the foregoing allegations as though fully set forth herein.

 24           355.   At all relevant times, Hellings has been the owner of, and had a right to possession

 25   to, the $100,000 paid by NewTropic.

 26           356.    SW Ventures and Chan have wrongfully converted those funds to their own

 27   unauthorized use.

 28           357.   Hellings has been damaged by SW Ventures and Chan's
                                                                  Chan’s tortious conversion of such
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  1   funds in an amount to be proven at trial and in the amount of at least $100,000.

  2           358.   The above-described conduct of SW Ventures and Chan was willful, fraudulent and

  3   malicious, and was intended to cause injury to Hellings. SW Ventures and Chan are therefore liable

  4   for exemplary or punitive damages.

  5                                      TENTH CAUSE OF ACTION

  6                                  BREACH OF PROMISSORY NOTE

  7                             (Hellings Against SW Ventures and Does 1-50)

  8           359.   Plaintiffs incorporate all of the foregoing allegations as though fully set forth herein.

  9           360.   Hellings and SW Ventures entered into a lawful written contract consisting of the

 10   Hellings Note in which SW Ventures agreed to pay Hellings the principal sum of any funds

 11   disbursed in accordance with the Hellings Note up to $400,000.00, with interest thereon.

 12           361.   Hellings loaned SW Ventures at least $199,356 pursuant to the Hellings Note.

 13           362.   Hellings has performed all of his obligations under the Hellings Note.

 14           363.   SW Ventures has breached the terms of the Hellings Note by failing to repay the

 15   note or any of the interest thereon.

 16           364.   Hellings has been damaged by SW Ventures'
                                                     Ventures’ breach of the Hellings Note in an

 17   amount to be proven at trial and in the principal sum of at least $199,356 plus interest thereon.

 18                                   ELEVENTH CAUSE OF ACTION

 19                                    MONEY HAD AND RECEIVED

 20                             (Hellings Against SW Ventures and Does 1-50)

 21           365.   Plaintiffs incorporate all of the foregoing allegations as though fully set forth herein.

 22           366.   SW Ventures became indebted to Hellings in the sum of at least $554,000 for money

 23   had and received by SW Ventures for its use and benefit.

 24           367.   Hellings has demanded payment from SW Ventures. Despite Hellings'
                                                                             Hellings’ demand, no

 25   portion of the $554,000 has been repaid.

 26           368.   There is now due and owing from SW Ventures to Hellings at least $554,000 plus

 27   interest thereon.

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  1                                    TWELFTH CAUSE OF ACTION

  2                                        MONEY PAID OR LENT

  3                               (Hellings Against SW Ventures and Does 1-50)

  4          369.    Plaintiffs incorporate all of the foregoing allegations as though fully set forth herein.

  5          370.    SW Ventures has become indebted to Hellings in the sum of at least $554,000 for

  6   money paid or lent by Hellings to SW Ventures at its request.

  7          371.    Hellings has demanded payment from SW Ventures. Despite Hellings'
                                                                             Hellings’ demand, no

  8   portion of the at least $554,000 has been repaid.

  9          372.    There is now due and owing from SW Ventures to Hellings at least $554,000 plus

 10   interest thereon.

 11                                  THIRTEENTH CAUSE OF ACTION

 12                 QUASI CONTRACT / UNJUST ENRICHMENT / RESTITUTION

 13                         (Hellings Against SW Ventures, Chan and Does 1-50)

 14          373.    Plaintiffs incorporate all of the foregoing allegations as though fully set forth herein.

 15          374.    SW Ventures and Chan have knowingly received and accepted Hellings'
                                                                               Hellings’ $105,000

 16   and the $100,000 from NewTropic, and Hellings'
                                           Hellings’ unpaid labor, as herein alleged under

 17   circumstances in which it would be unjust, and at the expense of Hellings, for SW Ventures and

 18   Chan to retain such sums.

 19          375.    SW Ventures and Chan have been unjustly enriched to Hellings'
                                                                         Hellings’ detriment and

 20   damage and Hellings is entitled to restitution in an amount to be proven at trial and in the sum of at

 21   least $100,000.

 22                                  FOURTEENTH CAUSE OF ACTION

 23    FAILURE TO TIMELY PAY WAGES DUE UPON TERMINATION OF EMPLOYMENT

 24                             (Hellings Against SW Ventures and Does 1-50)

 25          376.    Plaintiffs incorporate all of the foregoing allegations as though fully set forth herein.

 26          377.    California Labor Code sections 201 and 202 requires SW Ventures to pay its

 27   employees all wages due immediately upon termination of employment. Labor Code section 203

 28   provides that if an employer willfully fails to timely pay such wages the employer must, as a
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  1   penalty, continue to pay the subject employee’s
                                           employee's wages until the back wages are paid in full or an

  2   action is commenced. The penalty cannot exceed thirty (30) days of wages.

  3          378.    Hellings was entitled to all accrued wages and compensation due, immediately upon

  4   the purported termination of his employment with SW Ventures; however, SW Ventures has failed

  5   and refused to pay such wages and compensation.

  6          379.    As a consequence of SW Ventures'
                                            Ventures’ willful conduct in failing to pay wages and

  7                                                            days’ wages as a penalty, together with
      compensation earned, Hellings is entitled to thirty (30) days'

  8                        attorneys’ fees and costs pursuant to Labor Code sections 218.5 and 1194,
      interest thereon and attorneys'

  9   Code of Civil Procedure section 1021.5 and/or any other applicable statute.

 10                                   FIFTEENTH CAUSE OF ACTION

 11           FAILURE TO TIMELY PAY ALL WAGES DUE UPON TERMINATION OF

 12                                             EMPLOYMENT

 13                             (Theresa Against SW Ventures and Does 1-50)

 14          380.    Plaintiffs incorporate all of the foregoing allegations as though fully set forth herein.

 15          381.     Theresa is entitled to all accrued wages and compensation due; however, SW

 16   Ventures has failed and refused to pay such wages and compensation.

 17          382.    As a consequence of SW Ventures'
                                            Ventures’ willful conduct in failing to pay wages and

 18   compensation earned, Theresa is entitled to thirty (30) days'
                                                              days’ wages as a penalty, together with

 19                        attorneys’ fees and costs pursuant to Labor Code sections 218.5 and 1194,
      interest thereon and attorneys'

 20   Code of Civil Procedure section 1021.5 and/or any other applicable statute.

 21                                    SIXTEENTH CAUSE OF ACTION

 22              TO RECOVER FRAUDULENT TRANSFER (Cal. Civ. Code § 3439 et seq.)

 23                           (Hellings Against SW Ventures, Chan and Does 1-50)

 24          383.    Plaintiffs incorporate all of the foregoing allegations as though fully set forth herein.

 25          384.    Plaintiffs are informed and believe and thereon allege that SW Ventures made the

 26   herein described transfers to Chan (a) with the actual intent to hinder, delay, or defraud creditors of

 27   SW Ventures, including Plaintiffs, and/or (b) without receiving a reasonably equivalent value in

 28   exchange for the transfer and SW Ventures either: (1) was engaged in, or was about to engage in, a
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  1   business or a transaction for which its remaining assets were unreasonably small in relation to the

  2   business or transaction, and/or (2) SW Ventures intended to incur, or believed or reasonably should

  3   have believed that it would incur, debts beyond SW Ventures'
                                                         Ventures’ ability to pay as they became due.

  4                                 SEVENTEENTH CAUSE OF ACTION

  5                                    HABERMEHL’S CLAIMED OWNERSHIP
          DECLARATORY RELIEF (BIRD AND HABERMEHL'S

  6                     AND/OR MEMBERSHIP INTEREST IN SW VENTURES)

  7                   (Hellings against SW Ventures, Bird, Habermehl and Does 1-50)

  8           385.   Plaintiffs incorporate all of the foregoing allegations as though fully set forth herein.

  9           386.   Plaintiffs contend that neither Bird nor Habermehl, respectively, have held any

 10   ownership or membership interest in SW Ventures at any time.

 11           387.   Plaintiffs are informed and believe and thereon allege that Bird and Habermehl,

 12   respectively, contend that they have in fact held and do hold such ownership and/or membership

 13   interest in SW Ventures.

 14           388.   An actual controversy has arisen and now exists between Plaintiffs, on the one hand,

 15                                                            parties’ respective rights and duties with
      and Bird and Habermehl on the other hand, concerning the parties'

 16                       Habermehl’s respective claimed ownership and/or membership interests in SW
      respect to Bird and Habermehl's

 17   Ventures.

 18           389.                                                     parties’ respective rights and duties
                     Plaintiffs desire a judicial determination of the parties'

 19                            Habermehl’s respective claimed ownership and/or membership interests in
      with respect to Bird and Habermehl's

 20   SW Ventures.

 21           390.   A judicial determination is necessary and appropriate at this time under the

 22   circumstances in order that the parties may determine their respective rights and duties with respect

 23   to such issue. The unsettled state of affairs with respect to these issues has and will continue to

 24   prejudice the rights of Hellings.

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  1                                   EIGHTEENTH CAUSE OF ACTION

  2    DECLARATORY RELIEF / (HELLINGS IS PRESIDENT OF SW VENTURES AND HAS

  3                      RIGHT OF ACCESS TO ITS RECORDS AND FACILITY)

  4                          (Hellings against SW Ventures, Chan and Does 1-50)

  5           391.    Plaintiffs incorporate all of the foregoing allegations as though fully set forth herein.

  6           392.    Plaintiffs contend that Hellings is the president of SW Ventures with the rights

  7   attendant to his position as president, including, inter alia, to full access to SW Ventures records

  8   and facility.

  9           393.    Plaintiffs are informed and believe and thereon allege that SW Ventures and Chan

 10   refuse to recognize Hellings as SW Ventures'
                                         Ventures’ president and/or Hellings'
                                                                    Hellings’ rights as SW Ventures'
                                                                                           Ventures’

 11   president, including, inter alia, Hellings'
                                        Hellings’ right to full access of SW Ventures'
                                                                             Ventures’ records and facility.

 12           394.    An actual controversy has arisen and now exists between Plaintiffs, on the one hand,

 13   and SW Ventures and Chan, on the other hand, concerning the parties'
                                                                  parties’ rights and duties with

 14   respect to the office of president of SW Ventures.

 15           395.    Plaintiffs desire a judicial determination that Hellings is the president of SW

 16   Ventures with all rights attendant thereto, including, but not limited to, the right to access SW

 17   Ventures’ records and facility.
      Ventures'

 18           396.    A judicial determination is necessary and appropriate at this time under the

 19   circumstances in order that the parties may determine their respective rights and duties with respect

 20   to such issue. The unsettled state of affairs with respect to these issues has and will continue to

 21   prejudice the rights of Plaintiffs.

 22                                   NINETEENTH CAUSE OF ACTION

 23                             ENFORCEMENT OF INSPECTION RIGHTS

 24                          (Hellings against SW Ventures, Chan and Does 1-50)

 25           397.    Plaintiffs incorporate all of the foregoing allegations as though fully set forth herein.

 26           398.    As a member of WYS Consulting and as an owner of SW Ventures through WYS

 27   Consulting, Hellings has the right to inspect and copy records of those companies as set forth in,

 28   inter alia, California Corporations Code section 17704.10.
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  1          399.    Hellings has requested that SW Ventures and Chan permit him to inspect and copy

  2   records of the company pursuant to, inter alia, California Corporations Code section 17704.10.

  3           400.    Although Chan has indicated he is willing to permit such inspection and copying, as

  4   of the filing of this First Amended Complaint, SW Ventures and Chan have not done so. Chan and

  5   SW Ventures refusal to comply with Hellings'
                                         Hellings’ request is without justification.

  6                                   TWENTIETH CAUSE OF ACTION

  7                  DECLARATORY RELIEF (ALTER EGO LIABILITY OF CHAN)

  8                          (Hellings against Chan, SW Ventures and Does 1-50)

  9          401.    Plaintiffs incorporate all of the foregoing allegations as though fully set forth herein.

 10          402.    There exists a unity of interest and ownership among SW Ventures and Chan such

 11   that any individuality and separateness between those defendants has ceased and Chan is the alter

 12   ego of SW Ventures, in that Chan has, inter alia, (a) arrogated such control over SW Ventures that

 13   he unilaterally purported to expel Hellings without providing notice or voice to SW Ventures'
                                                                                          Ventures’

 14   members, (b) concealed SW Ventures'
                                Ventures’ true ownership, including causing the execution and/or

 15   filing of Statements of Information portraying a false ownership of SW Ventures and WYS

 16   Consulting, (c) secretly used SW Ventures'
                                       Ventures’ funds for his personal expenses without authorization,

 17   (d) exercised total control over SW Ventures, its assets and its facility, (e) secretly entered into

 18   illegal agreements for the use of SW Ventures'
                                           Ventures’ facility and licenses for his own personal benefit

 19   without consulting with SW Ventures'
                                 Ventures’ members or its president, (f) secretly attempted to sell SW

 20   Ventures’ assets for his own and exclusive financial benefit, (g) unilaterally and without notice to
      Ventures'

 21   SW Ventures'
         Ventures’ members declared himself SW Ventures'
                                               Ventures’ chief executive officer, and (h) exercised

 22   total dominion and control over SW Ventures'
                                         Ventures’ assets and monies without authorization or notice to

 23   SW Ventures'
         Ventures’ members and officers.

 24          403.    Adherence to the fiction of the separate existence between Chan and SW Ventures

 25   would permit an abuse of the corporate privilege and would sanction fraud, promote injustice and

 26   produce an inequitable result in that, inter alia, it would be inequitable for Chan to have taken the

 27   benefit of Hellings' and others' time and financial investment under the color of those investments

 28   having been for the benefit of SW Ventures only for Chan to wrongfully usurp SW Ventures and its
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  1   assets for his sole benefit.

  2           404.    An actual controversy has arisen and now exists between Hellings and Chan as to

  3   whether Chan is the alter ego of SW Ventures.

  4           405.    Hellings desires a judicial determination that Chan is the alter ego of SW Ventures

  5   and, accordingly, that Chan and SW Ventures are jointly and severally liable to Hellings for any

  6   and all damages suffered by Hellings and for all amounts owed to Hellings as alleged herein.

  7                                         PRAYER FOR RELIEF

  8           WHEREFORE, Plaintiffs pray for relief as follows:

  9   On the First Cause of Action for Professional Negligence:

 10           1.      For actual compensatory, consequential, incidental and/or special damages in an

 11   amount to be proven at trial and in excess of $3,000,000.00, including, inter alia, a claim for lost

 12         attorneys’ fees and other expenditures suffered or incurred pursuant to the tort of another
      time, attorneys'

 13   doctrine;

 14   On the Second Cause of Action for Constructive Fraud:

 15           1.      For actual compensatory, consequential, incidental and/or special damages in an

 16   amount to be proven at trial and in excess of $3,000,000.00, including, inter alia, a claim for lost

 17         attorneys’ fees and other expenditures suffered or incurred pursuant to the tort of another
      time, attorneys'

 18   doctrine;

 19           2.      For exemplary or punitive damages;

 20   On the Third Cause of Action for Breach of Fiduciary Duty:

 21           1.      For actual compensatory, consequential, incidental and/or special damages in an

 22   amount to be proven at trial and in excess of $3,000,000.00, including, inter alia, a claim for lost

 23         attorneys’ fees and other expenditures suffered or incurred pursuant to the tort of another
      time, attorneys'

 24   doctrine;

 25           2.      For exemplary or punitive damages;

 26   On the Fourth Cause of Action for Aiding and Abetting Breach of Fiduciary Duty:

 27           1.      For actual compensatory, consequential, incidental and/or special damages in an

 28   amount to be proven at trial and in excess of $3,000,000.00, including, inter alia, a claim for lost
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  1         attorneys’ fees and other expenditures suffered or incurred pursuant to the tort of another
      time, attorneys'

  2   doctrine;

  3          2.      For exemplary or punitive damages;

  4   On the Fifth Cause of Action for Breach of Contract:

  5          1.      For actual compensatory, consequential, incidental and/or special damages in an

  6   amount to be proven at trial and in excess of $3,000,000.00;

  7   On the Sixth Cause of Action for Breach of Covenant of Good Faith and Fair Dealing:

  8          1.      For actual compensatory, consequential, incidental and/or special damages in an

  9   amount to be proven at trial and in excess of $3,000,000.00;

 10   On the Seventh Cause of Action for Breach of Covenant of Good Faith and Fair Dealing:

 11          1.      For actual compensatory, consequential, incidental and/or special damages in an

 12   amount to be proven at trial and in excess of $3,000,000.00;

 13   On the Eighth Cause of Action for Declaratory Relief:

 14          1.      For a judicial declaration that the $100,000 received from NewTropic belongs to

 15   Hellings;

 16          2.      For imposition of a constructive trust and/or resulting trust for the benefit of Hellings

 17   over such $100,000;

 18   On the Ninth Cause of Action for Conversion:

 19          1.      For actual compensatory, consequential, incidental and/or special damages in an

 20   amount to be proven at trial and at least $100,000;

 21          2.      For exemplary or punitive damages;

 22   On the Tenth Cause of Action for Breach of Promissory Note:

 23          1.      For actual compensatory, consequential, incidental and/or special damages in an

 24   amount to be proven at trial and at least $199,356;

 25   On the Eleventh Cause of Action for Money Had and Received:

 26          1.      For actual compensatory, consequential, incidental and/or special damages in an

 27   amount to be proven at trial and at least $554,000;

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                                          OTHER RELIEF
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  1   On the Twelfth Cause of Action for Money Paid or Lent:

  2           1.      For actual compensatory, consequential, incidental and/or special damages in an

  3   amount to be proven at trial and at least $554,000;

  4   On the Thirteenth Cause of Action for Quasi Contract / Unjust Enrichment / Restitution:

  5           1.      For damages and/or restitution in an amount to be proven at trial and at least

  6   $100,000, including, inter alia, damages and/or restitution to compensate Hellings for labor he

  7   provided to SW Ventures;

  8   On the Fourteenth Cause of Action for Failure to Timely Pay Wages:

  9           1.      For damages in an amount to be proven at trial and at least $400,000;

 10           2.      For all penalties as allowed by law and/or pursuant to statute;

 11           3.                                attorneys’ fees and costs of suit pursuant to Labor Code
                      For reasonable, statutory attorneys'

 12   sections 218.5 and/or 1194 and/or and any other applicable provision of law;

 13   On the Fifteenth Cause of Action for Failure to Timely Pay Wages:

 14           1.      For damages in an amount to be proven at trial and at least approximately $3,320.00;

 15           2.      For all penalties as allowed by law and/or pursuant to statute;

 16           3.                                attorneys’ fees and costs of suit pursuant to Labor Code
                      For reasonable, statutory attorneys'

 17   sections 218.5 and/or 1194 and/or and any other applicable provision of law;

 18   On the Sixteenth Cause of Action to Recover Fraudulent Transfer:

 19           1.      For a judicial declaration that the transfers from SW Ventures to Chan alleged herein

 20   be set aside and declared void as to Hellings to the extent necessary to satisfy Hellings'
                                                                                       Hellings’ claims

 21   against SW Ventures and that Chan be ordered to convey said transfers to SW Ventures and that

 22   that money be ordered held in trust for the benefit of Hellings;

 23           2.      For an order compelling SW Ventures and Chan to convey to Hellings the aggregate

 24   sum of the transfers, in an amount to be proven at trial and not less than $52,998.88, to be held in

 25   trust for the benefit of Hellings;

 26           3.      That the aggregate sum of the transfers, in an amount to be proven at trial and not

 27   less than $52,998.88, be attached in accordance with the provisions of sections 481.010

 28   through 493.060 of the Code of Civil Procedure;
                                              62
        VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES, RESTITUTION AND DECLARATORY AND
                                          OTHER RELIEF
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  1           4.      For a money judgment in the aggregate sum of the transfers, in an amount to be

  2   proven at trial and not less than $52,998.88;

  3   On the Seventeenth Cause of Action for Declaratory Relief:

  4           1.      For a judicial declaration that neither Bird nor Habermehl hold any ownership and/or

  5   membership interest in SW Ventures;

  6   On the Eighteenth Cause of Action for Declaratory Relief:

  7           1.      For a judicial declaration that Hellings is the president of SW Ventures with all

  8   rights attendant thereto, including, but not limited to, the right to access SW Ventures'
                                                                                      Ventures’ records and

  9   facility;

 10           2.      Compensation for lost time, attorneys'
                                                  attorneys’ fees and other expenditures suffered or

 11   incurred pursuant to the tort of another doctrine;

 12   On the Nineteenth Cause of Action to Enforce Inspection Rights:

 13           1.      For a judgment enforcing SW Ventures and Chan's
                                                               Chan’s duty to deliver the documents,

 14   information and financial statements requested by Hellings;

 15   On the Twentieth Cause of Action for Declaration Relief:

 16           1.      For a judgment declaring that Chan is the alter ego of SW Ventures and, accordingly,

 17   that Chan and SW Ventures are jointly and severally liable to Hellings for any and all damages

 18   suffered by Hellings and for all amounts owed to Hellings;

 19           On all causes of action:

 20           1.          attorneys’ fees and costs of the suit as allowed by law and/or pursuant to
                      For attorneys'

 21   contract;

 22           2.                           post-judgment
                      For pre-judgment and post judgment interest as allowed by law and/or pursuant to

 23   contract; and

 24           3.      For such other and further relief as the Court deems just and proper.

 25                                                   OFFNER & KING, LLP

 26

 27   Dated: May 4, 2021                              By: ________________________________________
                                                             Robin Offner, Esq.
 28                                                          Attorneys for STEVEN HELLINGS and
                                                          63 THERESA HELLINGS
                                                          63
        VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES, RESTITUTION AND DECLARATORY AND
                                          OTHER RELIEF
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  1                                            VERIFICATION

  2   I, Steven Hellings, declare:

  3          I am a plaintiff in this action. I have read the foregoing first amended complaint and I know

  4   its contents. The matters stated in the foregoing document are true of my own knowledge, except as

  5   to those matters which are stated therein on information and belief, and as to those matters, I believe

  6   them to be true.

  7          I declare under penalty of perjury under the laws of the State of California that the foregoing

  8                                                                    4th day of May, 2021 at
                                                                       4th
      is true and correct and that this verification is executed this _____

  9    Oakland
       Oakland
      _____________ [city],     California
                                California
                    [ ci ty], _______________ [state].

 10

 11                                                            J
                                                           Steven Hellings
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        VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES, RESTITUTION AND DECLARATORY AND
                                          OTHER RELIEF
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                                                   VERIFICATION

    2   1, Theresa Hellings, declare:

    3          I am a plaintiff in this action. I have read the foregoing first amended complaint and I know

    4   its contents. The matters stated in the foregoing document are true of my own knowledge, except as

    5   to those matters which are stated therein on information and belief, and as to those matters, I believe

    6   them to be true.

    7          I declare under penalty of perjury under the laws of the State of California that the foregoing

    8   is true and correct and that this verification is executed this      day of May, 2021, at

    9   064*
           -4--- 447 ( [city],          OA           [state].

   10

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                                                                          ellings
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          VERIFIED FIRST AMENDED COMPLAINT FOR DAMAGES,  RESTITUTION AND DECLARATORY AND
                                            OTHER RELIEF
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                            EXHIBIT 5
                   Case rior
                         2:21-bk-18572-BB
EleclronicpllY FILED by Su                                      Doc 131
                             Court of California, County or Los Angeles           Filed
                                                                        on 01122/2021 03:5501/24/22
                                                                                           PM Sherri R. Carter,Entered       01/24/22
                                                                                                                Executive Officer/Clerk       16:39:17
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                                                                                                                                                  by R. Cliflon,Deputy Clerk
                                                               Main Document       21STCV02730Page 109 of 113
                                        Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Teresa Beaudet




                      1      Bernard C. Jasper (SBN 118479)
                      2      JASPERLAW
                             1440 N. Harbor Blvd., Suite 900
                      3      Fullerton, CA 92835
                      4      Telephone: (714) 321~2401/ Facsimile: n/a
                             ben@jasperlawfirm.com
                      5      Attorneys for Plaintiff JONATHAN BETUEL
                      6

                      7

                      8
                                           SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                      9
                                                    CENTRAL DISTRICT - STANLEY MOSK COURTHOUSE
                     10

                     11
                              JONATHAN BETUEL,                                                      )   Case No. 21 ST0-,102730
                     12
                                                                                                    )
                     13                                          Plaintiff,                         )   COMPLAINT FOR DAMAGES
                              V.                                                                    )   (LEGAL MALPRACTICE)
                     14                                                                             )
                     15       DARIUSH GHAFFAR ADLI; DREW                                            )
                              HARRIS SHERMAN; ADLI LAW                                              )   DEMANDFORJURYTRIAL
                    16        GROUP, P.C.; and DOES 1 through 50,                                   )
                    17        inclusive,                                                            )
                                                                                                    )
                    18        Defendants,                                                           )
                    19
                                                                                                    )

                    20                 Plaintiff JONATHAN BETUEL alleges against Defendants DARIUSH GHAFFAR
                    21       ADLI, DREW HARRIS SHERMAN, ADLI LAW GROUP, P.C. and DOES 1 through 50 as
                    22       follows:
                    23

                    24                1.          The true names, capacities or involvement of defendants DOES 1 through 50 are
                    25       unknown to plaintiff who sues said defendants as authorized by Code of Civil Procedure
                    26       section 474. Each defendant, whether specifically named or identified as a DOE, owed duties
                    21       to plaintiff and legally caused the injuries and damages to plaintiff as alleged in this complaint.
                    28



                                                                        COMPLAINT FOR DAMAGES (Legal Malpractice)
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  1         2.       Each of the defendants is a person or entity either subject to the laws of vicarious
  2   liability, e.g., agent, employee, partner, etc., or in a contract relationship, with the other
  3   defendants, and was at all times acting within the purpose, authority and scope of such
  4   relationship so that each defendant is liable for the actions of each other defendant.
  5         3.       Defendant DARIUSH GHAFFAR ADLI ("ADLI") is an attorney licensed to
  6   practice law in California. Defendant DREW HARRIS SHERl\tfAN ("SHERMAN") is an
  7   attorney licensed to practice law in California. Plaintiff is informed and believes that
  8   defendant ADLI LAW GROUP, P.C. is a business entity that employed defendants ADLI and
  9   SHERMAN. Defendants agreed to represent and advise plaintiff in connection with financial
 10   disputes arising out of a business and employment relationship with Luma Pictures, Inc.
 11         4.       As a result of the negligence of defendants in their representation of, and advice given
 12   to, plaintiff, including but not limited to the lawsuit filed as Los Angeles County Superior Court case
 13   number BC63823 l, plaintiff sustained damages in the approximate sum of no less than $17,210,000.
 14   The aforementioned damages comprise the difference in the judgment rendered in case number
 15   BC638231 and the judgment of $23,240,000 that would have been rendered in case number BC63823 l
 16   but for defendants' negligence. The judgment of $23,240,000 would have been collectible from the
 17   underlying defendant, Luma Pictures, Inc.
 18              WHEREFORE, plaintiff prays for judgment against defendants, and each of them,
 19   for damages in the sum of no less than $ I 7,210,000, according to proof, plus costs of suit and
 20   all other proper relief.
 21   Dated: January 22, 2021                        JASPER LAW
 22

 23                                                  Bernard C.     sper
                                                                  · Plaintiff JONATHAN BETUEL
 24
             Plaintiff demands a jury trial for all causes of action set forth herein.
 25

 26
      Dated: January 22, 2021

 27

28                                                                  laintiff JONATHAN BETUEL

                                     COMPLAINT FOR DAMAGES (Legal Malpractice)
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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:445
South Figueroa Street, 30th Floor, Los Angeles, CA 90071

A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR RELIEF FROM
THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations) (ACTION IN NONBANKRUPTCY
FORUM) will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
    1/24/2022 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                              Service information continued on attached page
                                                                                        X
2. SERVED BY UNITED STATES MAIL:
On (date) 1/24/2022 , I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.




                                                                                              Service information continued on attached page
                                                                                        X
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                              Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 1/24/2022                 Agnes Tualla                                                     /s/ Agnes Tualla
 Date                         Printed Name                                                        Signature




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                                 Page 9                                 F 4001-1.RFS.NONBK.MOTION
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1. Served by the Court via ECF: Electronic Mail Notice List
Richard D Buckley richard.buckley@arentfox.com
Eryk R Escobar eryk.r.escobar@usdoj.gov
Nicholas W Gebelt ngebelt@goodbye2debt.com
Mark S Horoupian mhoroupian@sulmeyerlaw.com,
mhoroupian@ecf.inforuptcy.com;ccaldwell@sulmeyerlaw.com
Chi L Ip filing@lawyer4property.com
Gregory Kent Jones (TR) gjones@sycr.com, smjohnson@sycr.com;C191@ecfcbis.com
Karen King kking@offnerking.com
Lewis R Landau Lew@Landaunet.com
Dean G Rallis drallis@hahnlawyers.com,
jevans@hahnlawyers.com;drallis@ecf.courtdrive.com
Kenneth N Russak krussak@knrlaw.com, krussak@russaklaw.com
Dave Shenian dshenian@clarkhill.com,
cfalls@clarkhill.com;daguilar@clarkhill.com;DJaenike@clarkhill.com;SRoberts@ClarkHill.co
m;jearle@clarkhill.com
Gerald N Sims jerrys@psdslaw.com, bonniec@psdslaw.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
Christopher K.S. Wong christopher.wong@arentfox.com, yvonne.li@arentfox.com
Joshua del Castillo jdelcastillo@allenmatkins.com


2. Served via U.S. Mail
Debtor:
Adli Law Group, P.C.
12400 Wilshire Blvd., Suite 1460 Los Angeles, CA 90025


20 Largest Unsecured Creditors:

 Bank of the West                             Creditors Adjustment Bureau Inc.
 915 Wilshire Blvd., Suite 100                14226 Ventura Blvd
 Los Angeles, CA 90017                        Sherman Oaks, CA 91423

 Clark Hill PLC                               CVFI-444 S Flower LP
 1055 W 7th St., #2400                        444 South Flower St, # 610
 Los Angeles, CA 90017                        Los Angeles, CA 90071

 Cogent Communications                        De Lage Landen Financial Services
 PO Box 791087                                1111 Old Eagle
 Baltimore, MD 21279-1087                     School Road Wayne, PA 19087

 Drew Sherman                                 Evergreen Manor II Homeowners Assn
 23921 Sylvan St                              918 W Garvey Avenue
 Woodland Hills, CA 91367-1246                Monterey Park, CA 91754
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 John Keefe                                Kjar McKenna & Stockalper LLP
 c/o Howard King                           841 Apollo Street, Suite 100
 1900 Avenue of the Stars, 25th Fl         El Segundo, CA 90245
 Los Angeles, CA 90067

 L Tech Network Services Inc.              Litigation Services
 9926 Pioneer Blvd., #101                  3960 Howard Hughes Pkwy, #700
 Santa Fe Springs, CA 90670                Las Vegas, NV 89169

 NEWITY                                    NREA-TRC 700 LLC
 1123 W Washington Blvd 3                  700 S Flower Street, Suite 450
 Chicago, IL 60607                         Los Angeles, CA 90017

 Skypanels Inc.                            RSUI Landmark American Insurance Co.
 Ali Salomi Chadwick T                     c/o RSUI Group Inc.
 9019 Oso Ave., Suite E                    945 E Paces Ferry Rd. Ste 1800
 Chatsworth, CA 91311                      Atlanta, GA 30326-1160

 Thomson Reuters                           Staples Center LA Arena Funding LLC
 PO Box 6292                               1111 S Figueroa St., Ste 3100
 Carol Stream, IL 60197-6292               Los Angeles, CA 90015

 Tony Sarkissian                           TIB NA
 Dancool HVAC Supply                       The Independent Bankers Bank
 833 Americana Way, Unit 501               1550 N Brown Road #150
 Glendale, CA 91210                        Lawrenceville, GA 30043
